EXHIBIT A
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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS

LAURA L. DIVANE, APRIL HUGHES,
SUSAN BONA, KATHERINE D.
LANCASTER, AND JASMINE WALKER,
                                                   Civil Action No. 16-cv-8157
individually and as representatives of a
class of participants and beneficiaries on
behalf of the Northwestern University              Honorable Jorge L. Alonso
Retirement Plan and the Northwestern
University Voluntary Savings Plan,
                                                   AMENDED COMPLAINT—
                           Plaintiffs,             CLASS ACTION
v.

NORTHWESTERN UNIVERSITY,                           JURY TRIAL DEMANDED
NORTHWESTERN UNIVERSITY
RETIREMENT INVESTMENT
COMMITTEE, PAMELA S. BEEMER,
RONALD R. BRAEUTIGAM, KATHLEEN
HAGERTY, CRAIG A. JOHNSON, CANDY
LEE, WILLIAM H. McLEAN, INGRID S.
STAFFORD, NIMALAM CHINNIAH, and
EUGENE S. SUNSHINE

                           Defendants.


                             AMENDED COMPLAINT

        1.    Plaintiffs Laura L. Divane, April Hughes, Susan Bona, Katherine D.

Lancaster, and Jasmine Walker individually and as representatives of a class and

subclasses of participants and beneficiaries of the Northwestern University

Retirement Plan and the Northwestern University Voluntary Savings Plan (herein

collectively referred to as the “Plans”), bring this action under 29 U.S.C. §1132(a)(2)

on behalf of the Plans against Defendants Northwestern University, Northwestern
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University Retirement Investment Committee, Pamela S. Beemer, Ronald R.

Braeutigam, Kathleen Hagerty, Craig A. Johnson, Candy Lee, William H. McLean,

Ingrid S. Stafford, and Nimalam Chinniah for breach of fiduciary duties under

ERISA.1

         2.    ERISA imposes duties on plan fiduciaries that are “the highest known

to the law.” George v. Kraft Foods Global, Inc., 814 F. Supp. 2d 832, 852 (N.D. Ill.

2011) (Castillo, J.); Donovan v. Bierwirth, 680 F.2d 263, 271, 272 n.8 (2d Cir. 1982);

29 U.S.C. §1104(a). Fiduciaries must act with “complete and undivided loyalty to

beneficiaries of the trust, and with an eye single to the interests of participants and

beneficiaries.” Leigh v. Engle, 727 F.2d 113, 123 (7th Cir. 1984) (internal quotations

and citations omitted). In exercising these duties, ERISA fiduciaries are held to the

standard of financial experts in the field of investment management. See Katsaros

v. Cody, 744 F.2d 270, 275, 279 (2d Cir. 1984); Liss v. Smith, 991 F. Supp. 278, 296

(S.D.N.Y. 1998). Fiduciaries must “initially determine, and continue to monitor, the

prudence of each investment option available to plan participants,” DiFelice v. U.S.

Airways, Inc., 497 F.3d 410, 423 (4th Cir. 2007) (emphasis original), and must

“remove imprudent ones” within a reasonable time, Tibble v. Edison Int’l, 135 S. Ct.

1823, 1828–29 (2015).

         3.    The marketplace for retirement plan services is established and

competitive. Billion-dollar-defined contribution plans, like the Plans—which are

each among the largest 0.2% of defined contribution plans in the United States—



 1   The Employee Retirement Income Security Act, 29 U.S.C. §§1001–1461.


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have tremendous bargaining power to demand low-cost administrative and

investment management services. As fiduciaries to the Plans, Defendants are

obligated to limit the Plans’ expenses to a reasonable amount, to ensure that each

fund in the Plans is a prudent option for participants to invest their retirement

savings and priced at a reasonable level for the size of the Plans; and to analyze the

costs and benefits of alternatives for the Plans’ administrative and investment

structure. Defendants must make those decisions for the exclusive benefit of

participants, and not for the benefit of conflicted third parties, such as the Plans’

service providers.

      4.     Instead of using the Plans’ bargaining power to reduce expenses and

exercising independent judgment to determine what investments to include in the

Plans, Defendants squandered that leverage by allowing the Plans’ conflicted third-

party service providers—TIAA-CREF and Fidelity—to dictate the Plans’ investment

lineup, to include hundreds of their proprietary mutual funds in the Plans, to link

their recordkeeping services to the placement of those funds in the Plans, and to

collect nearly unlimited asset-based compensation from their proprietary products.

      5.     To remedy these fiduciary breaches, Plaintiffs, individually and as

representatives of a class and subclasses of participants and beneficiaries of the

Plans, bring this action on behalf of the Plans under 29 U.S.C. §1132(a)(2) to

enforce Defendants’ personal liability under 29 U.S.C. §1109(a) to make good to the

Plans all losses resulting from each breach of fiduciary duty and to restore to the

Plans any profits made through Defendants’ use of the Plans’ assets. In addition,




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Plaintiffs seek such other equitable or remedial relief for the Plans as the Court

may deem appropriate.

                          JURISDICTION AND VENUE

      6.     Subject-matter jurisdiction. This Court has exclusive jurisdiction

over the subject matter of this action under 29 U.S.C. §1132(e)(1) and 28 U.S.C.

§1331 because it is an action under 29 U.S.C. §1132(a)(2).

      7.     Venue. This District is the proper venue for this action under 29

U.S.C. §1132(e)(2) and 28 U.S.C. §1391(b) because it is the district in which the

subject Plans are administered, where at least one of the alleged breaches took

place, and where the Defendants reside or may be found.

      8.     Standing. An action under §1132(a)(2) allows recovery only for a plan,

and does not provide a remedy for individual injuries distinct from plan injuries.

LaRue v. DeWolff, Boberg & Assocs., 552 U.S. 248, 256 (2008). The plan is the victim

of any fiduciary breach and the recipient of any recovery. Id. at 254. Section

1132(a)(2) authorizes any participant, fiduciary, or the Secretary of Labor to sue

derivatively as a representative of the plan to seek relief on behalf of the plan. 29

U.S.C. §1132(a)(2). As explained in detail below, the Plans suffered millions of

dollars in losses caused by Defendants’ fiduciary breaches and remain exposed to

harm and continued future losses. Those injuries may be redressed by a judgment of

this Court in favor of Plaintiffs. To the extent the Plaintiffs must also show an

individual injury even though §1132(a)(2) does not provide redress for individual

injuries, each Plaintiff has suffered such an injury, in at least the following ways:

             a.     The named Plaintiffs and all participants in the Plans suffered

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   financial harm as a result of the imprudent or excessive fee options in the

   Plans because Defendants’ inclusion of those options deprived participants of

   the opportunity to grow their retirement savings by investing in prudent

   options with reasonable fees, which would have been available in the Plans if

   Defendants had satisfied its fiduciary obligations. All participants continue

   to be harmed by the ongoing inclusion of these imprudent and excessive cost

   options and payment of excessive recordkeeping fees.

         b.     The named Plaintiffs and all participants in the Plans were

   financially harmed by Defendants’ improper bundling of some of the Plans’

   investment products, improperly allowing the companies who did

   recordkeeping for the Plans to require inclusion of their investment products

   in the Plans, instead of each investment option being independently selected.

         c.     The named Plaintiffs’ individual accounts in the Plans were

   further harmed by Defendants’ breaches of fiduciary duties because one or

   more of the named Plaintiffs during the proposed class/subclass period (1)

   invested in the CREF Stock and TIAA Real Estate accounts—which were

   improperly bundled with TIAA’s recordkeeping services and which

   Defendants also failed to remove from the Plans when it was clear from past

   poor performance and their excessive fees that they were imprudent

   investments—at a time when those options underperformed prudent

   alternatives in which those assets would have been invested had Defendants

   not breached its fiduciary duties (Plaintiffs Bona, Lancaster, Walker ), (2)




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   invested in excessive-cost investment options, including funds that paid

   revenue sharing to the Plans’ recordkeepers and higher-cost share classes of

   mutual funds priced for small investors when far lower-cost but otherwise

   identical share classes of the same mutual funds were available to the Plans

   because of its enormous size (all Plaintiffs), and (3) through the fees charged

   on their investments in those mutual funds and other investments, paid a

   portion of the Plans’ excessive administrative and recordkeeping fees, which

   would not have been incurred had Defendants discharged their fiduciary

   duties to the Plans (all Plaintiffs).

          d.     Specifically, during the class period, Plaintiff Bona invested in

   the higher-cost share classes of TIAA-CREF Equity Index, TIAA-CREF

   Short-Term Bond, and TIAA-CREF High-Yield as well as TIAA Traditional,

   TIAA Real Estate, CREF Bond Market, CREF Inflation Linked Bond, and

   CREF Money Market (among others); Plaintiff Divane invested in the

   higher-cost share classes of Fidelity Contrafund, Fidelity Growth & Income,

   Fidelity China Region, Vanguard Institutional Index, Vanguard Extended

   Market Index, Vanguard Total International Stock, and Vanguard Total

   Bond Market; Plaintiff Hughes invested in the higher-cost share class of

   Vanguard Institutional Index, as well as TIAA Traditional, CREF Growth,

   CREF Social Growth, and CREF Equity Growth (among others); Plaintiff

   Lancaster invested in the TIAA Traditional, CREF Stock, and TIAA Real

   Estate; Plaintiff Walker invested in the higher-cost share classes of Fidelity




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      Freedom 2020 and TIAA-CREF Lifecycle 2035, as well as CREF Global

      Equities, TIAA Traditional, CREF Stock, CREF Growth, TIAA Real Estate,

      and CREF Money Market. Through their investments in these funds, each

      Plaintiff paid excessive investment management fees and each was assessed

      a portion of the Plans’ excessive administrative and recordkeeping fees.

      Plaintiffs would not have suffered these losses if Defendants had prudently

      monitored revenue sharing, solicited competitive bids, consolidated

      recordkeepers for both Plans, or reduced fees to reasonable levels in

      accordance with their fiduciary duties under ERISA.

                                    PARTIES

                  Northwestern University Retirement Plan

      9.    The Northwestern University Retirement Plan (“Retirement Plan”) is a

defined contribution, individual account, employee pension benefit plan under 29

U.S.C. §1002(2)(A) and §1002(34).

      10.   The Retirement Plan is established and maintained under a written

document in accordance with 29 U.S.C. §1102(a)(1).

      11.   The Retirement Plan provides for retirement income for certain

employees of Northwestern University. That retirement income depends upon

deferrals of employee compensation, employer matching contributions, and

performance of investment options net of fees and expenses.

      12.   As of December 31, 2015, the Retirement Plan had $2.34 billion in net

assets and 21,622 participants with account balances. It is among the largest 0.04%




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of all defined contribution plans in the United States based on total assets. Plans of

such great size are commonly referred to as “jumbo plans.”

                   Northwestern University Voluntary Savings Plan

        13.   The Northwestern University Voluntary Savings Plan (“Voluntary

Savings Plan”)2 is a defined contribution, individual account, employee pension

benefit plan under 29 U.S.C. §1002(2)(A) and §1002(34).

        14.   The Voluntary Savings Plan is established and maintained under a

written document in accordance with 29 U.S.C. §1102(a)(1).

        15.   The Voluntary Savings Plan provides for retirement income for certain

employees of Northwestern University. That retirement income depends upon

deferrals of employee compensation and performance of investment options net of

fees and expenses.

        16.   As of December 31, 2015, the Voluntary Savings Plan had $530 million

in net assets and 12,293 participants with account balances. It is among the largest

0.2% of all defined contribution plans in the United States based on total assets.

Plans of such great size are commonly referred to as “jumbo plans.”

        17.   The Retirement Plan is funded by both by participants’ deferrals of

compensation and contributions by Northwestern on behalf of participants. The

Voluntary Savings Plan is funded solely by participants’ deferrals of compensation.




 2Certain plan-related materials such as account statements also refer to the
Voluntary Savings Plan as the “Northwestern University 403(b) Supplemental
Plan.”

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      18.    The Plans allow participants to designate investment options into

which their individual accounts are invested. Defendants exercise exclusive

discretionary authority and control over the investment options that are offered in

the Plans.

                                     Plaintiffs

      19.    Laura L. Divane resides in Skokie, Illinois, and is a Staff Nurse at

Northwestern University Health Service. She is a participant in the Retirement

Plan under 29 U.S.C. §1002(7) because she and her beneficiaries are or may become

eligible to receive benefits under the Retirement Plan.

      20.    April Hughes resides in Wauconda, Illinois, and formerly worked as a

Research Assistant in the Office of Sponsored Research at Northwestern University.

She is a participant in the Retirement Plan and the Voluntary Savings Plan under

29 U.S.C. §1002(7) because she and her beneficiaries are or may become eligible to

receive benefits under the Plans.

      21.    Susan Bona resides in Lombard, Illinois and formerly worked as a

Program Assistant in the Transplant Surgery Department at Northwestern

University School of Medicine. She is a participant in the Retirement Plan under 29

U.S.C. §1002(7) because she and her beneficiaries are or may become eligible to

receive benefits under the Retirement Plan.

      22.    Katherine D. Lancaster resides in Chicago, Illinois, and works as a

Standard Operating Procedures Coordinator at Northwestern University. She is a

participant in the Retirement Plan and the Voluntary Savings Plan under 29 U.S.C.




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§1002(7) because she and her beneficiaries are or may become eligible to receive

benefits under the Plans.

       23.   Jasmine Walker resides in Des Plaines, Illinois, and previously worked

as a Business Manager at the NUANCE Center at Northwestern University. She is

a participant in the Retirement Plan and the Voluntary Savings Plan under 29

U.S.C. §1002(7) because she and her beneficiaries are or may become eligible to

receive benefits under the Plans.

                                     Defendants

       24.   Northwestern University (“Northwestern”) is a non-profit corporation

organized under Illinois law with its principal place of business in Evanston,

Illinois.

       25.   Under Article 11.1 of both the Retirement Plan and Voluntary Savings

Plan, Northwestern is designated as the “Plan Administrator” within the meaning

of 29 U.S.C. §1002(16)(A)(i), with responsibility for management of the Plans.

Because the Plans name Northwestern as the entity with authority over the

management of the Plans, it is a “named fiduciary” within the meaning of 29 U.S.C.

§1102(a).

       26.    Northwestern is a fiduciary to the Plans because it exercised

discretionary authority or discretionary control respecting the management of the

Plans or exercised authority or control respecting the management or disposition of

its assets, and has discretionary authority or discretionary responsibility in the

administration of the Plans, as described more fully below. 29 U.S.C. §1002(21)(A)(i)

and (iii).

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        27.   The Plans authorize Northwestern to delegate in whole or in part any

of its responsibilities to one or more officers or committees of the University.

        28.   According to Article 11.2 of both Plans, Northwestern delegated to its

Executive Vice President all discretionary authority and powers necessary to

administer the Plans, other than discretionary authority and power to control and

manage the assets of the Plans. These administrative responsibilities include the

authority to employ service providers to the Plans and to approve on behalf of

Northwestern any contracts related to the administration of the Plans.

        29.   Nimalam Chinniah has served as Northwestern’s Executive Vice

President since September 8, 2014. Previously, Eugene S. Sunshine served in that

role.

        30.   Nimalam Chinniah and Eugene S. Sunshine are fiduciaries to the

Plans because they exercised discretionary authority or discretionary control

respecting the management of the Plans or exercised authority or control respecting

the management or disposition of its assets, and have or had discretionary

authority or discretionary responsibility in the administration of the Plans, as

described more fully below. 29 U.S.C. §1002(21)(A)(i) and (iii).

        31.   According to Article 11.3 of both Plans, as authorized by the Board of

Trustees, Northwestern’s Senior Vice President for Business and Finance

established the Northwestern University Retirement Investment Committee




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(NURIC), effective February 28, 2012.3 NURIC was granted all discretionary

authority and powers necessary to control and manage the assets of the Plans.

Article 11.1 of each of the Plans designates NURIC as the named fiduciary with

respect to the control or management of the assets of the Plans.

         32.   Upon information and belief, the current Chair of NURIC is Pamela S.

Beemer. Other current NURIC members include: Ronald R. Braeutigam, Kathleen

Hagerty, Craig A. Johnson, Candy Lee, William H. McLean, and Ingrid S. Stafford.

         33.   NURIC and its individual members are fiduciaries to the Plans

because they exercised discretionary authority or discretionary control respecting

the management of the Plans or exercised authority or control respecting the

management or disposition of their assets, and have discretionary authority or

discretionary responsibility in the administration of the Plan. 29 U.S.C.

§1002(21)(A)(i) and (ii).

         34.   Because the Northwestern University entities, officers, and individual

committee members described above have acted as alleged herein as the agents of

Northwestern University, all defendants are collectively referred to hereafter as

“Defendants.”

                            ERISA FIDUCIARY STANDARDS

         35.   ERISA imposes strict fiduciary duties of loyalty and prudence upon the

Defendants as fiduciaries of the Plans. 29 U.S.C. §1104(a), states, in relevant part,

that:

 3The language of Article 11.3 suggests that the Executive Vice President has now
assumed the functions for which the Senior Vice President for Business and
Finance was formerly responsible.

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         [A] fiduciary shall discharge his duties with respect to a plan solely
         in the interest of the participants and beneficiaries and –

             (A)    for the exclusive purpose of

                    (i)     providing benefits to participants and their beneficiaries;
                            and

                    (ii)    defraying reasonable expenses of administering the
                            plan; [and]

             (B)    with the care, skill, prudence, and diligence under the
                    circumstances then prevailing that a prudent man acting in a
                    like capacity and familiar with such matters would use in the
                    conduct of an enterprise of like character and with like aims.

      36.    Under ERISA, fiduciaries that exercise any authority or control over

plan assets, including the selection of plan investments and service providers, must

act prudently and for the exclusive benefit of participants in the plan, and not for

the benefit of third parties including service providers to the plan such as

recordkeepers and those who provide investment products. Fiduciaries must ensure

that the amount of fees paid to those service providers is no more than reasonable.

DOL Adv. Op. 97-15A; DOL Adv. Op. 97-16A; see also 29 U.S.C. §1103(c)(1) (plan

assets “shall be held for the exclusive purposes of providing benefits to participants

in the plan and their beneficiaries and defraying reasonable expenses of

administering the plan”).

      37.    “[T]he duty to conduct an independent investigation into the merits of

a particular investment” is “the most basic of ERISA’s investment fiduciary duties.”

In re Unisys Savings Plan Litig., 74 F.3d 420, 435 (3d Cir. 1996); Katsaros, 744 F.2d

at 279 (fiduciaries must use “the appropriate methods to investigate the merits” of



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plan investments). Fiduciaries must “initially determine, and continue to monitor,

the prudence of each investment option available to plan participants.” DiFelice, 497

F.3d at 423 (emphasis original); see also 29 C.F.R. § 2550.404a-1; DOL Adv. Opinion

98-04A; DOL Adv. Opinion 88-16A. Thus, a defined contribution plan fiduciary

cannot “insulate itself from liability by the simple expedient of including a very

large number of investment alternatives in its portfolio and then shifting to the

participants the responsibility for choosing among them.” Hecker v. Deere & Co., 569

F.3d 708, 711 (7th Cir. 2009). Fiduciaries have “a continuing duty to monitor

investments and remove imprudent ones[.]” Tibble, 135 S. Ct. at 1828–29.

      38.    The general fiduciary duties imposed by 29 U.S.C. §1104 are

supplemented by a detailed list of transactions that are expressly prohibited by 29

U.S.C. §1106, and are considered per se violations because they entail a high

potential for abuse. Section 1106(a)(1) states, in pertinent part, that:

      [A] fiduciary with respect to a plan shall not cause the plan to engage in
      a transaction, if he knows or should know that such transaction
      constitutes a direct or indirect –

      (A)    sale or exchange, or leasing, of any property between the plan and a
             party in interest;
      ***
      (C) furnishing of goods, services, or facilities between the plan and
          party in interest;
      (D) transfer to, or use by or for the benefit of a party in interest, of any
          assets of the plan ...

      39.    ERISA also imposes explicit co-fiduciary liabilities on plan fiduciaries.

29 U.S.C. §1105(a) provides a cause of action against a fiduciary for knowingly




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participating in a breach by another fiduciary and knowingly failing to cure any

breach of another fiduciary:

      In addition to any liability which he may have under any other provisions
      of this part, a fiduciary with respect to a plan shall be liable for a breach of
      fiduciary responsibility of another fiduciary with respect to the same plan
      in the following circumstances:

            (1)      if he participates knowingly in, or knowingly undertakes to conceal,
                     an act or omission of such other fiduciary, knowing such act or
                     omission is a breach; [or]

            (2)      if, by his failure to comply with section 1104(a)(1) of this title in the
                     administration of his specific responsibilities which give rise to his
                     status as a fiduciary, he has enabled such other fiduciary to commit
                     a breach; or

            (3)      if he has knowledge of a breach by such other fiduciary, unless he
                     makes reasonable efforts under the circumstances to remedy the
                     breach.

      40.         29 U.S.C. §1132(a)(2) authorizes a plan participant to bring a civil

action to enforce a breaching fiduciary’s liability to the plan under 29 U.S.C. §1109.

Section 1109(a) provides in relevant part:

                  Any person who is a fiduciary with respect to a plan who breaches any
                  of the responsibilities, obligations, or duties imposed upon fiduciaries
                  by this subchapter shall be personally liable to make good to such plan
                  any losses to the plan resulting from each such breach, and to restore
                  to such plan any profits of such fiduciary which have been made
                  through use of assets of the plan by the fiduciary, and shall be subject
                  to such other equitable or remedial relief as the court may deem
                  appropriate, including removal of such fiduciary.




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                               BACKGROUND FACTS

I.       Defined contribution plans, services, and fees.

         41.   When ERISA was enacted in 1974, defined benefit pension plans were

America’s retirement system. Such plans are now rarely available to employees in

the private sector. “Defined contribution plans dominate the retirement plan scene

today.” LaRue v. DeWolff, Boberg & Assocs., 552 U.S. 248, 255 (2008).

         42.   Defined contribution plans allow employees to contribute a percentage

of their pre-tax earnings to the plan, with the employer often matching those

contributions up to a specified percentage. Each participant in the plan has an

individual account. Participants direct plan contributions into one or more

investment options in a lineup chosen and assembled by the plan’s fiduciaries.

“[P]articipants’ retirement benefits are limited to the value of their own individual

investment accounts, which is determined by the market performance of employee

and employer contributions, less expenses.” Tibble, 135 S. Ct. at 1826.

         43.   The majority of fees assessed to participants in a defined contribution

plan are attributable to two general categories of services: plan administration

(including recordkeeping), and investment management. These expenses “can

sometimes significantly reduce the value of an account in a defined-contribution

plan.” Id.

         44.   A plan’s fiduciaries have control over defined contribution plan

expenses. The fiduciaries are responsible for hiring administrative service providers

for the plan, such as a recordkeeper, and for negotiating and approving the amount

of fees paid to those administrative service providers. The fiduciaries also have


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exclusive control over the menu of investment options to which participants may

direct the assets in their accounts. Those selections each have their own fees, which

are deducted from the returns that participants receive on their investments.

         45.    These fiduciary decisions have the potential to dramatically affect the

amount of money that participants are able to save for retirement. According to the

U.S. Department of Labor, a 1% difference in fees over the course of a 35-year

career makes a difference of 28% in savings at retirement. U.S. Dep’t of Labor, A

Look at 401(k) Plan Fees, at 1–2 (Aug. 2013).4 Accordingly, fiduciaries of defined

contribution plans must engage in a rigorous process to control these costs and

ensure that participants pay no more than a reasonable level of fees. This is

particularly true for multi-billion dollar plans like the Plans, which have the

bargaining power to obtain the highest level of service and the lowest fees. The fees

available to multi-billion dollar retirement plans are orders of magnitude lower

than the much higher retail fees available to small investors.

         46.    The entities that provide services to defined contribution plans have an

incentive to maximize their fees by putting their own higher-cost funds in plans and

collecting the highest amount possible for recordkeeping. For each additional dollar

in fees paid to a service provider, participants’ retirement savings are directly

reduced by the same amount, and participants lose the potential for those lost

assets to grow over the remainder of their careers. Accordingly, participants’

retirement security is directly affected by the diligence used by plan fiduciaries to

control, negotiate, and reduce the plan’s fees.

 4   Available at http://www.dol.gov/ebsa/pdf/401kfeesemployee.pdf.


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       47.    Fiduciaries must be cognizant of providers’ self-interest in maximizing

fees, and not simply accede to the providers’ preferred investment lineup—i.e.,

proprietary funds that will generate substantial fee revenue for the provider—or

agree to the provider’s administrative fee quotes without negotiating or considering

alternatives. In order to act in the exclusive interest of participants and not in the

service providers’ interest, fiduciaries must negotiate as if their own money was at

stake. Instead of simply accepting the investment funds or fees demanded by these

conflicted providers, fiduciaries must consider whether participants would be better

served by using alternative investment products or services.

II.    Defined contribution recordkeeping.

       48.    Recordkeeping is a service necessary for every defined contribution

plan. The recordkeeper keeps track of the amount of each participant’s investments

in the various options in the plan, and typically provides each participant with a

quarterly account statement. The recordkeeper often maintains a plan website or

call center that participants can access to obtain information about the plan and to

review their accounts. The recordkeeper may also provide access to investment

education materials or investment advice. These services are largely commodities,

and the market for recordkeeping services is highly competitive.

       49.    There are numerous recordkeepers in the marketplace who are capable

of providing a high level of service and who will vigorously compete to win a

recordkeeping contract for a jumbo defined contribution plan. These recordkeepers

will readily respond to a request for proposal and will tailor their bids based on the

desired services (e.g., recordkeeping, website, call center, etc.). In light of the

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commoditized nature of their services, recordkeepers primarily differentiate

themselves based on price, and will aggressively bid to offer the best price in an

effort to win the business, particularly for jumbo plans like the Plans

       50.   Some recordkeepers in the market provide only recordkeeping and

administrative services, while others provide both recordkeeping services and

investment products. The latter group has an incentive to place their own

proprietary products in the plan in order to maximize revenues from servicing the

plan. As explained below, when faced with such conflicted fund recommendations,

fiduciaries must independently assess whether the provider’s investment product is

the best choice for the plan, or whether the purpose of providing benefits to

participants would be better accomplished by considering other investment

managers who may offer superior funds at a better price.

III.   Defined contribution investment options.

       51.   Defined contribution fiduciaries have exclusive control over the

particular investment alternatives available in the plan to which participants direct

and allocate their plan accounts, and the returns on which are credited to

participants’ accounts.

       52.   Each investment option is typically a pooled investment product, such

as a mutual fund, and invests in a diversified portfolio of securities in a broad asset

class such as fixed income, bonds, or equities. Fixed income funds may include

conservative principal protection options, such as stable value funds, or other

diversified portfolios of government or corporate debt securities. Equity funds invest

in diversified portfolios of stocks of large, mid, or small domestic or international

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companies in a particular style such as growth or value (or a blend of the two).

Balanced funds invest in a mix of stocks and bonds in varying percentages.

         53.    Investment options can be passively or actively managed. In a

passively managed or “index” fund, the investment manager attempts to match the

performance of a given benchmark index by holding a representative sample of

securities in that index, such as the S&P 500. In an actively managed fund, the

investment manager uses her judgment in buying and selling individual securities

(e.g., stocks, bonds, etc.) in an attempt to generate investment returns that surpass

a benchmark index, net of fees. Because no stock selection or research is necessary

for the manager to track the index and trading is limited, passively managed

investments charge significantly lower fees than actively managed funds.

         54.    Mutual fund fees are usually expressed as a percentage of assets under

management, or “expense ratio.” For example, if the mutual fund deducts 1% of

fund assets each year in fees, the fund’s expense ratio would be 1%, or 100 basis

points (bps).5 The fees deducted from a mutual fund’s assets reduce the value of the

shares owned by fund investors.

         55.    Many mutual funds offer their investors different share classes. Retail

share classes are marketed to individuals with small amounts to invest. Institutional

share classes are offered to investors with large amounts to invest, such as large

retirement plans. The different share classes of a given mutual fund have the

identical manager, are managed identically, and invest in the same portfolio of



 5   One basis point is equal to 1/100th of one percent (or 0.01%).


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securities. The only difference is that the retail shares charge significantly higher

fees, resulting in retail class investors receiving lower returns. The share classes are

otherwise identical in all respects.

      56.    Some mutual funds engage in a practice known as “revenue sharing.”

In a revenue-sharing arrangement, a mutual fund pays a portion of its expense ratio

to the entity providing administrative and recordkeeping services to a plan. The

difference in fees between a mutual fund’s retail and institutional share classes is

often attributable to revenue sharing. To illustrate, a fund’s retail share class may

have an expense ratio of 100 bps, including 25 bps of revenue sharing, while the

institutional share charges 75 bps, with no or lesser revenue sharing. The presence

of revenue sharing thus provides an incentive for administrative service providers to

recommend that the fiduciary select higher cost funds, including in-house funds of

the administrative service provider that pay the provider revenue sharing. “[V]ery

little about the mutual fund industry,” including revenue sharing practices, “can

plausibly be described as transparent[.]” Leimkuehler v. Am. United Life Ins. Co.,

713 F.3d 905, 907 (7th Cir. 2013).

      57.    The importance of fees in prudent investment selection cannot be

overstated. The prudent investor rule developed in the common law of trusts, which

informs ERISA’s fiduciary duties, emphasizes “the duty to avoid unwarranted

costs[.]” Restatement (Third) of Trusts ch. 17, intro. note (2007); see Tibble, 135 S.

Ct. at 1828 (analyzing common law of trusts and Restatement (Third) of Trusts §90

in finding a continuing duty to monitor under ERISA). As the Restatement




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explains, “cost-conscious management is fundamental to prudence in the

investment function.” Restatement (Third) of Trusts § 90 cmt. b. While a fiduciary

may consider higher-cost, actively-managed mutual funds as an alternative to index

funds, “active management strategies involve investigation expenses and other

transaction costs . . . that must be considered, realistically, in relation to the

likelihood of increased return from such strategies.” Restatement (Third) of Trusts

ch. 17, intro. note; id. § 90 cmt. h(2).

       58.    Academic and financial industry literature demonstrates that high

expenses are not correlated with superior investment management. Indeed, funds

with high fees on average perform worse than less expensive funds even on a pre-fee

basis. Javier Gil-Bazo & Pablo Ruiz-Verdu, When Cheaper is Better: Fee

Determination in the Market for Equity Mutual Funds, 67 J. ECON. BEHAV. & ORG.

871, 873 (2008); see also Jill E. Fisch, Rethinking the Regulation of Securities

Intermediaries, 158 U. PA. L. REV. 1961, 1993 (2010)(summarizing numerous

studies showing that “the most consistent predictor of a fund’s return to investors is

the fund’s expense ratio”).

       [T]he empirical evidence implies that superior management is not
       priced through higher expense ratios. On the contrary, it appears
       that the effect of expenses on after-expense performance (even
       after controlling for funds’ observable characteristics) is more than
       one-to-one, which would imply that low-quality funds charge
       higher fees. Price and quality thus seem to be inversely related in
       the market for actively managed mutual funds.

Gil-Bazo & Ruiz-Verdu, When Cheaper is Better, at 883.




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      59.    In light of this effect of fees on expected returns, fiduciaries must

carefully consider whether the added cost of actively managed funds is realistically

justified by an expectation of higher returns. Restatement (Third) of Trusts ch. 17,

intro. note; id. § 90 cmt. h(2). A prudent investor will not select higher-cost actively

managed funds without analyzing whether a particular investment manager is

likely to beat the overwhelming odds against outperforming its benchmark index

over time, net of the fund’s higher investment expenses.

IV.   Revenue sharing: a practice that can lead to excessive fees if not
      properly monitored and capped.

      60.    There are two primary methods for defined contribution plans to pay

for recordkeeping and administrative services: “direct” payments from plan assets,

and “indirect” revenue sharing payments from plan investments such as mutual

funds. Plans may use one method or the other exclusively, or may use a combination

of both direct and indirect payments.

      61.    In a typical direct payment arrangement, the fiduciary contracts with

the recordkeeper to obtain administrative services in exchange for a flat annual fee

based on the number of participants for which the recordkeeper will be providing

services, for example $30 per participant. Jumbo defined contribution plans possess

tremendous economies of scale for purposes of recordkeeping and administrative

fees. A plan with 20,000 participants can obtain a much lower fee on a per-

participant basis than a plan with 2,000 participants.

      62.    A recordkeeper’s cost for providing services depends on the number of

participants in the plan, not the amount of assets in the plan or in an individual



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account. The cost of recordkeeping a $75,000 account balance is the same as a

$7,500 account. Accordingly, a flat price based on the number of participants in the

plan ensures that the amount of compensation is tied to the actual services provided

and does not grow based on matters that have nothing to do with the services

provided, such as an increase in plan assets due to market growth or greater plan

contributions by the employee.

      63.    As an example, a fiduciary of a 20,000 participant, $2 billion plan may

issue a request for proposal to several recordkeepers and request that the

respondents provide pricing based on a flat rate for a 20,000-participant plan. If the

winning recordkeeper offers to provide the specified services at a flat rate of $30 per

participant per year, the fiduciary would then contract with the recordkeeper for

the plan to pay a $600,000 direct annual fee (20,000 participants at

$30/participant). If the plan’s assets increase to $3 billion during the course of the

contract but the participant level stays constant, the recordkeeper’s compensation

does not change, because the services provided have not changed.

      64.    Such a flat per-participant agreement does not necessarily mean,

however, that every participant in the plan must pay the same $30 fee from his or

her account. The fiduciary could reasonably determine that it is equitable to charge

each participant the same $30 (for example, through a quarterly charge of $7.50 to

each account in the plan). Alternatively, the fiduciary could conclude that assessing

the same fee to all investors would discourage participants with relatively small

accounts from participating in the plan, and that, once the aggregate flat fee for the




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plan has been determined, a proportional asset-based charge would be best. In that

case, the flat per-participant rate of $30 per participant multiplied by the number of

participants would simply be converted to an asset-based charge, such that every

participant pays the same percentage of his or her account balance. For the $2

billion plan in this example, each participant would pay a direct administrative fee

of 0.03% of her account balance annually for recordkeeping ($600,000/$2,000,000,000

= 0.0003). If plan assets increase thereafter, the percentage would be adjusted

downward so that the plan is still paying the same $600,000 price that was

negotiated at the plan level for services to be provided to the plan.

      65.    Defendants use a different method of paying for recordkeeping for the

Plans, through “indirect” revenue sharing payments from the plan’s mutual funds.

Revenue sharing, while not a per se violation of ERISA, can lead to excessive fees if

not properly monitored and capped.

      66.    In a revenue sharing arrangement, the mutual fund pays the plan’s

recordkeeper putatively for providing recordkeeping and administrative services for

the fund. However, because revenue sharing payments are asset based, the fees can

grow to unreasonable levels if plan assets grow while the number of participants, and

thus the services provided, has not increased at a similar rate. The opposite is

generally not true. If plan assets decline, participants will not receive a sustained

benefit of paying lower fees, because the recordkeeper will demand that the plan

make up the shortfall through additional direct payments.




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       67.   If a fiduciary decides to use revenue sharing to pay for recordkeeping,

it is required that the fiduciary (1) determine and monitor the amount of the

revenue sharing and any other sources of compensation that the provider has

received, (2) compare that amount to the price that would be available on a flat per-

participant basis, and (3) control the amount of fees paid through recordkeeping by

obtaining rebates of any revenue sharing amounts that exceed the reasonable level

of fees.

       68.   As to the second critical element—determining the price that would be

available on a flat per-participant basis—making that assessment for a jumbo plan

requires soliciting bids from competing providers. In multi-billion dollar plans with

over 10,000 participants, such as the Plans, benchmarking based on fee surveys

alone is inadequate. Recordkeeping fees for jumbo plans have declined significantly

in recent years due to increased technological efficiency, competition, and increased

attention to fees by sponsors of other plans such that fees that may have been

reasonable at one time may have become excessive based on current market

conditions. Accordingly, the only way to determine the true market price at a given

time is to obtain competitive bids. See George v. Kraft Foods Global, Inc., 641 F.3d

786, 800 (7th Cir. 2011) (a 401(k) excessive fee case which denied summary

judgment based in part on the opinion of an independent consultant that “‘without

an actual fee quote comparison’—i.e., a bid from another service provider—

[consultant] ‘could not comment on the competitiveness of [recordkeeper’s] fee

amount for the services provided.’”).




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         69.   Industry experts recognize that this principle applies fully in the 403(b)

context, just as in the 401(k) context. Compared to benchmarking, “the RFP is a far

better way to negotiate fee and service improvements for higher education

organizations.” Fiduciary Plan Governance, LLC, Buying Power for Higher

Education Institutions: When you Have It and When You Don’t – Part 2.6 Indeed,

“[c]onducting periodic due diligence RFPs is a critical part of fulfilling the fiduciary

duty.” Western PA Healthcare News, 403(b) Retirement Plans: Why a Due Diligence

Request for Proposal.7 Engaging in in this RFP process “allows plan sponsors . . . to

meet their fiduciary obligations, provides leverage to renegotiate services and fees;

enhances service and investment opportunities and improves overall plan

operation.” Id. Prudent fiduciaries of defined contribution plans—including 403(b)

plans—thus obtain competitive bids for recordkeeping at regular intervals of

approximately three years.

V.       Bundled services and open architecture.

         70.   As the prevalence and asset size of defined contribution plans grew, in

the shift away from traditional defined benefit pension plans, numerous financial

services companies entered this burgeoning retirement plan market. These

providers often marketed “bundled” plans, offering to assist in setting up a plan and

providing a package of the provider’s proprietary investment funds as well as

administrative and recordkeeping services. The plans were often marketed as “free”


 6 Available at http://www.fiduciaryplangovernance.com/blog/buying-power-for-higher-
education-institutions-when-you-have-it-and-when-you-dont-part-2.
 7 Available at http://www.wphealthcarenews.com/403b-retirement-plans-why-a-due-

diligence-request-for-proposal/.


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plans, meaning there were supposedly no additional fees beyond the revenues the

provider received from having their investment funds in the plan. These

purportedly free plans had a significant condition—in order to obtain the free

pricing, the fiduciary had to agree to put the provider’s preferred investment lineup

in the plan—a group of handpicked funds that would guarantee the provider would

receive its desired fee revenue on an ongoing basis. Any deviations from that lineup

or removal of funds after the plan was established would require the provider’s

approval or result in the plan being assessed additional direct fees. Thus, under

these closed arrangements, funds were included in some defined contribution plans

not based on an independent analysis of their merits or what was in the best

interests of participants, but because of the benefits they provided to the plan’s

service providers.

      71.    In an open architecture model, a plan is not limited to the

recordkeeper’s own proprietary investment products, which the provider has an

interest in including in the plan because the funds provide it with revenue sharing

and investment fees. Instead, the fiduciary is free to reject the recordkeeper’s

conflicted fund recommendations, can independently assess whether another

investment manager offers a superior product at a more attractive price, and can

include such funds in the plan’s investment lineup. Open architecture also facilitates

negotiation of reasonable recordkeeping fees, since the price of the recordkeeping

service is more transparent and not obscured by opaque revenue sharing

arrangements—through which the investment product provider does not publicize




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the amount of revenue sharing it kicks back to itself in its separate role as a

recordkeeper—and can be negotiated separately without investment revenue

skewing the recordkeeping price. There are recordkeepers in the market that

exclusively operate on an open architecture basis in that they do recordkeeping only

and do not sell investment products. These providers can offer pricing on a pure per-

participant basis, without any revenue sharing component taken from funds in the

plan. In light of these benefits, prudent fiduciaries of large defined contribution

plans have largely rejected bundling and embraced open architecture platforms.

      72.    Open, transparent architecture allows for greater control over revenue

sharing arrangements if they are used at all, and indeed, allows a fiduciary to

eliminate revenue sharing altogether. If revenue sharing payments are used, they

can effectively be “kickbacks” to induce recordkeepers to advocate for a fund to be

included in the plan’s investment lineup or even attempt to dictate its inclusion. An

independent assessment of each fund is thus essential and required by ERISA to

determine whether the fund should be included in the plan based strictly on its

merits as an investment, regardless of whether it provides revenue sharing.

VI.   403(b) plans share common fiduciary duties with 401(k) plans.

      73.    Defined contribution plans can qualify for favored tax treatment under

different sections of the Internal Revenue Code. Plans offered by corporate

employers typically qualify under 26 U.S.C. §401(k), and are commonly referred to

as 401(k) plans. Tax-exempt organizations, public schools (including state colleges

and universities), and churches are eligible to offer plans qualified under §403(b),

commonly known as 403(b) plans. 26 U.S.C. §403(b)(1)(A).

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      74.    Plans sponsored by tax-exempt organizations such as private

universities, unlike churches and public schools, are subject to Title I of ERISA and

its fiduciary requirements, unless the plan satisfies a 1979 “safe-harbor” regulation

based on the employer having limited involvement in operating the plan. 29 C.F.R.

§2510.3-2(f). To the best of Plaintiffs’ knowledge, the Plans have never qualified for

the safe harbor, and thus has long been subject to ERISA’s fiduciary requirements.

In the Plans’ annual reports (Forms 5500) filed with the Department of Labor,

Defendants have acknowledged that the Plans are subject to ERISA.

      75.    Although 401(k) plans and 403(b) plans have different historical origins,

legislative and regulatory developments over a number of decades largely eroded

those differences, as reflected in final 403(b) regulations published by the IRS on July

26, 2007. Sponsors of 403(b) plans were given almost one-and-a-half years to prepare

for the effective date of the regulations, January 1, 2009. The regulations required

certain employers to become more involved with administering their plans than they

had previously, potentially disqualifying those plans from satisfying the ERISA safe

harbor and subjecting the plans to ERISA fiduciary requirements for the first time.

However, for plans like the Plans that were already subject to ERISA’s fiduciary

requirements because they were never safe-harbor plans, the IRS regulations had no

effect on the Plans’ status for ERISA fiduciary purposes; ERISA already required

Defendants to be actively involved in exercising care, prudence, skill, and diligence

in administering the Plans for the exclusive benefit of participants.




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      76.    When §403(b) was first enacted in 1958, plan assets could only be

invested in insurance company annuity contracts. 26 U.S.C. §403(b)(1). In 1974,

§403(b) was amended to allow 403(b) plans to invest in custodial accounts holding

mutual fund shares. 26 U.S.C. §403(b)(7).

      77.    Regardless of any differences between 401(k) and 403(b) plans, both

types of plans have the same fundamental purpose: allowing employees to save for a

secure retirement. The duties of fiduciaries in both are the same: to operate as a

financial expert familiar with investment practices, to operate the plan for the

exclusive benefit of employees and retirees, and to make sure that fees are

reasonable and investments are prudent. Participants in both types of plans depend

on their plan fiduciaries to ensure that retirement savings are not depleted by

excessive fees or imprudent investments. Accordingly, the historical differences and

investment limitations of 403(b) plans do not allow 403(b) fiduciaries to exercise a

lesser degree of care or attention to fees and investments than their 401(k)

counterparts.

VII. Historical practice of multiple recordkeepers and placement of many
     investment options in 403(b) plans, which some fiduciaries failed to
     evaluate as required.

      78.    As the Department of Labor has recognized, historically, many 403(b)

sponsors had treated their plans as a collection of individual contracts under which

employees could take various actions without the consent or involvement of the

employer or plan administrator, instead of fiduciaries evaluating investment

options placed in the plan. Field Assistance Bulletin 2009-02.




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      79.    Some 403(b) plans historically before 2009 included multiple bundled

service providers, with each performing the recordkeeping function for its own

investment products in the plan, unlike 401(k) plans which had a single

recordkeeper. In fact, “403(b) plan investment options were often ‘sold’ by record

keepers and their representatives rather than offered by plan sponsors as evaluated

investments.” Fiduciary Plan Governance, LLC, Legacy Investments in Higher

Education: What is a Plan Sponsor’s Responsibility to Participants?8 Indeed,

sponsors of these plans often took a “‘hands off’ approach to plan oversight.” Id. This

practice resulted in plans having excessive recordkeeping costs and structures

involving multiple recordkeepers with each recordkeeper having its own investment

options in the plan. This left participants with the task of navigating a haphazard

collection of duplicative and overlapping investment options from the various

recordkeepers, and ultimately led to them paying excessive and unnecessary fees,

both for recordkeeping and for investment products in the plans. Id. In some cases

the recordkeeper insisted on its own funds being included in the plan without any

resistance or analysis of those funds by the fiduciaries.

VIII. TIAA-CREF’s bundled 403(b) plan services.

      80.    TIAA-CREF is an insurance company financial services provider that

historically has dominated the market for services to educational institution 403(b)

plans, and has heavily marketed to them. TIAA-CREF consists of two companion

organizations: Teachers Insurance and Annuity Association of America (TIAA), and


  8Available at http://www.fiduciaryplangovernance.com/blog/legacy-investments-in-
higher-education-what-is-a-plan-sponsors-responsibility-to-participants.


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College Retirement Equities Fund (CREF). The services that TIAA-CREF provides

to 403(b) plans include annuities, mutual funds, insurance coverage, trust services,

and administrative services.

         81.   Although TIAA-CREF’s marketing materials suggest that it is a

“nonprofit” organization, that is misleading. In 1998, Congress revoked both TIAA’s

and CREF’s statuses as tax-deductible 501(c)(3) charitable organizations because

TIAA-CREF “competed directly with for-profit insurance companies and mutual

fund groups.” Reed Abelson, Budget Deal to Cost T.I.A.A.-C.R.E.F. Its Tax

Exemption, N.Y. Times (July 30, 2007).9 As a result, they are subject to federal

income taxation and are not 501(c)(3) charitable organizations.

         82.   While CREF is organized as a New York not-for-profit corporation,

TIAA is organized as a for-profit stock life insurance company. TIAA’s “operating

surplus” is spent, loaned, and otherwise distributed to some of its subsidiaries as

well. An example is Nuveen Investments, a for-profit investment manager, which

TIAA acquired in April 2014 for an enterprise value of $6.25 billion. TIAA receives

dividends from these for-profit subsidiaries.10

         83.   TIAA owns and controls numerous for-profit subsidiaries, which send

dividends to TIAA, including the following subsidiaries for which TIAA files

consolidated federal income tax returns:




 9 Available at http://www.nytimes.com/1997/07/30/business/budget-deal-to-cost-tiaa-
cref-its-tax-exemption.html.
 10 Available at https://www.tiaa.org/public/pdf/C16623_where-tiaa-profits-go.pdf.




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            TIAA Subsidiary            Not-For-Profit For-Profit Entity
                                           Entity
     730 Texas Forests Holdings, Inc.                        X
   Covariance Capital Management, Inc.                       X
        GreenWood Resources, Inc.                                   X
           JWL Properties, Inc.                                     X
          ND Properties, Inc.                                       X
      Nuveen Asia Investments, Inc.                                 X
          Nuveen Holdings, Inc.                                     X
         Nuveen Investments, Inc.                                   X
    Nuveen Investments Advisers, Inc.                               X
    Nuveen Investments Holdings, Inc.                               X
    Nuveen Investments Institutional                                X
          Services Group, LLC
    Nuveen Investment Solutions, Inc.                               X
         Nuveen Securities, LLC                                     X
      Oleum Holding Company, Inc.                                   X
   Rittenhouse Asset Management, Inc.                               X
        T-C Europe Holdings, Inc.                                   X
               T-C SP, Inc.                                         X
           T-C Sports Co., Inc.                                     X
      T-Investment Properties Corp.                                 X
           TCT Holdings, Inc.                                       X
         Teachers Advisors, Inc.                                    X
   Teachers Personal Investors Service,                             X
                   Inc.
          Terra Land Company                                        X
     TIAA Asset Management Finance                                  X
             Company, LLC
        TIAA-CREF Life Insurance                                    X
               Company.
    TIAA-CREF Tuition Financing, Inc.                               X


     TIAA-CREF Trust Company, FSB                                   X




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                 TIAA Subsidiary                  Not-For-Profit For-Profit Entity
                                                      Entity
             Westchester Group Asset                                    X
               Management, Inc.
             Westchester Group Farm                                            X
               Management, Inc.
          Westchester Group Investment                                         X
           Management Holding, Inc.
          Westchester Group Investment                                         X
               Management, Inc.
       Westchester Group Real Estate, Inc.                                     X



See 2015 Annual Statement of the Teachers Insurance and Annuity Association of

America 39, 112–19 (Jan. 26, 2016).11

       84.    Also, consistent with its conduct as a profit-seeking enterprise, the

compensation of TIAA’s CEO and other executives is greater than or close to the

very highest paid executives of some of Wall Street’s largest for-profit investment

managers and insurance companies, such as J.P. Morgan Chase, Prudential,

Deutsche Bank, and Metlife. In 2015, TIAA’s CEO received $18 million in

compensation,12 more than the CEOs of Metlife ($14 million) and Deutsche Bank

($5.2 million), and just below the CEOs of J.P. Morgan Chase ($18.2 million) and

Prudential ($19.9 million). In fact, TIAA’s five highest-ranking “named executive



 11 Available at https://www.tiaa.org/public/pdf/tiaa_annual_statement_2015.pdf. This list
does not include the hundreds of TIAA’s for-profit, joint venture subsidiaries, all of which
are controlled by TIAA. See id. at 112–19; see also
https://www.sec.gov/Archives/edgar/data/1429401/000119312510093446/dex21.htm.
 12 TIAA Compensation Disclosures, Executive Compensation Discussion and Analysis 20

(May 2016), available at
 https://www.tiaa.org/public/pdf/about/governance/exec_comp_policy.pdf.


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officers” earned a combined total of well over $40 million in compensation in 2015.

Id. When expressed as a percentage of assets under management, TIAA’s CEO had

the very highest compensation rate among reporting investment companies.



                      TIAA-CREF's CEO's Compensation
             Highest Among Reporting Investment Fund Families
                as a Percentage of Assets under Mgmt (AUM)
  0.00250%



  0.00200%



  0.00150%



  0.00100%



  0.00050%



  0.00000%
        TIAA-CREF ($834B AUM)                   Invesco ($784.5B AUM)
        JP Morgan ($1676B AUM)                  Bank of New York Mellon (Dreyfus) ($1700B AUM)
        Deutsche Bank AG ($842B AUM)            Prudential ($1220B AUM)
        Black Rock ($4890B AUM)                 State Street ($2300B AUM)
        Natixis SA ($884.9B AUM)



       85.    Adding to this, and undercutting any claim that it operates as a non-

profit, TIAA’s compensation disclosures further state that its employees’

compensation and benefits programs are linked to “profitability.” TIAA

Compensation Disclosures (emphasis added).

       86.    Responding to criticism that TIAA-CREF’s CEO and other executives

“garnered salaries and bonuses significantly greater than similar pension fund

operations,” TIAA-CREF responded that such extremely high pay was justified

because “the company had to compete for top-level employees with major financial


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services corporations.” Funding Universe, Teachers Insurance and Annuities

Association – College Retirement Equities Fund History.13 Critics found this

justification dubious because the “flagship CREF Stock Account, an equity portfolio

of $59 billion, was primarily indexed to the Russell 3000,” meaning that “CREF

automatically invested nearly two of every three dollars in companies held by the

benchmark fund,” leaving “little for the highly paid officers to manage.” Id.

         87.    In benchmarking (and justifying) its executives’ compensation

packages, TIAA disclosed the following sixteen for-profit financial services and

insurance companies as the peer group it used for competitive analysis:




         88.    TIAA-CREF provided its 403(b) plan services exclusively on a bundled

basis. If a plan wished to offer the TIAA Traditional Annuity, a fixed annuity

product, TIAA-CREF required that the CREF Stock Account and Money Market

Account also be put in the Plans, and required the Plans to use TIAA as

recordkeeper for its proprietary products. Thus, by using TIAA-CREF, Defendants

locked the Plans into an arrangement in advance in which certain investments

could not be removed from the plan—even if the funds were not prudent investments


  13   Available at http://www.fundinguniverse.com/company-histories/teachers-insurance-
and-annuity-association-college-retirement-equities-fund-history/.


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or would become imprudent in the future. By accepting this arrangement,

Defendants failed to implement an open architecture platform and use another

recordkeeper who could provide the same administrative services at lower cost.

Compounding this bundling requirement by TIAA, Defendants used multiple

recordkeepers, each with their own investment products, resulting in an inefficient

and excessively expensive plan structure, as described in more detail below.

      89.    There is no shortage of high-quality, low-cost alternatives to TIAA-

CREF’s products in the defined contribution plan market. For example, many 403(b)

plan fiduciaries have recognized that stable value funds are prudent alternatives to

TIAA’s Traditional Annuity as a conservative principal preservation option,

providing superior returns to a money market fund, and can be recordkept by

virtually any defined contribution recordkeeper. Other insurance companies, besides

TIAA, also offer fixed annuity products. And there are myriad large cap blend

mutual fund investments in the market that provide far superior returns to the

CREF Stock Account at much lower cost. In light of TIAA-CREF’s restrictions and

superior alternatives in the market, fiduciaries of 403(b) defined contribution plans

must evaluate each investment option and engage in a cost-benefit analysis to

determine whether it is prudent and in the exclusive best interest of participants to

lock their plans into an arrangement that precludes the removal of imprudent plan

investments and results in excessive plan fees. Defendants failed to perform such an

evaluation of the funds and services TIAA-CREF required. Defendants also failed to

evaluate whether participants would be better served by using superior low-cost




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alternatives to TIAA-CREF’s products given that the Plans could have saved

millions of dollars in administrative and investment management costs by hiring a

different recordkeeper. As explained below, prudent 403(b) fiduciaries have engaged

in this analysis and overhauled their plans for the benefit of participants.

IX.    Move to consolidation and open architecture in 403(b) plans.

       90.   Under the 2007 final regulations that became effective January 1,

2009,14 certain employers with 403(b) plans were compelled to exercise greater

control over their 403(b) plans than they had previously. Among other things, the

final regulations required 403(b) plans to be maintained under a “written defined

contribution plan” containing all the material terms and conditions for benefits

under the plan. DOL separately published revised Form 5500 annual reporting

rules effective January 1, 2009, that required large ERISA-covered 403(b) plans to

file audited financial statements providing detailed information about the assets in

the plan. The regulations are expressly intended to make 403(b) plans more like

401(k) plans.

       91.   Once the final regulations were published, many 403(b) plan fiduciaries

recognized that fulfilling their fiduciary obligations—whether on an ongoing basis or

for the first time—required them to engage, if they had not already been doing so, in

a comprehensive review of their plans’ fees, investment options and structure, and

service provider arrangements, to determine whether changes had to be made for

the benefit of participants. While the Plans have long been subject to ERISA


  14 The regulations gave 403(b) plans almost a year and a half to make changes necessary
to comply before the regulation became effective January 1, 2009.


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because the employer match was sufficient for the Plans to be “established or

maintained” as ERISA plans under 29 U.S.C. §1002(2)(A)—and, indeed Defendants

have informed the Department of Labor in the Plans’ Forms 5500 that the Plans are

subject to ERISA—even if the Plans had not previously been subject to ERISA,

there can be no doubt that 403(b) plan fiduciaries could not just accept investment

options provided by the same providers who did recordkeeping for the plan in order

to comply with ERISA’s requirements that all fees be reasonable and investments

be prudent.

         92.    Once the regulations were published, some non-profit plan sponsors

whose 403(b) programs previously qualified for the safe-harbor determined they

would have to comply with ERISA’s fiduciary requirements by the regulations’

effective date of January 1, 2009. As a result, the fiduciaries of many 403(b) plans

implemented dramatic overhauls to their plans and acknowledged that these

changes were necessary to comply with the IRS regulations and to satisfy their

fiduciary obligations under ERISA.

         93.    For example, the fiduciaries of the Loyola Marymount University (LMU)

Defined Contribution Plan, a 403(b) plan, recognized that under the new regulations,

“Recordkeeping must be consolidated and/or managed by a single party.” See LMU

403(b) Retirement Plan Project Overview, at 1.15 “Keeping two on-going record

keepers in 2009 would mean that faculty/staff would pay higher fees and receive

reduced services.” Id. at 2. Beginning in 2008, to assist LMU in assessing the plan’s

investment options and recordkeeping services, LMU hired an independent third

 15   Available at http://www.lmu.edu/AssetFactory.aspx?vid=33038.


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party consultant, Hewitt Associates (n/k/a AonHewitt), to issue a request for

proposal to seven different 403(b) recordkeeping providers, including AIG

Retirement, Diversified Investment Advisors, Fidelity, ING, Lincoln Financial

Group, Principal Financial Group, and TAA-CREF.16 LMU consolidated from two

recordkeepers to one effective on the date the final regulation became effective,

January 1, 2009. Loyola Marymount’s fiduciaries recognized that a dual

recordkeeper structure would require its employees to pay higher fees for

overlapping services, and because consultants, legal counsel, and all of the

recordkeeping firms interviewed recommended that LMU use only one record

keeper, starting in January 2009. LMU 403(b) Retirement Plan Project Overview,

at 2. Moreover, LMU selected Diversified as the new recordkeeper because

Diversified “is not an investment manager and therefore, does not require that

certain investment options be offered by LMU.” Id. LMU was therefore able to offer

“best in class” funds in each fund category. Id. at 6.

         94.    Similarly, following the new IRS 403(b) regulations, the fiduciaries of

the Pepperdine University Retirement Plan recognized the implications of

maintaining four different recordkeepers. In order to comply with the regulations

and its fiduciary responsibilities, Pepperdine determined that it must make certain

changes to the plan, including “Consolidating recordkeeping (by having one fund

provider manage administration for multiple providers or by moving to a sole

administrator scenario).” See Pepperdine University Participant Q & A. 17


 16   See http://www.lmu.edu/AssetFactory.aspx?vid=32045.
 17   Available at http://community.pepperdine.edu/hr/content/benefits/fulltime/faq.pdf.


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Pepperdine retained an independent third party consultant to assist the fiduciaries

in issuing a request for proposal to different 403(b) recordkeeping providers.

Following the competitive bidding process, effective February 1, 2009, Pepperdine

selected Diversified, a recordkeeper which does not offer proprietary investments,

as the “sole administrator” and consolidated from four recordkeepers (Fidelity,

TIAA-CREF, Vanguard and Prudential) to a single recordkeeper. Pepperdine found

that the benefits of consolidation included lower costs and more robust services, as

well as a streamlined compliance process and simplified data coordination. Id.

Pepperdine acknowledged that maintaining a multiple-vendor platform was not a

“cost-effective, viable option.” Paul B. Lasiter, Single Provider, Multiple Choices,

NACUBO.18 Recognizing the inefficiencies and overlapping work in a multiple

recordkeeper arrangement, Pepperdine determined that costs were “higher in a

multivendor arrangement, because each vendor receives only a portion of the

ongoing total plan contributions,” while a single provider allowed to “realize true

economies of scale.” Id.

       95.   Pepperdine also recognized that the bundled model demanded by

certain providers was not in participants’ interest. Using those providers “meant

being obligated to offer some or all of that provider’s proprietary funds on the plan's

investment menu—whether or not those investments offered participants the best

range of choice, value, and relative performance.” Id. (emphasis added). Acting in



  18Available at
http://www.nacubo.org/Business_Officer_Magazine/Magazine_Archives/March_2010/Si
ngle_Provider_Multiple_Choices.html.


                                           42
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participants’ interest required that the fiduciaries instead have the ability to select

those “funds that the university—working with an independent financial adviser—

could identify as being the ‘best options in their respective asset classes.’” Id. After

weighing and analyzing a variety of factors, Pepperdine determined that

“consolidating with a single vendor has been the straightforward solution to

achieving” the objective of acting “for the exclusive benefit of plan participants.” Id.

The benefits of consolidation included “[a] better fiduciary process with ongoing

evaluation” of plan investments, “[e]conomies of scale,” and “[g]reater transparency

of fees and lowered costs for plan participants.” Id.

      96.    In the fall of 2008, in response to the new, not yet effective regulations

and required changes within the defined contribution industry, Purdue University

began a comprehensive review of its defined contribution retirement program.

Purdue recognized that “[t] he primary intent of the regulations was to reduce the

difference between Section 403(b) plans, Section 401(k) plans and Section 457(b)

plans; to enhance 403(b) plan compliance; and to establish a more structured

retirement program for employees in the non-profit sector.” James S. Almond, 403(b)

Plan Redesign–Making a Good Retirement Plan Better, PURDUE UNIVERSITY

(emphasis added).19 Purdue hired an independent third party consultant,

EnnisKnupp & Associates (n/k/a AonHewitt), to assist the fiduciaries in evaluating

the investment options, participants’ fees, and recordkeeping services, which



 19 Available at http://www.cacubo.org/wp-
content/uploads/2016/02/10_403b_Plan_Redesign_Making_a_Good_Retirement_Plan_Better
.docx.


                                           43
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included developing and issuing an RFP to recordkeepers. The “benefits” of

Purdue’s program enhancements included the transition from five providers

(TIAA-CREF, Fidelity, American Century, Lincoln, and VALIC) to a single

administrative service provider (Fidelity) with a corresponding significant

reduction in recordkeeping expenses. The reformed plan “[p]rovided a transparent

investment and administrative fee structure” and “[l]everaged plan assets to lower

administrative and investment fees, including access to institutional share class

funds and a flat administrative fee, instead of administrative fees as a percentage

of retirement savings.” Id. Purdue reduced the number of investment options from

381 to 19, “eliminating redundant investment options with varying levels of

expenses” and replacing the menu of duplicative investment options with “a

limited menu of pre-screened, broadly diversified investment options.” Id.

Purdue’s analysis showed that “reducing administrative and investment plan fees

under the new structure for a plan of Purdue’s size, would increase participant

balances by an estimated $3–4 million per year which is then compounded over

time.” Id. (emphasis added).

      97.   Likewise, the California Institute of Technology (CalTech) TIAA-CREF

DC Retirement Plan consolidated from multiple recordkeepers (TIAA-CREF and

Fidelity) to a single recordkeeper (TIAA-CREF) effective January 1, 2010, with the

assistance of an independent third party consultant, Mercer Investment Consulting.




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Caltech Names TIAA-CREF Recordkeeper, INSTITUTIONAL INVESTOR (Dec. 10, 2009).20

In selecting a core set of investment options for the plan, CalTech eliminated over 100

Fidelity mutual fund options. Based on disclosures in the plan’s Forms 5500 filed

with the Department of Labor, between 2013 and 2015, CalTech negotiated over $15

million in revenue sharing rebates from TIAA-CREF, which was returned to the plan

to benefit participants.

       98.    Extensive industry literature shows that these sponsors are not

outliers, and that similarly situated fiduciaries who have also comprehensively

reviewed their plans have been able to reduce recordkeeping and investment

management fees, consolidate recordkeepers and investment options, leading to

enhanced outcomes and retirement security for their plans’ participants.

       99.    In connection with a plan redesign project at the University of Notre

Dame, independent investment consultant Hewitt EnnisKnupp (n/k/a AonHewitt)

issued a “403(b) Plan Redesign Working Paper” which set forth 403(b) fiduciary best

practices taken in response to the IRS 403(b) regulations. Hewitt EnnisKnupp,

403(b) Plan Redesign Working Paper: University of Notre Dame (Feb. 2014).21

Hewitt noted that “[w]ith the issuance of new Internal Revenue Service regulations

in 2008, there has been an accelerated evolution of the 403(b) marketplace into

something that more closely resembles the private sector 401(k) market.” Id. at 3.



 20 Available at http://www.institutionalinvestor.com/Article/2355324/Search/Caltech-
Names-TIAA-CREF-Record-Keeper.html#/.WBn8Oy0rKpp.
 21 Available at https://workplacecontent.fidelity.com/bin-

public/070_NB_PreLogin_Pages/documents/ND_403(b)%20Plan%20Redesign%20
White%20Paper.pdf.


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      100.   Hewitt noted several areas of plan improvements. First, recordkeeper

consolidation provided “many benefits to participants,” including cost savings.

Although the multiple-recordkeeper model had been common in the higher-

education marketplace, “[e]xperience and research suggests that this type of

administrative structure can be costly and confusing to faculty and staff.” Id. at 4.

“The multiple-recordkeeper model tends to divide participant assets into individual

accounts held at separate recordkeepers resulting in costs that are meaningfully

higher than under a single recordkeeper model.” Id. at 5. Such “[e]xcess fees and

misallocated costs are a potential threat to the financial security of many defined

contribution plan participants.” Id.

      101.   Second, Hewitt recommended that plans “unbundl[e]” investment

management and administrative services, and to replace revenue sharing

arrangements with “explicit, hard dollar administrative fee[s].” Id. Hewitt’s

“experience and research suggests that the transparency gained through an

‘unbundled’ administrative fee solution with little or no revenue sharing typically

results in meaningful fee savings for participants.” Id. at 6. An unbundled

arrangement allows plan fiduciaries “to determine whether or not the internal

administrative fee allocations used by the existing bundled recordkeepers is a true

representation of the costs of these services.” Id. An unbundled arrangement also

provided opportunities to incorporate “‘institutional’ share classes of funds” into the

investment lineup. Id.




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      102.   Further, according to a 2013 survey of 403(b) plans, more than 90% of

plans use a single recordkeeper to provide administrative and recordkeeping services

to participants. See LIMRA Retirement Research, 403(b) Plan Sponsor Research

(2013).22

      103.   Annual surveys by Plan Sponsor Council of America found that in each

year from 2010 through 2014, unlike the Northwestern Plans, the overwhelming

majority of 403(b) plans—over 80%—have only a single recordkeeper, and provide

an average of 28 investment fund options.23 An earlier PSCA survey of 403(b) plans

found that as of 2009, 57% of 403(b) plan fiduciaries had made changes to their

plans as a result of the new 403(b) regulations that became effective January 1,

2009.24

      104.   The majority of plans use a single recordkeeper because a “multi-

recordkeeper platform is inefficient” and squanders the ability to leverage a

plan’s bargaining power. The Standard Retirement Services, Inc., Fixing Your 403(b)

Plan: Adopting a Best Practices Approach, at 2 (Nov. 2009)(emphasis in original).25

“By selecting a single recordkeeper, plan sponsors can enhance their purchasing

 22  Available at
 http://www.limra.com/uploadedFiles/limracom/LIMRA_Root/Secure_Retirement_Institute/N
 ews_Center/Reports/130329-01exec.pdf.
  23 Each PSCA survey covers the year prior to the year indicated in the title. PSCA’s 2015

Benchmarking Survey of 403(b) Plans, at 32, 65; PSCA’s 2014 Benchmarking Survey of
403(b) Plans, at 32, 61; PSCA’s 2013 Benchmarking Survey of 403(b) Plans, at 32, 61, 64;
PSCA’s 2013 Benchmarking Survey of 403(b) Plans, at 32, 61, 64; PSCA’s 2012
Benchmarking Survey of 403(b) Plans, at 30, 61, 64; PSCA’s 2012 Benchmarking Survey of
403(b) Plans, at 30, 61, 64; PSCA’s 2011 Benchmarking Survey of 403(b) Plans, at 28, 55,
59.
   24 PSCA’s 2010 Benchmarking Survey of 403(b) Plans at 45.
   25 Available at https://www.standard.com/pensions/publications/14883_1109.pdf.




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power and negotiate lower, transparent investment fees for participants,” while

allowing participants to “benefit from a more manageable number of institutional-

quality investment options to choose from.” Id. Additional benefits of a single

recordkeeper platform include simplifying personnel and payroll data feeds,

reducing electronic fund transfers, and avoiding duplication of services when more

than one recordkeeper is used.

      105.   AonHewitt, an independent investment consultant, similarly

recognized that “403(b) plan sponsors can dramatically reduce participant-borne

costs while improving employees’ retirement readiness by” “[c]onsolidating

recordkeepers,” “[l]everaging aggregate plan size and scale to negotiate competitive

pricing, and reducing the number of investment options and “utilizing an ‘open

architecture’ investment menu[.]” AonHewitt, How 403(b) Plans Are Wasting Nearly

$10 Billion Annually, and What Can Be Done to Fix It (Jan. 2016).26

      106.   Another independent investment consultant, Towers Watson, also

recognized that using multiple recordkeepers makes it “difficult for employers to

monitor available choices and provide ongoing oversight” while harming participants

through “high investment and administrative costs” and a lack of guidance needed to

achieve retirement readiness. Peter Grant and Gary Kilpatrick, Higher Education’s




 26Available at https://retirementandinvestmentblog.aon.com/getattachment/36ff81a4-
db35-4bc0-aac1-
1685d2a64078/How_403(b)_Plans_are_Wasting_Nearly_$10_Billion_Annually_Whitep
aper_FINAL.pdf.aspx.


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Response to a New Defined Contribution Environment, TOWERS WATSON

VIEWPOINTS, at 2 (2012).27

      107.   The recommendations of these independent, widely used investment

consultants are buttressed by other industry literature supporting the fact that the

use of a single recordkeeper provides reasonable fees. See, e.g., Kristen Heinzinger,

Paring Down Providers: A 403(b) Sponsor’s Experience, PLANSPONSOR (Dec. 6,

2012)(“One advantage of consolidating to a single provider was an overall drop in

administrative fees and expenses. Recordkeeping basis points returned to the plan

sponsors rather than to the vendor. All plan money aggregated into a single

platform, and participants were able to save on fee structure. This also eliminated

the complications and confusion of having three different recordkeepers.”); 28 Paul B.

Lasiter, Single Provider, Multiple Choices, BUSINESS OFFICER (Mar.

2010)(identifying, among other things, the key disadvantages of maintaining a

multi-provider platform including the fact that it is “cumbersome and costly to

continue overseeing multiple vendors.”).29

      108.   Use of a single recordkeeper is also less confusing to participants and

eliminates excessive, overlapping recordkeeping fees. Vendor Consolidation in Higher

Education: Getting More from Less, PLAN SPONSOR (July 29, 2010)(recognizing the


 27  Available at
 https://www.towerswatson.com/DownloadMedia.aspx?media=%7B08A2F366-14E3-
 4C52-BB78-8930F598FD26%7D.
  28 Available at http://www.plansponsor.com/paring-down-providers-a-403b-sponsors-

experience/?fullstory=true.
   29 Available at

http://www.nacubo.org/Business_Officer_Magazine/Magazine_Archives/March_2010/Single_
Provider_Multiple_Choices.html.


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following benefits, among others: “The plan participant experience is better” because

“employees are benefiting from less confusion as a result of fewer vendors in the mix”;

“Administrative burden is lessened” by “bringing new efficiencies to the payroll”; and

“Costs can be reduced” because “[w]ith a reduced number of vendors in the equation,

plan sponsors are better able to negotiate fees” and many are “reporting lower overall

cost resulting in an improved cost-per-participant ratio”).30

          DEFENDANTS BREACHED THEIR FIDUCIARY DUTIES
            AND COMMITTED PROHIBITED TRANSACTIONS

      109.   Defendants’ longstanding retention of two recordkeepers and hundreds

of their proprietary funds—which the recordkeepers required to be included in the

Plans—while excluding superior low-cost alternatives from other managers,

demonstrates that, in contrast with the comprehensive plan reviews conducted by

the similarly situated fiduciaries described above, Defendants failed to adequately

engage in a similar analysis. Had Defendants conducted such a review of the Plans,

Defendants would not have allowed the Plans to continue to pay excessive

administrative fees; would not have maintained an inefficient two-recordkeeper

structure; would not have continued to include well over hundreds of investment

options in each of the Plans, including duplicative funds in numerous investment

styles and higher-cost retail share classes for which identical lower-cost versions of

the same funds were available; and would not have retained investment options




 30Available at http://www.plansponsor.com/vendor-consolidation-in-higher-
education/?fullstory=true.


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which had a sustained track record of underperformance. This follows because a

prudent process would have produced a different outcome.

I.       The Plans’ hundreds of investment options and multiple
         recordkeepers.

         110.   Prior to October 2016, Defendants included over 240 investment

options in the Retirement Plan and over 180 investment options in the Voluntary

Savings Plan. For both Plans these options included mutual funds, insurance pooled

separate accounts, and insurance company fixed and variable annuity products. The

mutual fund options included retail share class mutual funds, despite the massive

size of the Plans. These retail share class mutual funds are designed for small

individual investors and are identical in every respect to institutional share class

funds, except for much higher fees.

         111.   The investment options were and are offered by TIAA-CREF and the

Fidelity Management Trust Company (“Fidelity”). Defendants select investment

options into which participants’ investments are directed, including those

investment options that are removed from the Retirement Plan and the Voluntary

Savings Plan.

         112.   Under the terms of the Retirement Plan, participants are eligible to

contribute a discretionary amount of their annual compensation to the Plan and

Northwestern makes a matching contribution. Under the terms of the Voluntary

Savings Plan, participants may likewise contribute a discretionary amount of their

annual compensation to the Plan, but Northwestern makes no matching

contribution.



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      113.   As of December 31, 2015, Defendants offered a total of 242 investment

options to Retirement Plan participants. In particular, the Retirement Plan offered

39 TIAA-CREF investments and 203 Fidelity investments (including both Fidelity

funds and third-party funds offered through Fidelity).

      114.   These investments are designated by Defendants as available

investment alternatives offered under the Retirement Plan.

      115.   As of December 31, 2015, Defendants offered a total of 187 investment

options to Voluntary Savings Plan participants. In particular, the Voluntary

Savings Plan offered 39 TIAA-CREF investments and 148 Fidelity investments

(including both Fidelity funds and third-party funds offered through Fidelity).

      116.   These investments are designated by Defendants as available

investment alternatives offered under the Voluntary Savings Plan.

      117.   The TIAA Traditional Annuity offered in both Plans is a fixed annuity

contract that returns a contractually specified minimum interest rate. Assets

invested in the TIAA Traditional Annuity are held in the general account of TIAA

and are dependent on the claims-paying ability of TIAA. The TIAA Traditional

Annuity has severe restrictions and penalties for withdrawal if participants wish to

change their investments in the Plans.

      118.   Both Plans include the CREF Stock Account, CREF Global Equities

Account, CREF Equity Index Account, CREF Growth Account, CREF Social Choice

Account, CREF Money Market Account, CREF Inflation-Linked Bond Account, and

CREF Bond Market Account, which are variable annuities that invest in underlying




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securities for a given investment style. The value of the Plans’ investment in these

variable annuities changes over time based on investment performance and the

expenses of the accounts.

      119.   The TIAA Real Estate Account is an insurance separate account

maintained by TIAA. An insurance separate account is an investment vehicle that

aggregates assets from more than one retirement plan for a given investment

strategy, but those assets are segregated from the insurance company’s general

account assets.

      120.   The remaining TIAA-CREF funds are mutual funds. The TIAA-CREF

mutual funds charge varying amounts for investment management, but also charge

distribution, marketing, and other expenses, depending on the type of investment

and share class.

      121.   The Fidelity investment options offered to Plan participants are

primarily mutual funds that charge varying amounts for investment management

and other expenses, depending on the type of investment and share class.

      122.   As of December 31, 2015, of the Retirement Plan’s $2.34 billion in net

assets, TIAA-CREF funds accounted for nearly $1.8 billion and Fidelity funds

accounted for nearly $548 million. As of December 31, 2015, of the Voluntary

Savings Plan’s $530 million in net assets, TIAA-CREF funds accounted for over

$360 million and Fidelity funds accounted for over $160 million.




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         123.   In 2016, Defendants eliminated hundreds of mutual funds provided to

the Plans’ participants and selected a tiered structure comprised of a limited core

set of 32 investment options.31

         124.   Tier 1 consists of Blackrock target date mutual funds. Target date

funds automatically rebalance their portfolios to become more conservative as the

participant gets closer to retirement. The “target date” refers to the participant’s

expected retirement date, and is often part of the name for the fund. For instance,

“2030” target date funds are designed for individuals who intend to retire in the

year 2030.

         125.   Tier 2 includes only five index funds comprising various asset classes

and investment styles.

         126.   Tier 3 includes 26 actively managed investment options, which include

mutual funds, variable annuities, and an insurance separate account.

         127.   Tier 4 consists of a self-directed brokerage window.

         128.   The Plans’ participants could invest in the options offered in Tiers 1–3

beginning July 27, 2016, and in the Tier 4 self-directed brokerage window as of

September 16, 2016. Plan participants were permitted to invest in options available

under the previous structure until October 21, 2016.

II.      Defendants improperly allowed TIAA-CREF to require the inclusion
         of its investment products in the Plans and improperly allowed TIAA
         to require it to provide recordkeeping for its proprietary options.

         129.   ERISA requires fiduciaries to independently evaluate the prudence of

each investment option offered in a defined contribution plan, DiFelice, 497 F.3d at

 31   The Plans’ target date funds are counted as a single investment option.


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423, and to remove imprudent investments no matter how long they have been in a

plan, Tibble, 135 S. Ct. at 1828–29.

      130.   As noted, TIAA-CREF offered its products and services strictly on a

bundled basis. If a plan offers the TIAA Traditional Annuity, TIAA-CREF required

that the plan also offer its flagship CREF Stock Account and Money Market

Account, and to also use TIAA as recordkeeper for its proprietary products. By

agreeing to TIAA’s mandate that its recordkeeping services had to be linked to

including its funds in the Plans, Defendants promoted TIAA’s financial interests at

the expense of participants and drove excessive and uncapped revenue to TIAA’s

recordkeeping arm for years.

      131.   By allowing the Plans to enter such a bundled arrangement with TIAA-

CREF, Northwestern agreed to lock its employees into funds which Northwestern did

not analyze. It can never be prudent to lock in a fund in a plan for the future no

matter what its expenses or its performance. To do so creates a structure which at

the outset, and on an ongoing basis, violates ERISA’s requirement that fiduciaries

must independently monitor investment options on an ongoing basis and remove

those that are imprudent. Tibble, 135 S. Ct. at 1828–29. Defendants thus failed to

discharge its duty to independently evaluate whether each investment option was

prudent for the Plans; whether the use of TIAA as a plan recordkeeper was prudent,

reasonably priced, and in the exclusive interest of participants; and whether it was

prudent to include and retain the CREF Stock and Money Market accounts and the

TIAA Traditional in the Plans. Instead of acting solely in the interest of participants,




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Defendants allowed TIAA’s financial interest to dictate the Plans’ investment

selections and recordkeeping arrangement. Because Defendants allowed CREF Stock

to be locked into the Plans, Defendants could not satisfy its duty to evaluate the

option for inclusion and retention in the Plans, whether it was prudent at the time of

inclusion and whether it should be removed if imprudent. As a result of Defendants’

breach in allowing CREF Stock to be retained in the Plans because TIAA-CREF

demanded it and not based on an independent and ongoing assessment of the

merits of the option, the Plans suffered massive losses compared to prudent

alternatives, as discussed in more detail below. See infra ¶¶186–208.

      132.   As noted above, the Plans offer the TIAA Traditional Annuity. This

option is a fixed annuity contract that returns a contractually specified minimum

interest rate. An example of the restrictions and penalties for withdrawal imposed

by this Annuity include a 2.5% surrender charge if a participant withdraws his or

her investment in a single lump sum within 120 days of termination of employment.

Participants who wish to withdraw their savings without this 2.5% penalty can only

do so by spreading their withdrawal over a ten-year period.

      133.   The Plans include TIAA-CREF’s proprietary funds, including the

CREF Stock Account, CREF Global Equities Account, CREF Equity Index Account,

CREF Growth Account, CREF Social Choice Account, CREF Money Market

Account, CREF Inflation-Linked Bond Account, and CREF Bond Market Account,

which are variable annuities with four layers of expenses that invest in underlying

securities for a given investment style.




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         134.   The expense ratio of the CREF variable annuity accounts is made up of

multiple layers of expense charges consisting of the following:

                 a. “administrative expense” charge (24 bps);32

                 b. “distribution expense” charge (9.5 bps);

                 c. “mortality and expense risk” charge (0.5 bps); and

                 d. “investment advisory expense” charge (ranging from 4 to 12.5 bps).

         135.    Two of these four layers of fees charged on the CREF variable annuity

accounts, including the CREF Stock Account, are unreasonable for the actual

services provided by TIAA-CREF to the Plan’s participants, and the other two

layers of fees pay for services that provide no benefit to the Plan’s participants.

            a. Administrative expenses (or recordkeeping fees): The

            administrative fee assessed on each variable annuity option is charged as

            a percentage of assets, rather than a flat fee per participant. As described

            above, recordkeeping costs depend on the number of participant accounts

            that the recordkeeper will service in the plan rather than the size of

            assets because a higher account balance costs no more to track than a

            lower account balance. As a result, as the growth in the Plans’ assets

            outpaced the growth in participants, the fees paid to TIAA-CREF likewise

            increased even though the services provided did not increase at the same

            rate, resulting in further unreasonable compensation.




 32   Expenses are stated as of May 1, 2014.


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       b. Distribution expenses (or 12b-1 fees): Distribution expenses are

       charged for services performed for marketing and advertising of the fund

       to potential investors. However, in a retirement plan, the funds are

       selected by the sponsor. Thus, marketing and distribution services provide

       no benefit to plan participants and are wholly unnecessary. Being charged

       for such wholly useless expenses causes a loss of retirement assets to

       participants with no benefit.

       c. Mortality and expense risk charges: Some annuity or insurance

       providers charge mortality and expense risk charges to compensate the

       insurance company for the risk it assumes when providing periodic

       income or payments to the investor over her lifetime, which will vary

       depending on the value of the underlying investments. However, in the

       CREF variable annuities in the Plans, the participant does not make the

       choice of whether to take the account’s value in a lump sum or an annuity

       until retirement. Thus, this charge only benefits a participant if she

       elects at the time of retirement to annuitize her holdings in the account

       to provide for periodic income. Prior to annuitizing her account, the

       participant derives no benefit for paying such a charge, year after year,

       and TIAA-CREF provides no actual services or incurs any risk to justify

       the fee until a decision is made at retirement to convert the value of the

       lump sum to an annuity. Moreover, most participants in retirement plans

       recordkept by TIAA-CREF do not elect to annuitize their holdings in their




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       variable annuity accounts upon retirement. Yet, all participants pay

       these fees for many years regardless of whether they annuitize their

       variable annuity account.

       d. Investment advisory expense charge (or investment

       management fees): It is a fundamentally established principle of

       investment management that larger asset size enables the asset holder to

       obtain lower investment management fees as a percentage of assets. Fund

       managers institute breakpoints, whereby the investment management fee

       is reduced, as asset size goes up, at pre-specified asset thresholds to pass

       along economies of scale to the investor. For example, if $5 million is a

       breakpoint, one fee, based on a percentage of assets, will be charged on

       the first $5 million, and a lesser percentage will be charged on the next

       portion of the assets, or on all assets. A large investor will therefore be

       charged a lower fee, on a percentage of assets, than a smaller investor to

       recognize the economies of scale generated from the higher asset levels.

       Jumbo plans, such as the Northwestern Plans, can command extremely

       low fees. Despite this recognized principle, TIAA-CREF has not instituted

       any breakpoints whatsoever on its investment management fees to pass

       along economies of scale experienced by jumbo plan investors. The Plans’

       fiduciaries did not obtain the lower investment management fees that

       come with the Plans’ enormous asset size. As a result, the Plans, with

       billions of dollars invested in CREF variable annuities, pay the same




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         asset-based fee as the smallest clients with a tiny fraction of their total

         assets, resulting in a windfall to TIAA-CREF and excessive fees paid by

         Northwestern employees and retirees. The Plans subsidized these efforts

         for years, often at a loss—compounding their conflict and breaching their

         duty to participants under ERISA.

      136.   The excessiveness of this investment management fee is even more

egregious because of the way critics have documented how CREF “manages” the

CREF Stock Account by investing nearly two out of every three dollars in companies

held by its benchmark index, the Russell 3000 Index. See supra ¶86.

      137.   The TIAA Real Estate Account is an insurance company separate

account maintained by TIAA. Similar to the CREF variable annuity accounts, the

expense ratio of the TIAA Real Estate Account is made up of the same four layers of

excessive expenses detailed above, and even adds a fifth layer for a so-called

“liquidity guarantee.” As of May 1, 2013, these charges consisted of the following:

             a. “administrative expense” charge (26.5 bps);

             b. “distribution expense” charge (8 bps);

             c. “mortality and expense risk” charge (0.5 bps);

             d. “liquidity guarantee” (18 bps); and

             e. “investment management expense” charge (36.5 bps).

      138.   The 18 bps “liquidity guarantee” expense of the TIAA Real Estate

Account is yet another excessive fee that is not charged by better performing and




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lower cost mutual funds such as the Vanguard REIT Index (Inst), which has a total

expense ratio of 8 bps. See infra ¶¶210–213

       139.   As noted, the TIAA-CREF mutual funds in the Plans charge varying

amounts for investment management, but also charge distribution, marketing, and

other expenses, depending on the type of investment and share class. Thus, the

Plans’ participants are paying for marketing costs of funds which their employer

has placed in their retirement plan when such marketing costs provide no benefit to

them. Other mutual funds that were available to the Plans do not include such

marketing costs.

III.   Defendants caused the Plans to pay excessive administrative and
       recordkeeping fees.

       140.   As set forth above, the market for defined contribution recordkeeping

services is highly competitive. There are numerous recordkeepers in the marketplace

who are equally capable of providing a high level of service to large defined

contribution plans like the Plans and will readily respond to a request for proposal.

These recordkeepers primarily differentiate themselves based on price and

vigorously compete for business by offering the best price.

       141.   Because market rates for recordkeeping services have declined in

recent years and because the only way to reliably determine the true market rate

for a complex jumbo plan is to obtain an actual fee quote comparison, prudent

fiduciaries of jumbo defined contribution plans put their plans’ recordkeeping and

administrative services out for competitive bidding at regular intervals of

approximately three years.



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      142.   As detailed above, extensive industry literature and the experience of

similarly situated fiduciaries has shown that multiple recordkeeper platforms are

inefficient and result in excessive fees, while the use of a single recordkeeper offers

many benefits such as leveraging the plan’s participant base to obtain economies of

scale to ensure that participants pay only reasonable recordkeeping fees, while also

simplifying personnel and payroll data feeds, reducing electronic fund transfers, and

avoiding duplication of services when more than one recordkeeper is used. Instead of

leveraging the size of the participant base to take advantage of economies of scale,

using multiple recordkeepers eliminates a plan’s leverage. Rather than obtaining

pricing based on a 30,000-participant plan from one recordkeeper, Defendants

spread recordkeeping of participants among two separate recordkeepers, who

pushed each of their own products on the Plans. This took away the Plans’ ability to

obtain favorable pricing and resulted in the Plans including hundreds of investment

options that Defendants never reviewed.

      143.   Despite the long-recognized benefits of a single recordkeeper for a

defined contribution plan, Defendants continue to contract with two separate

recordkeepers (TIAA-CREF and Fidelity) for the Retirement Plan to date and only

consolidated the Voluntary Savings Plan to one recordkeeper (TIAA-CREF) in late

2012. There was no loyal or prudent reason that Defendants failed to engage in

such process for the Voluntary Savings Plan long before both 2012 and 2009. There

is also no loyal or prudent reason that Defendants continue to maintain a costly and

ineffective multiple recordkeeping structure for the Retirement Plan to date. In




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addition to the uncapped revenue sharing received as payment for these

administrative services, the inefficient and costly structure of multiple

recordkeepers has caused both Plans’ participants to pay excessive and

unreasonable fees for recordkeeping and administrative services.

      144.   The Retirement and the Voluntary Savings Plans’ recordkeepers

receive compensation for providing such services through per-participant fees and

revenue sharing payments from the Plans’ investments.

      145.   Upon information and belief and industry experts, the amounts of

revenue sharing kicked back to the TIAA-CREF recordkeeping entity for the Plans’

TIAA-CREF investments are set forth below.

                 TIAA-CREF Investment                 Revenue Share
             CREF variable annuity contracts              24 bps
             Premier share class of TIAA-CREF
                                                           15 bps
             mutual funds
             Retirement share class of TIAA-
                                                           25 bps
             CREF mutual funds
             TIAA Real Estate Account                    24–26.5 bps
             TIAA Traditional Annuity                      15 bps

      146.   Upon information and belief, Fidelity was and/or is compensated for

recordkeeping services based on internal revenue sharing it receives from using

higher-cost share classes of Fidelity’s mutual funds as opposed to the institutional

classes readily available to jumbo plans such as the Plans.

      147.   In addition, TIAA-CREF and Fidelity also receive and/or received

additional indirect compensation, including float, revenue derived from securities




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lending, distribution fees, mortality and expense charges, surrender charges,

spread, and redemption fees.

        148.   Based on the Plans’ features, the nature of the administrative services

provided by the Plans’ recordkeepers, the number of participants in the Plans

combined (approximately 30,000), and the recordkeeping market, a reasonable

recordkeeping fee for the Plans would be approximately $1,050,000 in the aggregate

for both Plans combined (or a flat fee based on $35 per participant). Even if

Defendants had negotiated a reasonable recordkeeping fee for the Retirement and

Voluntary Savings Plans separately, the Plans would have paid dramatically less

for recordkeeping services.

        149.   Based on schedules regarding service provider compensation in the

Retirement Plan’s Forms 5500 filed with the Department of Labor, and upon

information regarding the rate of internal revenue share allocated to each of the

Plans’ recordkeepers from their proprietary investment options, the Retirement

Plan paid between $3.3 and $4.1 million (or approximately $153 to $213 per

participant) per year from 2010 to 2015, over 500% higher than a reasonable fee for

these services, resulting in millions of dollars in excessive recordkeeping fees each

year.

        150.   Based on schedules regarding service provider compensation in the

Voluntary Savings Plan’s Forms 5500 filed with the Department of Labor, and upon

information regarding the rate of internal revenue share allocated to each of the

Plans’ recordkeepers from their proprietary investment options, the Voluntary




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Savings Plan paid between $660,000 and $900,000 (or approximately $54 to $87 per

participant) per year from 2010 to 2015, over 149% higher than a reasonable fee for

these services, resulting in millions of dollars in excessive recordkeeping fees each

year.

        151.   Upon information and belief, Defendants also failed to conduct a

competitive bidding process for the Plans’ recordkeeping services. A competitive

bidding process for recordkeeping services would have produced a reasonable

recordkeeping fee. This competitive bidding process would have enabled Defendants

to select a recordkeeper charging reasonable fees, negotiate a reduction in

recordkeeping fees, and rebate the full amount of excess expenses paid by

participants for recordkeeping services.

        152.   Aside from the failures to monitor the amount of revenue sharing

payments and to solicit competitive bids, Defendants also failed to adequately

negotiate rebates of excessive fee payments to TIAA-CREF and Fidelity. As a

specific example, because the multi-billion dollar plans paid the same percentage of

asset-based fees as much smaller plans that used TIAA-CREF’s products and

services, Defendants could have demanded “plan pricing” rebates from TIAA-CREF

based on the Plans’ economies of scale. Just as with investment management fees,

the Plans’ size would have enabled Defendants to command a much lower fee.

Defendants could have also demanded and obtained similar rebates of all excessive

fee payments from Fidelity. Had Defendants adequately negotiated for these




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rebates, the Plans’ recordkeeping fees would have been reduced, avoiding additional

losses of retirement savings.

      153.   The impact of excessive fees on employees’ and retirees’ retirement

assets is dramatic, as the U.S. Department of Labor has found. U.S. Dep’t of Labor,

A Look at 401(k) Plan Fees, at 1–2 (Aug. 2013) (finding that a 1% higher level of fees

over a 35-year period makes a 28% difference in retirement assets at the end of a

participant’s career).33

      154.   Defendants failed to prudently monitor and control the compensation

paid for recordkeeping and administrative services, particularly the asset-based

revenue sharing received by TIAA-CREF and Fidelity. Therefore, Defendants

caused the participants in both Plans to pay unreasonable expenses for

administration. Had Defendants ensured that participants only paid reasonable

fees for administrative and recordkeeping services, Retirement and Voluntary

Savings Plan participants would not have lost approximately $30 million of their

retirement savings.34

IV.   Defendant caused the Plans to pay wholly unnecessary and excessive
      fees by using higher-cost share classes of mutual funds instead of
      identical versions of the same funds in lower-cost share classes.

      155.   Jumbo retirement plans have massive bargaining power to negotiate

low fees for investment management services. If a plan invests in mutual funds,

fiduciaries must review and consider the available share classes. Because the only

 33 Available at http://www.dol.gov/ebsa/pdf/401kfeesemployee.pdf.
 34 The Plans’ losses have been brought forward to the present value using the investment
returns of the S&P 500 index to compensate participants who have not been reimbursed for
their losses. This is because the excessive fees participants paid would have remained in
the Plans’ investments growing with the market.


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difference between the various share classes is fees, selecting a higher-cost share

class results in the plan paying wholly unnecessary fees. Accordingly, absent some

compelling reason to opt for the higher-cost version, prudent fiduciaries will select

the lowest-cost share class available to the plan. As a prominent legal counsel to

defined contribution fiduciaries explained:

        The fiduciaries also must consider the size and purchasing power of their
        plan and select the share classes (or alternative investments) that a fiduciary
        who is knowledgeable about such matters would select under the
        circumstances. In other words, the “prevailing circumstances”—such as the
        size of the plan—are a part of a prudent decisionmaking process. The failure
        to understand the concepts and to know about the alternatives could be a
        costly fiduciary breach.

Fred Reish, Class–ifying Mutual Funds, PLANSPONSOR (Jan. 2011).35

        156.   Given that defined contribution plan fiduciaries are held to the

standard of a knowledgeable financial expert, a fiduciary should know the basic

principle that asset size matters, and must review a fund’s prospectus to determine

if a lower-cost chare class of the same fund is available, to avoid saddling the plan

with unnecessary fees.

        157.   Jumbo investors like the Plans can obtain share classes with far lower

costs than retail mutual fund shares. In addition, insurance company pooled

separate accounts are available that can significantly reduce investment fees

charged on mutual fund investments in defined contribution plans.




 35   Available at http://www.plansponsor.com/MagazineArticle.aspx?id=6442476537.


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      158.   Moreover, lower-cost share classes of mutual fund investment options

were readily available to the Plans. Institutional share classes sometimes have a

minimum investment threshold to qualify for the institutional rate. However,

       For large 401(k) plans with over a billion dollars in total assets ...
       mutual funds will often waive an investment minimum for
       institutional share classes. It is also common for investment
       advisors representing large 401(k) plans to call mutual funds and
       request waivers of the investment minimums so as to secure the
       institutional shares.

Tibble v. Edison Int’l, No. 07-5359, 2010 U.S. Dist. LEXIS 69119, at *27–28 (C.D.

Cal. July 8, 2010), aff’d 729 F.3d 1110 (9th Cir. 2013).

      159.   As further support of the routine waiver of investment minimums for

large institutional investors, fiduciaries of other defined contribution plans have

successfully negotiated on behalf of their plans less expensive institutional share

classes of TIAA-CREF and Fidelity mutual fund options despite not meeting the

minimum investment thresholds.

      160.   Therefore, Defendants knew or should have known that investment

providers would have allowed the Plans to provide lower-cost share classes to

participants if Defendants had asked.

      161.   Defendants selected and continue to retain’ investment options in the

Retirement and Voluntary Savings Plans with far higher costs than were and are

available for the Plans based on their size. This includes Defendants selecting and

continuing to offer far higher-cost share classes even though lower-cost share

classes of the exact same mutual funds were available. The following table sets forth

each higher-cost mutual fund share class that was included in the Plans during the


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proposed class period for which a significantly lower-cost, but otherwise identical,

share class of the same mutual fund was available. The expense ratios identified for

the Plans’ investment option and the lower-cost share class alternative are based on

the earliest date during the proposed class period that the higher-cost fund was

included in the Plans:

                                                              Identical
                                                               Lower-
                                                                           Plan's
                                        Identical Lower-        Cost
 Plan Mutual Fund        Plan Fee                                          Excess
                                       Cost Mutual Fund        Mutual
                                                                            Cost
                                                                Fund
                                                                 Fee
Calvert New Vision                    Calvert New Vision
Small Cap (A)             189 bps     Small Cap (I)             92 bps     105.43%
(CNVAX)                               (CVSMX)
                                      Fidelity Advisor
Fidelity Large Cap
                           80 bps     Large Cap Growth          68 bps      17.65%
Growth (FSLGX)
                                      (Inst) (FLNOX)
                                      Fidelity Advisor Mid
Fidelity Mid Cap
                           67 bps     Cap Growth (Inst)         59 bps      13.56%
Growth (FSMGX)
                                      (FGCOX)
Fidelity Spartan 500                  Fidelity Spartan 500
                           10 bps                                7 bps      42.86%
Index (Inv) (FSMKX)                   Index (Adv) (FSMAX)
Fidelity Stock                        Fidelity Advisor
Selector Small Cap         75 bps     Stock Selector Small      62 bps      20.97%
(FDSCX )                              Cap (I) (FCDIX)
TIAA-CREF Lifecycle
                                      TIAA-CREF Lifecycle
2010 (Retire)              47 bps                               22 bps     113.64%
                                      2010 (Inst) (TCTIX)
(TCLEX)
TIAA-CREF Lifecycle                   TIAA-CREF Lifecycle
                           46 bps                               42 bps      9.52%
2015 (Retire) (TCLIX)                 2015 (Inst) (TCNIX)
TIAA-CREF Lifecycle
                                      TIAA-CREF Lifecycle
2020 (Retire)              45 bps                               42 bps      7.14%
                                      2020 (Inst) (TCWIX)
(TCLTX)
TIAA-CREF Lifecycle
                                      TIAA-CREF Lifecycle
2025 (Retire)              44 bps                               42 bps      4.76%
                                      2025 (Inst) (TCYIX)
(TCLFX)




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                                                          Identical
                                                           Lower-
                                                                      Plan's
                                    Identical Lower-        Cost
Plan Mutual Fund       Plan Fee                                       Excess
                                   Cost Mutual Fund        Mutual
                                                                       Cost
                                                            Fund
                                                             Fee
TIAA-CREF Lifecycle
                                  TIAA-CREF Lifecycle
2030 (Retire)           44 bps                              19 bps    131.58%
                                  2030 (Inst) (TCRIX)
(TCLNX)
TIAA-CREF Lifecycle
                                  TIAA-CREF Lifecycle
2035 (Retire)           44 bps                              19 bps    131.58%
                                  2035 (Inst) (TCIIX)
(TCLRX)
TIAA-CREF Lifecycle
                                  TIAA-CREF Lifecycle
2040 (Retire)           44 bps                              19 bps    131.58%
                                  2040 (Inst) (TCOIX)
(TCLOX)
TIAA-CREF Lifecycle
                                  TIAA-CREF Lifecycle
2045 (Retire)           44 bps                              19 bps    131.58%
                                  2045 (Inst) (TTFIX)
(TTFRX)
TIAA-CREF Lifecycle
                                  TIAA-CREF Lifecycle
2050 (Retire)           44 bps                              19 bps    131.58%
                                  2050 (Inst) (TFTIX)
(TLFRX)
TIAA-CREF Lifecycle               TIAA-CREF Lifecycle
Retirement Income       65 bps    Retirement Income         40 bps    62.50%
(Retire) (TLIRX)                  (Inst) (TLRIX)
TIAA-CREF Managed                 TIAA-CREF Managed
Allocation (Retire)     71 bps    Allocation (Inst)         46 bps    54.35%
(TITRX)                           (TIMIX)
TIAA-CREF Small-                  TIAA-CREF Small-
Cap Blend Index         35 bps    Cap Blend Index           10 bps    250.00%
(Retire) (TRBIX)                  (Inst) (TISBX)
TIAA-CREF Small-                  TIAA-CREF Small-
Cap Equity (Retire)     78 bps    Cap Equity (Inst)         53 bps    47.17%
(TRSEX)                           (TISEX)
TIAA-CREF Social                  TIAA-CREF Social
Choice Equity           47 bps    Choice Equity (Inst)      22 bps    113.64%
(Retire) (TRSCX)                  (TISCX)
Vanguard Growth                   Vanguard Growth
                        28 bps                              8 bps     250.00%
Index (Inv) (VIGRX)               Index (Inst) (VIGIX)

Vanguard Mid Cap                  Vanguard Mid Cap
                        27 bps                              8 bps     237.50%
Index (Inv) (VIMSX)               Index (Inst) (VMCIX)




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                                                           Identical
                                                            Lower-
                                                                       Plan's
                                    Identical Lower-         Cost
Plan Mutual Fund        Plan Fee                                       Excess
                                   Cost Mutual Fund         Mutual
                                                                        Cost
                                                             Fund
                                                              Fee
Vanguard                           Vanguard
PRIMECAP (Inv)           49 bps    PRIMECAP (Adm)           37 bps     32.43%
(VPMCX)                            (VPMAX)
Vanguard Small Cap                 Vanguard Small Cap
                         28 bps                              8 bps     250.00%
Index (Inv) (NAESX)                Index (Inst) (VSCIX)

Vanguard Value                     Vanguard Value
                         26 bps                              8 bps     225.00%
Index (Inv) (VIVAX)                Index (Inst) (VIVIX)
Vanguard Windsor                   Vanguard Windsor
                         33 bps                             20 bps     65.00%
(Inv) (VWNDX)                      (Adm) (VWNEX)
Calvert Balanced                   Calvert Balanced
                        123 bps                             72 bps     70.83%
Portfolio (A) (CSIFX)              Portfolio (I) (CBAIX)
Calvert Capital                    Calvert Capital
Accumulation (A)        176 bps    Accumulation (I)         86 bps     104.65%
(CCAFX)                            (CCPIX)

Calvert International              Calvert International
                        180 bps                             106 bps    69.81%
Equity (A) (CWVGX)                 Equity (I) (CWVIX)

Calvert Small Cap (A)              Calvert Small Cap (I)
                        169 bps                             92 bps     83.70%
(CCVAX)                            (CSVIX)
Domini Social Equity               Domini Social Equity
                        123 bps                             75 bps     64.00%
(Inv) (DSEFX)                      (Inst) (DIEQX)

Fidelity 500 Index                 Fidelity 500 Index
                         10 bps                              7 bps     42.86%
(Inv) (FUSEX)                      (Prem) (FUSVX)

Fidelity Balanced                  Fidelity Balanced (K)
                         61 bps                             47 bps     29.79%
(FBALX)                            (FBAKX)
Fidelity Blue Chip                 Fidelity Blue Chip
                         93 bps                             74 bps     25.68%
Growth (FBGRX)                     Growth (K) (FBGKX)
Fidelity Capital                   Fidelity Capital
Appreciation             86 bps    Appreciation (K)         68 bps     26.47%
(FDCAX)                            (FCAKX)
Fidelity Contrafund                Fidelity Contrafund
                         91 bps                             78 bps     16.67%
(FCNTX)                            (K) (FCNKX)


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                                                          Identical
                                                           Lower-
                                                                      Plan's
                                    Identical Lower-        Cost
Plan Mutual Fund       Plan Fee                                       Excess
                                   Cost Mutual Fund        Mutual
                                                                       Cost
                                                            Fund
                                                             Fee
Fidelity Disciplined              Fidelity Disciplined
                        68 bps                              51 bps    33.33%
Equity (FDEQX)                    Equity (K) (FDEKX)
Fidelity Diversified              Fidelity Diversified
International           96 bps    International (K)         77 bps    24.68%
(FDIVX )                          (FDIKX)
Fidelity Dividend                 Fidelity Dividend
                        92 bps                              71 bps    29.58%
Growth (FDGFX )                   Growth (K) (FDGKX)
                                  Fidelity Equity
Fidelity Equity
                        69 bps    Income II (K)             54 bps    27.78%
Income II (FEQTX)
                                  (FETKX)
Fidelity Equity-                  Fidelity Equity-
                        74 bps                              54 bps    37.04%
Income (FEQIX)                    Income (K) (FEIKX)
Fidelity Export &                 Fidelity Export &
Multinational           84 bps    Multinational K           64 bps    31.25%
(FEXPX)                           (FEXKX)
Fidelity Freedom                  Fidelity Freedom K
                        51 bps                              43 bps    18.60%
2000 (FFFBX)                      2000 (FFKBX)
Fidelity Freedom                  Fidelity Freedom K
                        64 bps                              52 bps    23.08%
2005 (FFFVX)                      2005 (FFKVX)
Fidelity Freedom                  Fidelity Freedom K
                        67 bps                              53 bps    26.42%
2010 (FFFCX)                      2010 (FFKCX)
Fidelity Freedom                  Fidelity Freedom K
                        68 bps                              54 bps    25.93%
2015 (FFVFX)                      2015 (FKVFX)
Fidelity Freedom                  Fidelity Freedom K
                        74 bps                              57 bps    29.82%
2020 (FFFDX)                      2020 (FFKDX)
Fidelity Freedom                  Fidelity Freedom K
                        76 bps                              59 bps    28.81%
2025 (FFTWX)                      2025 (FKTWX)
Fidelity Freedom                  Fidelity Freedom K
                        79 bps                              61 bps    29.51%
2030 (FFFEX)                      2030 (FFKEX)
Fidelity Freedom                  Fidelity Freedom K
                        81 bps                              61 bps    32.79%
2035 (FFTHX)                      2035 (FKTHX)
Fidelity Freedom                  Fidelity Freedom K
                        81 bps                              62 bps    30.65%
2040 (FFFFX)                      2040 (FFKFX)
Fidelity Freedom                  Fidelity Freedom K
                        82 bps                              62 bps    32.26%
2045 (FFFGX)                      2045 (FFKGX)


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                                                             Identical
                                                              Lower-
                                                                         Plan's
                                     Identical Lower-          Cost
Plan Mutual Fund         Plan Fee                                        Excess
                                    Cost Mutual Fund          Mutual
                                                                          Cost
                                                               Fund
                                                                Fee
Fidelity Freedom                    Fidelity Freedom K
                          84 bps                              63 bps     33.33%
2050 (FFFHX)                        2050 (FFKHX)
Fidelity Freedom                    Fidelity Freedom K
                          50 bps                              42 bps     19.05%
Income (FFFAX)                      Income (FFKAX)
Fidelity Fund                       Fidelity Fund (K)
                          60 bps                              43 bps     39.53%
(FFIDX)                             (FFDKX)
Fidelity Global                     Fidelity Global
Commodity Stock          109 bps    Commodity Stock (I)       107 bps    1.87%
(FFGCX)                             (FFGIX)
Fidelity Growth &                   Fidelity Growth &
                          74 bps                              53 bps     39.62%
Income (FGRIX)                      Income (K) (FGIKX)
                                    Fidelity Growth
Fidelity Growth
                          89 bps    Company (K)               72 bps     23.61%
Company (FDGRX)
                                    (FGCKX)
                                    Fidelity Growth
Fidelity Growth
                          75 bps    Discovery (K)             52 bps     44.23%
Discovery (FDSVX)
                                    (FGDKX)
                                    Fidelity Growth
Fidelity Growth
                          77 bps    Strategies (K)            51 bps     50.98%
Strategies (FDEGX)
                                    (FAGKX)
Fidelity                            Fidelity
Independence              92 bps    Independence (K)          77 bps     19.48%
(FDFFX)                             (FDFKX)
                                    Fidelity International
Fidelity International
                         100 bps    Discovery (K)             79 bps     26.58%
Discovery (FIGRX)
                                    (FIDKX)
Fidelity International              Fidelity International
                          10 bps                               7 bps     42.86%
Index (Inv) (FSIIX)                 Index (Prem) (FSIVX)

Fidelity International              Fidelity International
                         142 bps                              131 bps    8.40%
Small Cap (FISMX)                   Small Cap (I) (FIXIX)

Fidelity International              Fidelity International
Small Cap                           Small Cap
                          89 bps                              88 bps     1.14%
Opportunities                       Opportunities (I)
(FSCOX)                             (FOPIX)



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                                                           Identical
                                                            Lower-
                                                                       Plan's
                                    Identical Lower-         Cost
Plan Mutual Fund        Plan Fee                                       Excess
                                   Cost Mutual Fund         Mutual
                                                                        Cost
                                                             Fund
                                                              Fee
Fidelity Leveraged                 Fidelity Leveraged
Company Stock            88 bps    Company Stock (K)        69 bps     27.54%
(FLVCX )                           (FLCKX)
Fidelity Long-Term                 Fidelity Long-Term
Treasury Bond Index      20 bps    Treasury Bond Index      10 bps     100.00%
(Inv) (FLBIX)                      (Prem) (FLBAX)
Fidelity Low-Priced                Fidelity Low-Priced
                         99 bps                             85 bps     16.47%
Stock (FLPSX )                     Stock (K) (FLPKX)
Fidelity Magellan                  Fidelity Magellan (K)
                         74 bps                             58 bps     27.59%
(FMAGX)                            (FMGKX)
Fidelity Mid-Cap                   Fidelity Mid-Cap
                         64 bps                             41 bps     56.10%
Stock (FMCSX )                     Stock (K) (FKMCX)
Fidelity OTC                       Fidelity OTC (K)
                        104 bps                             88 bps     18.18%
(FOCPX)                            (FOCKX)
Fidelity Overseas                  Fidelity Overseas (K)
                         85 bps                             66 bps     28.79%
(FOSFX)                            (FOSKX)
Fidelity Puritan                   Fidelity Puritan (K)
                         61 bps                             47 bps     29.79%
(FPURX)                            (FPUKX)
Fidelity Select Gold               Fidelity Select Gold
                         94 bps                             91 bps     3.30%
(FSAGX)                            (I) (FGDIX)
                                   Fidelity Select
Fidelity Select
                         94 bps    Materials (I)            93 bps     1.08%
Materials (FSDPX)
                                   (FMFEX)
Fidelity Short-Term                Fidelity Short-Term
Treasury Bond Index      20 bps    Treasury Bond Index      10 bps     100.00%
(Inv) (FSBIX)                      (Prem) (FSBAX)
Fidelity Stock                     Fidelity Stock
                         86 bps                             66 bps     30.30%
Selector (FDSSX)                   Selector (K) (FSSKX)

                                   Fidelity Total Market
Fidelity Total Market
                         10 bps    Index (Prem)              7 bps     42.86%
Index (Inv) (FSTMX)
                                   (FSTVX)

Fidelity Value                     Fidelity Value (K)
                         63 bps                             46 bps     36.96%
(FDVLX)                            (FVLKX)



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                                                          Identical
                                                           Lower-
                                                                      Plan's
                                    Identical Lower-        Cost
Plan Mutual Fund       Plan Fee                                       Excess
                                   Cost Mutual Fund        Mutual
                                                                       Cost
                                                            Fund
                                                             Fee
                                  Fidelity Value
Fidelity Value
                        95 bps    Discovery (K)             74 bps    28.38%
Discovery (FVDFX)
                                  (FVDKX)
                                  Fidelity Value
Fidelity Value
                        80 bps    Strategies (K)            56 bps    42.86%
Strategies (FSLSX)
                                  (FVSKX)
TIAA-CREF Equity
                                  TIAA-CREF Equity
Index (Retire)          33 bps                              9 bps     266.67%
                                  Index (Inst) (TIEIX)
(TIQRX)
TIAA-CREF Growth                  TIAA-CREF Growth
& Income (Retire)       73 bps    & Income (Inst)           52 bps    40.38%
(TRGIX)                           (TIGRX)
TIAA-CREF High-
                                  TIAA-CREF High-
Yield (Retire)          65 bps                              40 bps    62.50%
                                  Yield (Inst) (TIHYX)
(TIHRX)
TIAA-CREF                         TIAA-CREF
International Equity    78 bps    International Equity      57 bps    36.84%
(Retire) (TRERX)                  (Inst) (TIIEX)
TIAA-CREF
                                  TIAA-CREF
International Equity
                        35 bps    International Equity      10 bps    250.00%
Index (Retire)
                                  Index (Inst) (TCIEX)
(TRIEX)
TIAA-CREF Large-                  TIAA-CREF Large-
Cap Growth (Retire)     75 bps    Cap Growth (Inst)         50 bps    50.00%
(TILRX)                           (TILGX)
TIAA-CREF Large-                  TIAA-CREF Large-
Cap Growth Index        34 bps    Cap Growth Index          9 bps     277.78%
(Retire) (TRIRX)                  (Inst) (TILIX)
TIAA-CREF Large-                  TIAA-CREF Large-
Cap Value (Retire)      74 bps    Cap Value (Inst)          49 bps    51.02%
(TRLCX)                           (TRLIX)
TIAA-CREF Large-                  TIAA-CREF Large-
Cap Value Index         34 bps    Cap Value Index           9 bps     277.78%
(Retire) (TRCVX)                  (Inst) (TILVX)
TIAA-CREF Mid-Cap                 TIAA-CREF Mid-Cap
Growth (Retire)         77 bps    Growth (Inst)             52 bps    48.08%
(TRGMX)                           (TRPWX)


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                                                          Identical
                                                           Lower-
                                                                      Plan's
                                    Identical Lower-        Cost
Plan Mutual Fund       Plan Fee                                       Excess
                                   Cost Mutual Fund        Mutual
                                                                       Cost
                                                            Fund
                                                             Fee
TIAA-CREF Mid-Cap
                                  TIAA-CREF Mid-Cap
Value (Retire)          74 bps                              49 bps    51.02%
                                  Value (Inst) (TIMVX)
(TRVRX)
TIAA-CREF Real                    TIAA-CREF Real
Estate Securities       81 bps    Estate Securities         56 bps    44.64%
(Retire) (TRRSX)                  (Inst) (TIREX)
TIAA-CREF S&P 500
                                  TIAA-CREF S&P 500
Index (Retire)          33 bps                              8 bps     312.50%
                                  Index (Inst) (TISPX)
(TRSPX)
TIAA-CREF Short-                  TIAA-CREF Short-
Term Bond (Retire)      55 bps    Term Bond (Inst)          30 bps    83.33%
(TISRX)                           (TISIX)
Fidelity Emerging                 Fidelity Emerging
Europe, Middle East,              Europe, Middle East,
                        125 bps                            119 bps     5.04%
Africa (EMEA)                     Africa (EMEA) (I)
(FEMEX )                          (FIEMX)
Fidelity Japan                    Fidelity Japan (I)
                        80 bps                              75 bps     6.67%
(FJPNX)                           (FJPIX)
Fidelity Real Estate              Fidelity Real Estate
                        92 bps                              89 bps     3.37%
Income (FRIFX)                    Income (I) (FRIRX)
Vanguard Growth
                                  Vanguard Growth
Index (Signal)          10 bps                              8 bps     25.00%
                                  Index (Inst) (VIGIX)
(VIGSX)
Vanguard Mid Cap                  Vanguard Mid Cap
Index (Signal)          14 bps    Index (Inst Pl)           6 bps     133.33%
(VMISX)                           (VMCPX)
Vanguard Small Cap                Vanguard Small Cap
Index (Signal)          10 bps    Index (Inst Pl)           6 bps     66.67%
(VSISX)                           (VSCPX)
Vanguard Value
                                  Vanguard Value
Index (Signal)          12 bps                              8 bps     50.00%
                                  Index (Inst) (VIVIX)
(VVISX)
Fidelity 500 Index                Fidelity 500 Index
                         5 bps                              3 bps     66.67%
(Inst) (FXSIX)                    (Inst Prem) (FXAIX)




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                                                             Identical
                                                              Lower-
                                                                         Plan's
                                     Identical Lower-          Cost
Plan Mutual Fund         Plan Fee                                        Excess
                                    Cost Mutual Fund          Mutual
                                                                          Cost
                                                               Fund
                                                                Fee
Fidelity Conservative               Fidelity Conservative
Income Bond               40 bps    Income Bond (Inst)        30 bps     33.33%
(FCONX)                             (FCNVX)
Fidelity Emerging                   Fidelity Emerging
Markets Index (Prem)      22 bps    Markets Index (Inst       12 bps     83.33%
(FPMAX)                             Prem) (FPADX)
Fidelity Extended                   Fidelity Extended
Market Index (Prem)       7 bps     Market Index (Inst         6 bps     16.67%
(FSEVX)                             Prem) (FSMAX)
Fidelity Global ex-US               Fidelity Global ex-US
Index (Prem)              18 bps    Index (Inst Prem)         10 bps     80.00%
(FSGDX)                             (FSGGX)
                                    Fidelity International
Fidelity International
                          7 bps     Index (Inst Prem)          6 bps     16.67%
Index (Prem) (FSIVX)
                                    (FSPSX)
Fidelity Mid Cap                    Fidelity Mid Cap
Index (Prem)              12 bps    Index (Inst Prem)          6 bps     100.00%
(FSCKX)                             (FSMDX)
Fidelity Small Cap                  Fidelity Small Cap
Index (Prem)              17 bps    Index (Inst Prem)         11 bps     54.55%
(FSSVX)                             (FSSNX)
Fidelity Total Market               Fidelity Total Market
Index (Prem)              7 bps     Index (Inst Prem)          5 bps     40.00%
(FSTVX)                             (FSKAX)
                                    Fidelity U.S. Bond
Fidelity U.S. Bond
                          12 bps    Index (Inst Prem)          5 bps     140.00%
Index (Prem) (FSITX)
                                    (FXNAX)
                                    Fidelity Advisor
Fidelity China Region
                          98 bps    China Region I            93 bps     5.38%
(FHKCX)
                                    (FHKIX)
Fidelity Inflation-                 Fidelity Inflation-
Protected Index           10 bps    Protected Index (Inst      5 bps     100.00%
(Prem) (FSIYX)                      Prem) (FIPDX)
                                    Fidelity International
Fidelity International
                         114 bps    Real Estate (I)           109 bps    4.59%
Real Estate (FIREX)
                                    (FIRIX)


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                                                             Identical
                                                              Lower-
                                                                         Plan's
                                     Identical Lower-          Cost
Plan Mutual Fund         Plan Fee                                        Excess
                                    Cost Mutual Fund          Mutual
                                                                          Cost
                                                               Fund
                                                                Fee
Fidelity Latin                      Fidelity Latin
                         103 bps                              101 bps    1.98%
America (FLATX)                     America (I) (FLFIX)
Fidelity Real Estate
                                    Fidelity Real Estate
Index (Prem)              9 bps                                7 bps     28.57%
                                    Index (Inst) (FSRNX)
(FSRVX)
Strategic Advisers                  Strategic Advisers
Core Multi-Manager        96 bps    Core Multi-Manager        86 bps     11.63%
(FLAUX)                             (F) (FHJSX)
                                    Strategic Advisers
Strategic Advisers
                                    International Multi-
International Multi-     116 bps                              107 bps    8.41%
                                    Manager (F)
Manager (FMJDX)
                                    (FMBKX)
Strategic Advisers                  Strategic Advisers
Value Multi-Manager       97 bps    Value Multi-Manager       87 bps     11.49%
(FKMOX)                             (F) (FGWBX)

Fidelity International              Fidelity International
                         104 bps                              88 bps     18.18%
Growth (FIGFX)                      Growth (Z) (FZAJX)

Fidelity Mega Cap                   Fidelity Mega Cap
                          68 bps                              54 bps     25.93%
Stock (FGRTX )                      Stock (Z) (FZALX)
                                    Strategic Advisers
Strategic Advisers
                                    Small Mid Cap Multi-
Small Mid Cap Multi-     116 bps                              105 bps    10.48%
                                    Manager (F)
Manager (FNAPX)
                                    (FARMX)
Vanguard Growth                     Vanguard Growth
                          9 bps                                8 bps     12.50%
Index (Adm) (VIGAX)                 Index (Inst) (VIGIX)
                                    Vanguard Mid Cap
Vanguard Mid Cap
                          9 bps     Index (Inst Pl)            6 bps     50.00%
Index (Adm) (VIMAX)
                                    (VMCPX)
Vanguard Small Cap                  Vanguard Small Cap
Index (Adm)               9 bps     Index (Inst Pl)            6 bps     50.00%
(VSMAX)                             (VSCPX)
Vanguard Value                      Vanguard Value
                          9 bps                                8 bps     12.50%
Index (Adm) (VVIAX)                 Index (Inst) (VIVIX)




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                                                               Identical
                                                                Lower-
                                                                            Plan's
                                        Identical Lower-         Cost
 Plan Mutual Fund        Plan Fee                                           Excess
                                       Cost Mutual Fund         Mutual
                                                                             Cost
                                                                 Fund
                                                                  Fee
Fidelity Emerging                     Fidelity Emerging
Markets Discovery          144 bps    Markets Discovery (I)     143 bps     0.70%
(FEDDX)                               (FEDIX)
Fidelity Europe                       Fidelity Europe (I)
                           101 bps                              96 bps      5.21%
(FIEUX)                               (FHJMX)
Fidelity Total Bond                   Fidelity Total Bond
                           45 bps                               36 bps      25.00%
(FTBFX)                               (Z) (FBKWX)

      162.   These lower-cost share classes have been available to the Retirement

Plan and Voluntary Savings Plan for years, some dating back to the early 2000’s or

before.

      163.   Further, even after the changes made effective October 2016,

Defendants continue to provide higher-cost Vanguard mutual funds than are

available, including the Vanguard Total Bond Market Fund, the Vanguard Total

International Stock Index Fund, the Vanguard Extended Market Index, and the

Vanguard Institutional Index Fund.

      164.   Because the share classes have identical portfolio managers,

underlying investments, and asset allocations, and differ only in cost, Defendants’

failure to select the lower-cost share classes for the Plans’ mutual fund options

demonstrates that Defendants failed to prudently consider and use the size and

purchasing power of the Plans when selecting the Plans’ investment options.




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      165.   Defendants’ use of the higher-cost share classes instead of the

available lower-cost versions caused the Plans’ participants to lose millions of

dollars of their retirement savings due to wholly unnecessary fees.

V.    Defendants selected and retained a large number of duplicative
      investment options, diluting the Plans’ ability to pay lower fees and
      confusing participants.

      166.   Defendants provided a multitude of duplicative funds in the same

investment style, thereby depriving the Plans of their bargaining power associated

with offering a single option in each investment style, which significantly reduces

investment fees, and leading to what industry experts have described as “decision

paralysis” for participants. See, e.g., Michael Liersch, Choice in Retirement Plans:

How Participant Behavior Differs in Plans Offering Advice, Managed Accounts, and

Target-Date Investments, T. ROWE PRICE RETIREMENT RESEARCH, at 2 (Apr. 2009)

(“Offering too many choices to consumers can lead to decision paralysis, preventing

consumers from making decisions.”). For the Retirement and Voluntary Savings

Plans, Defendants placed over 240 and 180 investment options in the core lineup of

each Plan respectively in the following asset classes: target date and asset

allocation funds, large cap domestic equities, mid cap domestic equities, small cap

domestic equities, international equities, fixed income, money market, real estate,

and fixed guaranteed annuity.

      167.   Having such an overwhelming number of investment options also

places a monumental burden on the Plans’ participants in selecting options in

which to invest. Mutual funds are required to offer a prospectus, which is designed

to provide material information to potential investors to enable them to make an

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informed, prudent investment decision. The prospectus sets forth a fund’s objectives

or goals, investment strategies, principal risks, historical performance, fees and

expenses, and fund managers and advisers, among other information. For the

Fidelity Freedom Funds alone, the prospectus and supporting materials filed with

the SEC span almost 800 printed pages.36 If a Retirement Plan or Voluntary

Savings Plan participant were to review the prospectuses of all the more than 240

or 180 investment options that were placed in the Retirement Plan and the

Retirement Plan respectively, they would have to read many thousands of pages of

materials. This is a virtually impossible burden. Even for the Plans’ fiduciaries, it is

inconceivable that they have read the prospectuses and supporting materials of the

hundreds of funds they selected and retained for each of the Plans.

      168.   In comparison to the hundreds of investment options offered in the

Retirement Plan and Voluntary Savings Plan, according to Callan Investments

Institute’s 2015 Defined Contribution Trends survey, defined contribution plans in

2014 had on average 15 investment options, excluding target date funds. Callan

Investments Institute, 2015 Defined Contribution Trends, at 28 (2015).37 This

reasonable number of options provides choice of investment style to participants

while maintaining a larger pool of assets in each investment style and avoiding

confusion.




 36  See Fidelity Freedom Funds Prospectus, Form N-1A (May 28, 2016), available at
https://www.sec.gov/Archives/edgar/data/880195/000137949116004218/filing717.htm.
  37 Available at https://www.callan.com/research/files/990.pdf.




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      169.   A larger pool of assets in each investment style significantly reduces

fees paid by participants. By consolidating duplicative investments of the same

investment style into a single investment option, the Plans would then have the

ability to command lower-cost investments, such as a low-cost institutional share

class of the selected mutual fund option.

      170.   Fund selections must be the result of a detailed due diligence process

that considers factors such as risk, investment return, and expenses of available

investment alternatives, and the fiduciary must give “appropriate consideration” to

“the role the investment or investment course of action plays . . . in the plan’s

investment portfolio,” 29 C.F.R. §§2550.404a-1(b)(i)-(ii). Fiduciaries cannot

discharge their duties “by the simple expedient of including a very large number of

investment alternatives in its portfolio and then shifting to the participants the

responsibility for choosing among them.” Hecker, 569 F.3d at 711. Including a large

number of alternatives removes the benefit of pooling assets consistent with the size

of the Plans. Assembling a haphazard lineup of hundreds of duplicative options,

proprietary to the Plans’ recordkeepers—and shifting to participants the burden to

screen those options—does not reflect a prudent investment selection process.

      171.   Within each asset class and investment style deemed appropriate for a

participant-directed retirement plan, prudent fiduciaries must make a reasoned

determination and select a prudent investment option. In contrast to the

investment lineup assembled by Defendants, prudent fiduciaries do not select and

retain numerous duplicative investment options for a single asset class and




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investment style. When many investment options in a single investment style are

included in a plan, fiduciaries lose the bargaining power to obtain lower investment

management expenses for that style.

       172.   Moreover, if a participant puts her assets in each of the funds within a

given investment style, as commentators have said they are likely to do,38 when

many actively managed funds are included within the same investment style, this

results in those participants effectively having an index return. This is because the

investments are spread so broadly over that investment style. Yet the participants

will be paying much higher fees for active management than the fees of a passive

index fund.

       173.   In addition, providing multiple options in a single investment style

adds unnecessary complexity to the investment lineup and leads to participant

confusion. See The Standard, Fixing Your 403(b) Plan: Adopting a Best Practices

Approach, at 2 (“Numerous studies have demonstrated that when people are given

too many choices of anything, they lose confidence or make no decision.”); Michael

Liersch, Choice in Retirement Plans: How Participant Behavior Differs in Plans

Offering Advice, Managed Accounts, and Target-Date Investments, T. ROWE PRICE

RETIREMENT RESEARCH, at 2 (Apr. 2009)(“Offering too many choices to consumers

can lead to decision paralysis, preventing consumers from making decisions.”).39



 38  Ian Ayres & Quinn Curtiss, Beyond Diversification: The Pervasive Problem of Excessive
Fees and Dominated Funds in 401(k) Plans, 124 YALE L.J. 1476, 1481 (2015)(“It is well
established that some investors naively diversify by spreading their plan investments
across all fund offerings.”).
  39 Available at




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      174.   Moreover, having many actively managed funds in the Plans within

the same investment style results in the Plans effectively having an index fund

return even though the Plans are paying fees for active management that are much

higher than the fees of a passive index fund.

      175.   From 2010 to October 2016, the Retirement Plan included duplicative

investments in every major asset class and investment style, including

balanced/asset allocation (16 options), fixed income and high yield bond (32 options),

specialty/focused (41 options), international (36 options), large cap domestic equities

(48 options), mid cap domestic equities (15 options), small cap domestic equities (12

options), real estate (2 options), money market (9 options), and target date

investments (2 fund families). Over the same period, the Voluntary Savings Plan

included duplicative investments in balanced/asset allocation (16 options), fixed

income and high yield bond (32 options), specialty/focused (41 options),

international (35 options), large cap domestic equities (48 options), mid cap

domestic equities (15 options), small cap domestic equities (11 options), real estate

(6 options), and money market (9 options), and target date investments (2 fund

families). Such a dizzying array of duplicative funds in a single investment style

violates the well-recognized industry principle that too many choices harm

participants, and leads to “decision paralysis”.

      176.   For illustration purposes, Defendants included 14 large cap domestic

blend investments for both the Retirement Plan and Voluntary Savings Plan as of


http://www.behavioralresearch.com/Publications/Choice_in_Retirement_Plans_April_2009.p
df.


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December 31, 2015. These investments are summarized below and compared to a

far lower-cost alternative: the Vanguard Institutional Index Fund (Instl Plus). The

Vanguard Institutional Index Fund (Instl Plus) (VIIIX), by definition, mirrors the

market, and has an expense ratio of 2 bps.

                                                        Institutional    Plan’s
   Large Cap Blend
                            Total Assets        Fee      Index Fund      Excess
     Investments
                                                           (VIIIX)        Cost
CREF Stock Account          $527,984,153       46 bps       2 bps        2200%
CREF Equity Index
                             $52,667,490       37 bps       2 bps         1750%
Account
TIAA-CREF Equity
                             $12,606,572       5 bps        2 bps         150%
Index (INST) (TIEIX)
TIAA-CREF S&P 500
                             $25,385,799       6 bps        2 bps         200%
Index (INST) (TISPX)
Fidelity Domini Social                          116
                              $949,081                      2 bps         5700%
Equity (INV) (DSEFX)                            bps

Fidelity Disciplined
                             $2,251,402        79 bps       2 bps         3850%
Equity (K) (FDEKX)
Fidelity Dividend
                             $4,097,254        57 bps       2 bps         2750%
Growth (K) (FDGKX)
Fidelity Growth &
                             $6,419,109        52 bps       2 bps         2650%
Income (K) (FGIKX)
Fidelity Large Cap
Core Enhanced Index           $365,500         45 bps       2 bps         2150%
(FLCEX)
Fidelity Large Cap
                             $1,392,162        88 bps       2 bps         4300%
Stock (FLCSX)
Fidelity Mega Cap
                              $738,905         67 bps       2 bps         3250%
Stock (FGRTX)
Fidelity Spartan 500
                             $38,057,710       4 bps        2 bps         100%
Index (INST) (FXSIX)
Fidelity Spartan Total
Market Index (ADV)           $16,697,483       5 bps        2 bps         150%
(FSTVX)
Strategic Advisers Core
Multi-Manager                  $23,547         97 bps       2 bps         4750%
(FLAUX)


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                                                        Institutional      Plan’s
   Large Cap Blend
                             Total Assets       Fee      Index Fund        Excess
     Investments
                                                           (VIIIX)          Cost
Total of Higher-Cost
                             $689,636,167
Alternatives

      177.   With over $580 million held in the CREF Stock Account and the CREF

Equity Index Account, these large cap blend options were 23 and 18 times more

expensive than the lower-cost Vanguard option with an expense ratio of 2 bps.


             Excessive Expense Ratio of CREF Stock Account and
                        CREF Equity Index Account

                            46 bps                    CREF Expense 2200%–
                                                      1750% Higher than
                                          37 bps      Index Fund
      50

      40

      30

      20                                                2 bps

      10

       0
  Basis Points
     (bps)
    CREF Stock Account                         CREF Equity Index Account
    Vanguard Institutional Index Fund

      178.   Many other large cap index funds are also available at far lower costs

than the Plans’ large cap blend funds. Had the amounts invested in the Plans’ large

cap blend options been consolidated into a single large cap blend investment such as

the Vanguard Institutional Index Fund (Instl Plus), Plan participants would have

avoided losing well in excess of $2.6 million dollars in fees for 2015 alone, and many

more millions since 2010.



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         179.   In addition, Defendants selected and continue to retain multiple

passively managed index options in the same investment style. In contrast to an

actively-managed fund, in which the investment manager selects stocks or bonds in

an attempt to generate investment returns in excess of the fund’s benchmark,

passively managed index funds simply attempt to replicate a market index, such as

the S&P 500, by holding a representative sample of securities in the index. Because

no stock selection or research is needed, index fund fees are much lower than the

fees of actively-managed funds in the same investment style, as set forth in ¶¶57–

59, 188–192.

         180.   For example, in the large cap blend investment style, Defendants

provided four separate index funds in each Plan that have similar investment

strategies designed to generate investment results that correspond to the return of

the U.S. equity market and do not involve stock selection. As another example,

Defendants retained five separate index funds for the fixed income and

intermediate-term bond investment style.

         181.   Since index funds merely hold the same securities in the same

proportions as the index,40 having multiple index funds of the same category or

investment style in the Plans provides no benefit to participants. As Morningstar

CEO Joe Mansueto recently observed, “[b]asic market indexes are virtually

interchangeable.” Lewis Braham, Morningstar Announces Free Use of Its Indexes,




 40   Another example of an index is the Dow Jones Industrial Average.


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Barron’s (Nov. 5, 2016).41 Including multiple similar index funds in the same

investment style hurts participants by diluting the Plans’ ability to obtain lower

rates for a single index fund of that style because the amount of assets in any one

such fund is smaller than the aggregate would be. Moreover, multiple managers

holding stocks which mimic the S&P 500 or a similar index would pick the same

stocks in the same proportions as the index. Thus, there is no value in offering

separate index funds in the same investment style.

            182.   A Had Defendants combined hundreds of millions of dollars in the

Plans’ assets from duplicative index funds into a single index fund, as set forth in

¶176, the Plans would have generated higher investment returns, net of fees, and

participants would not have lost millions of dollars of retirement assets.

      VI.      Defendants imprudently and disloyally retained historically
               underperforming Plan investments.

            183.   The excessive fees in the Plans’ investments were not justified by

superior investment returns. Defendants’ failure to conduct appropriate due

diligence in selecting and monitoring the Plans’ investments resulted in options

being retained in the Plans despite years of historical underperformance compared

to superior lower-cost alternatives, which caused massive losses to the Plans

compared to what those assets would have earned if invested in prudent

alternatives.

            184.   As of December 31, 2014, of the Plans’ investment options which had

at least a five-year performance history, 57% of those funds—119 out of 208—

 41 Available at http://www.barrons.com/articles/morningstar-announces-free-use-of-its-
indexes-1478322642.


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underperformed their respective benchmarks over the previous five-year period.42

The same performance chart shows that over 78% of those underperforming funds—

93 out of 119—also underperformed their benchmark over the preceding ten-year

period. The 119 funds that underperformed over the five-year period include the

following:

                               Fund Name                                      Ticker
   Calvert Balanced Portfolio (A)                                             CSIFX
   Calvert Capital Accumulation (A)                                           CCAFX
   Calvert International Equity (A)                                          CWVGX
   Calvert Small Cap (A)                                                     CCVAX
   CREF Bond Market                                                             N/A
   CREF Equity Index                                                            N/A
   CREF Growth                                                                  N/A
   CREF Inflation-Linked Bond                                                   N/A
   CREF Money Market                                                            N/A
   CREF Social Choice                                                           N/A
   CREF Stock                                                                   N/A
   Domini Social Equity (INV)                                                 DSEFX
   Fidelity Asset Manager 50%                                                FASMX
   Fidelity Asset Manager 60%                                                 FSANX
   Fidelity Asset Manager 70%                                                 FASGX
   Fidelity Asset Manager 85%                                                FAMRX
   Fidelity Balanced (K)                                                     FBAKX
   Fidelity Blue Chip Value                                                   FBCVX


 42 These results are based on the performance and benchmark for each fund as shown on
the Northwestern University 403(b) Retirement Plan and Voluntary Savings Plan
Quarterly Investment Notice, Section 3. This figure excludes 25 funds in the Plans (out of
the 233) which did not have 5-year performance histories as December 30, 2014. Over half
of these funds—13 out of 25—underperformed their benchmarks on a one-year basis and
since inception.


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                             Fund Name                             Ticker
Fidelity Cash Reserves Management                                  FDRXX
Fidelity Contrafund (K)                                            FCNKX
Fidelity Disciplined Equity (K)                                    FDEKX
Fidelity Dividend Growth (K)                                       FDGKX
Fidelity Equity Dividend Income (K)                                FETKX
Fidelity Equity-Income (K)                                          FEIKX
Fidelity Export & Multinational (K)                                FEXKX
Fidelity Floating Rate High Income                                 FFRHX
Fidelity Focused High Income                                        FHIFX
Fidelity Four in One Index                                         FFNOX
Fidelity Freedom (K) 2015                                          FKVFX
Fidelity Freedom (K) 2020                                          FFKDX
Fidelity Freedom (K) 2025                                          FKTWX
Fidelity Freedom (K) 2030                                          FFKEX
Fidelity Freedom (K) 2035                                          FKTHX
Fidelity Freedom (K) 2040                                          FFKFX
Fidelity Freedom (K) 2045                                          FFKGX
Fidelity Freedom (K) 2050                                          FFKHX
Fidelity Fund (K)                                                  FFDKX
Fidelity Global Balanced                                           FGBLX
Fidelity Global Commodity Stock                                    FFGCX
Fidelity Global Strategies                                         FDYSX
Fidelity Government Income                                         FGOVX
Fidelity Government Money Market                                   SPAXX
Fidelity Growth Strategies (K)                                     FAGKX
Fidelity High Income                                                SPHIX
Fidelity Inflation Protected Bond                                   FINPX
Fidelity Limited Term Government Fund                              FFXSX
Fidelity Intermediate Government Income                            FSTGX



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                            Fund Name                              Ticker
Fidelity International Value                                        FIVLX
Fidelity Japan                                                     FJPNX
Fidelity Large Cap Growth Enhanced Index                           FLGEX
Fidelity Latin America                                             FLATX
Fidelity Magellan (K)                                             FMGKX
Fidelity Mid-Cap Stock (K)                                        FKMCX
Fidelity Money Market                                              SPRXX
Fidelity Money Market Trust Retirement Government Money
Market Portfolio                                                   FGMXX
Fidelity NASDAQ Composite Index                                    FNCMX
Fidelity New Markets Income                                        FNMIX
Fidelity Puritan (K)                                               FPUKX
Fidelity Real Estate Income                                         FRIFX
Fidelity Retirement Money Market                                   FRTXX
Fidelity Select Banking                                            FSRBX
Fidelity Select Brokerage & Investment Management                  FSLBX
Fidelity Select Communications Equipment                           FSDCX
Fidelity Select Computers                                          FDCPX
Fidelity Select Consumer Finance                                   FSVLX
Fidelity Select Consumer Staples                                   FDFAX
Fidelity Select Energy                                             FSENX
Fidelity Select Energy Services                                     FSESX
Fidelity Select Environment and Alternative Energy                 FSLEX
Fidelity Select Financial Services                                  FIDSX
Fidelity Select Gold                                               FSAGX
Fidelity Select Industrial Equipment                               FSCGX
Fidelity Select Materials                                          FSDPX
Fidelity Select Money Market                                       FSLXX
Fidelity Select Natural Gas                                        FSNGX
Fidelity Select Natural Resources                                  FNARX


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                            Fund Name                              Ticker
Fidelity Select Technology                                          FSPTX
Fidelity Select Telecommunications                                 FSTCX
Fidelity Select Utilities                                          FSUTX
Fidelity Select Wireless                                           FWRLX
Fidelity Small Cap Growth                                          FCPGX
Fidelity Small Cap Stock                                           FSLCX
Fidelity Spartan 500 Index (INST)                                   FXSIX
Fidelity Spartan Intermediate Treasury Index (ADV)                  FIBAX
Fidelity Spartan International Index (ADV)                          FSIVX
Fidelity Spartan Long Term Treasury Bond Index (ADV)               FLBAX
Fidelity Spartan Short Term Treasury Index (ADV)                   FSBAX
Fidelity Spartan Total Market Index (ADV)                          FSTVX
Fidelity Spartan U.S. Bond Index (ADV)                              FSITX
Fidelity Stock Selector All Cap (K)                                FSSKX
Fidelity Stock Selector Large Cap Value                            FSLVX
Fidelity Stock Selector Mid Cap                                    FSSMX
Fidelity Strategic Dividend & Income                                FSDIX
Fidelity Telecom & Utilities                                        FIUIX
Fidelity Treasury Only Money Mar (K)et                             FDLXX
Fidelity US Government Reserves                                    FGRXX
Fidelity Value (K)                                                 FVLKX
Fidelity Value Strategies (K)                                      FVSKX
TIAA Real Estate                                                  QREARX
TIAA-CREF Equity Index (INST)                                       TIEIX
TIAA-CREF Growth & Income (INST)                                    TIGRX
TIAA-CREF High-Yield (INST)                                         TIHYX
TIAA-CREF Large-Cap Growth Index (INST)                             TILIX
TIAA-CREF Large-Cap Value Index (INST)                              TILVX
TIAA-CREF Large-Cap Value (INST)                                    TRLIX



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                             Fund Name                                   Ticker
  TIAA-CREF Lifecycle 2015 (INST)                                        TCNIX
  TIAA-CREF Lifecycle 2020 (INST)                                        TCWIX
  TIAA-CREF Lifecycle 2025 (INST)                                        TCYIX
  TIAA-CREF Lifecycle 2030 (INST)                                        TCRIX
  TIAA-CREF Lifecycle 2035 (INST)                                         TCIIX
  TIAA-CREF Lifecycle 2040 (INST)                                        TCOIX
  TIAA-CREF Lifecycle 2045 (INST)                                         TTFIX
  TIAA-CREF Lifecycle 2050 (INST)                                         TFTIX
  TIAA-CREF Managed Allocation (INST)                                    TIMIX
  TIAA-CREF Mid-Cap Growth (INST)                                        TRPWX
  TIAA-CREF Mid-Cap Value (INST)                                         TIMVX
  TIAA-CREF S&P 500 Index (INST)                                          TISPX
  TIAA-CREF Social Choice Equity (INST)                                  TISCX
  Vanguard Windsor (ADM)                                                 VWNEX

      185.   Had Defendants conducted a prudent investment review process, many

of these options that consistently failed to meet performance objectives would have

been eliminated from the Plans or replaced. Defendants’ failure to do so caused the

Plans substantial losses compared to prudent alternative investments that were

available to the Plans. Two funds in particular demonstrate the severe harm to the

Plans resulting from Defendants’ breaches of fiduciary duties: the CREF Stock

Account and TIAA Real Estate Account.

      A.     CREF Stock Account.

      186.   The CREF Stock Account is one of the largest investment options, by

asset size, in the Plans with nearly $528 million in total assets, and has been

offered to participants throughout the period from 2010 to date and many years



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prior. In its fund fact sheets and participant disclosures, TIAA-CREF classifies the

CREF Stock Account as a domestic equity investment in the large cap blend

Morningstar category. This option has consistently underperformed over years, and

continues to underperform its benchmark and lower-cost actively and passively

managed investments that were available to the Plans.

      187.   TIAA-CREF imposed restrictive provisions on the specific annuities

that must be provided in the Plans. Under these terms, TIAA-CREF required that

the CREF Stock Account be offered to Plan participants, in addition to the TIAA

Traditional and the CREF Money Market Account. Plan fiduciaries provided these

mandatory offerings in the Plans without a prudent process to determine whether

they were prudent alternatives and in the exclusive best interest of Plan

participants and beneficiaries. TIAA-CREF required the CREF Stock Account to be

included in the Plans to drive very substantial amounts of revenue sharing

payments to TIAA-CREF for recordkeeping services. The CREF Stock Account paid

24 bps for revenue sharing, which exceeded other TIAA-CREF investments by over

50% (15 bps).

      188.   As understood in the investment community, passively managed

investment options should either be used or, at a minimum, thoroughly analyzed

and considered in efficient markets such as large capitalization U.S. stocks. This is

because it is difficult and either unheard of, or extremely unlikely, to find actively

managed mutual funds that outperform a passive index, net of fees, particularly on

a persistent basis. This extreme unlikelihood is even greater in the large cap




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market because such companies are the subject of many analysts’ coverage, while

smaller stocks are not as widely covered by analysts and thus are subject to

potential inefficiencies in pricing.

         189.   Nobel Prize winners in economics have concluded that virtually no

investment manager consistently beats the market over time after fees are taken

into account. “Properly measured, the average actively managed dollar must

underperform the average passively managed dollar, net of costs.” William F.

Sharpe, The Arithmetic of Active Management, 47 FIN. ANALYSTS J. 7, 8 (Jan./Feb.

1991);43 Eugene F. Fama & Kenneth R. French, Luck Versus Skill in the Cross-

Section of Mutual Fund Returns, 65 J. FIN. 1915, 1915 (2010)(“After costs . . . in

terms of net returns to investors, active investment must be a negative sum

game.”).

         190.   To the extent fund managers show any sustainable ability to beat the

market, the outperformance is nearly always dwarfed by mutual fund expenses.

Fama & French, Luck Versus Skill in the Cross-Section of Mutual Fund Returns, at

1931–34; see also Russ Wermers, Mutual Fund Performance: An Empirical

Decomposition into Stock-Picking Talent, Style, Transaction Costs, and Expenses, 55

J. FIN. 1655, 1690 (2000) (“on a net-return level, the funds underperform broad

market indexes by one percent per year”).

         191.   If an individual high-cost mutual fund exhibits market-beating

performance over a short period of time, studies demonstrate that outperformance



  43   Available at http://www.cfapubs.org/doi/pdf/10.2469/faj.v47.n1.7.


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during a particular period is not predictive of whether a mutual fund will perform

well in the future. Laurent Barras et al., False Discoveries in Mutual Fund

Performance: Measuring Luck in Estimated Alphas, 65 J. FIN. 179, 181 (2010); Mark

M. Carhart, On Persistence in Mutual Fund Performance, J. FIN. 57, 59

(1997)(measuring thirty-one years of mutual fund returns and concluding that

“persistent differences in mutual fund expenses and transaction costs explain

almost all of the predictability in mutual fund returns”). However, the worst-

performing mutual funds show a strong, persistent tendency to continue their poor

performance. Carhart, On Persistence in Mutual Fund Performance, at 57.

      192.   Accordingly, investment costs are of paramount importance to prudent

investment selection, and a prudent investor will not select higher-cost actively

managed funds unless there has been a documented process leading to the realistic

conclusion that the fund is likely to be that extremely rare exception, if one even

exists, that will outperform its benchmark over time, net of investment expenses.

      193.   Moreover, the efficiencies of the large cap market hinder an active

manager’s ability to achieve excess returns for investors.

       [T]his study of mutual funds does not provide any reason to abandon a belief
       that securities markets are remarkably efficient. Most investors would be
       considerably better off by purchasing a low expense index fund, than by
       trying to select an active fund manager who appears to possess a “hot hand.”
       Since active management generally fails to provide excess returns and tends
       to generate greater tax burdens for investors, the advantage of passive
       management holds, a fortiori.




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Burton G. Malkiel, Returns from Investing in Equity Mutual Funds 1971 to

1991, 50 J. FIN. 549, 571 (1995).44

         194.   Academic literature overwhelmingly concludes that active managers

consistently underperform the S&P 500 index.

          Active managers themselves provide perhaps the most persuasive case for
          passive investing. Dozens of studies have examined the performance of
          mutual funds and other professional-managed assets, and virtually all of
          them have concluded that, on average, active managers underperform
          passive benchmarks ... The median active fund underperformed the passive
          index in 12 out of 18 years [for the large- cap fund universe] ... The bottom
          line is that, over most periods, the majority of mutual fund investors would
          have been better off investing in an S&P 500 Index fund.
          ****
          Most of the dismal comparisons for active managers are for large-cap
          domestic managers versus the S&P 500 Index.

Robert C. Jones, The Active Versus Passive Debate: Perspectives of an Active Quant,

ACTIVE EQUITY PORTFOLIO MANAGEMENT, at 37, 40, 53 (Frank J. Fabozzi ed., 1998).

         195.   Prudent fiduciaries of large defined contribution plans must conduct

an analysis to determine whether actively managed funds, particularly large cap,

will outperform their benchmark net of fees. Prudent fiduciaries then make a

reasoned decision as to whether it is in participants’ best interest to offer an

actively managed large cap option for the particular investment style and asset

class, in light of the higher costs of active management.

         196.   Defendants failed to undertake such an analysis, or any analysis, when

it allowed the actively managed CREF Stock Account to be included and retained in


 44   Available at http://indeksirahastot.fi/resource/malkiel.pdf.


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the Plans. This is particularly true given TIAA-CREF’s requirement that the CREF

Stock Account be provided in the Plans in order to drive revenue to TIAA-CREF. By

allowing the Plans to be bound by this requirement, Defendants failed to conduct an

independent evaluation of the prudence of this option, which contradicts every

principle of prudent investing because an investment that was no longer prudent

could not be removed from the Plans.

      197.     Additionally, as detailed above in ¶¶134–136, the 46 bps that the

CREF Stock Account charged was comprised of four layers of fees that were each

unreasonable compared to the actual services provided by TIAA-CREF to the Plans’

participants. Defendants failed to analyze whether these fees were appropriate and

reasonable in light of the services provided and given that the Plans invested over

$528 million in total assets in the CREF Stock Account.

      198.     Had such an analysis been conducted by Defendants, they would have

determined that the CREF Stock Account would not be expected to outperform the

large cap index after fees. That is in fact what occurred.

      199.     Defendants and TIAA-CREF identified the Russell 3000 Index as the

appropriate benchmark to evaluate investment results of the CREF Stock Account,

as shown in the excerpts below that were provided to the Plans’ participants.45




 45Availableat
https://www.tiaa.org/public/pdf/obiee/101332_Investment_Comparative_Chart.pdf and
http://www.northwestern.edu/hr/benefits/retirement-plans/feedisclosure.pdf.


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      200.   The CREF Stock Account did not merely underperform in a single year

or two. Historical performance of the CREF Stock Account has been persistently

poor for many years compared to this identified benchmark index (Russell 3000

Index), and also as compared to available low-cost index funds. The following two

charts compare the investment returns of the CREF Stock Account to its

benchmark (the Russell 3000) and two other passively managed index funds in the

same investment style for the one-, three-, five-, and ten-year periods ending

September 30, 2016. For each comparison, the CREF Stock Account dramatically


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underperformed the benchmarks and index alternatives. The passively managed

index funds used for comparison purposes are the Vanguard Total Stock Market

Index Fund (Instl Plus) (VITPX) and the Vanguard Institutional Index (Instl Plus)

(VIIIX). Like the CREF Stock Account, these options are large cap blend

investments.


                              CREF Stock Account
                One-, Three-, and Five-Year Investment Returns
                          Compared to Benchmarks
                                  (as of Sept. 30, 2016)
                                                                        25%
                                                                    greater than
                                                                    CREF return
                   22%–26%
                 greater than
                 CREF return
 17%




 15%
                                           48%–58%
                                         greater than
                                         CREF return
 13%




 11%




  9%




  7%
               1 year                     3 Year                    5 year
                    CREF Stock Account     VITPX      VIIIX   Russell 3000




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                             CREF Stock Account
                         Ten-Year Investment Returns
                          Compared to Benchmarks
                                 (as of Sept. 30, 2016)

                                                       30%–36%
                                                     greater than
                                                     CREF return
    8.00%

    7.50%

    7.00%

    6.50%

    6.00%

    5.50%

    5.00%
                                         10 year
                    CREF Stock Account       VITPX      VIIIX   Russell 3000


      201.   The CREF Stock Account, with an expense ratio of 46 bps as of

December 31, 2014, was and is dramatically more expensive than far better

performing index alternatives: the Vanguard Total Stock Market Index Fund-Instl

Plus (2 bps) and the Vanguard Institutional Index-Instl Plus (2 bps).

      202.   Apart from underperforming passively managed index funds, the fund

also significantly underperformed comparable actively managed funds over the

one-, three-, five-, and ten-year periods ending September 30, 2016. These large cap

alternatives with similar underlying asset allocations to the CREF Stock Account

include the Vanguard PRIMECAP-Adm (VPMAX) and the Vanguard Capital Opp.-

Adm (VHCAX).




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                          CREF Stock Account
            One-, Three-, and Five-Year Investment Returns
             Compared to Actively Managed Benchmarks
                               (as of Sept. 30, 2016)
                                                                42%–50%
               24%–42%                                        greater than
             greater than                                     CREF return
             CREF return
 19%
                                         70%–89%
 17%                                   greater than
                                       CREF return
 15%

 13%

 11%

  9%

  7%
              1 year                   3 Year                 5 year
                       CREF Stock Account    VPMAX       VHCAX



                         CREF Stock Account
                    Ten-Year Investment Returns
               Compared to Actively Managed Benchmarks
                                (as of Sept. 30, 2016)

                                                 70%–72%
                                               greater than
                                               CREF return
   11%

   10%

       9%

       8%

       7%

       6%

       5%
                                    10 year
                        CREF Stock Account     VPMAX     VHCAX




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      203.   This sustained underperformance went back even further. The CREF

Stock Account also had a long history of substantial underperformance compared to

these actively managed alternatives over the one-, five-, and ten-year periods

ending December 31, 2009.46


                       CREF Stock Account
             One-Year Investment Returns Compared to
                  Actively Managed Benchmarks
                             (as of Dec. 31, 2009)




      50%                        8%–53%
                              greater than
      45%                     CREF return

      40%

      35%

      30%
                                  1 Year
                     CREF Stock Account          VPMAX       VHCAX




 46For the Vanguard PRIMECAP-Adm and Vanguard Capital Opportunity Fund-Adm, the
investment returns of the investor share class for ten-year performance were used because
the admiral share class for each of these funds was not offered until November 12, 2001.
The return since inception for the Vanguard PRIMECAP-Adm was 3.23%, and for the
Vanguard Capital Opportunity Fund-Adm, 5.89%.


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                              CREF Stock Account
                   Five-Year Investment Returns Compared to
                         Actively Managed Benchmarks
                                 (as of Dec. 31, 2009)
                                                 174%–206%
                                                greater than
                                                CREF return
    6.00%
    5.00%
    4.00%
    3.00%
    2.00%
    1.00%
    0.00%
                                  5 Year
                    CREF Stock Account   VPMAX            VHCAX



                              CREF Stock Account
                    Ten-Year Investment Returns Compared to
                         Actively Managed Benchmarks
                                  (as of Dec. 31, 2009)
                                              3130%–5790%
                                              greater than
                                              CREF return


      6.00%

      4.00%

      2.00%

      0.00%
                                 10 Year
                    CREF Stock Account   VPMAX            VHCAX


      204.    Despite the consistent underperformance, the CREF Stock Account,

with an expense ratio of 46 bps as of December 31, 2014, was more expensive than


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better-performing actively managed alternatives: the Vanguard PRIMECAP-Adm

(35 bps) and the Vanguard Capital Opp.-Adm (40 bps).

      205.   Besides this abysmal long-term underperformance of the CREF Stock

Account compared to both index funds and actively managed funds, the fund was

recognized as imprudent in the industry. In March 2012, an independent

investment consultant, AonHewitt, recognized the imprudence of the CREF Stock

Account and recommended to its clients they remove this fund from their

retirement plan. AonHewitt, TIAA-CREF Asset Management, INBRIEF, at 3 (July

2012).47 This recommendation was made due to numerous factors, including the

historical underperformance, high turnover of asset management executives and

portfolio managers, and the fund’s over 60 separate underlying investment

strategies, greatly reducing the fund’s ability to generate excess returns over any

substantial length of time. Id. at 4–5.

      206.   The Supreme Court has recently and unanimously ruled that ERISA

fiduciaries have “a continuing duty to monitor investments and remove imprudent

ones[.]” Tibble v. Edison Int’l, 135 S. Ct. 1823, 1829 (2015). In contrast to the

conduct of prudent fiduciaries, Defendants failed to conduct a prudent process to

monitor the CREF Stock Account and continue to retain the fund despite its

continuing to underperform lower-cost investment alternatives that were readily

available to the Plans.




 47Available at http://system.nevada.edu/Nshe/?LinkServID=82B25D1E-9128-6E45-
1094320FC2037740.


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      207.   Prudent fiduciaries of defined contribution plans continuously monitor

the investment performance of plan options against applicable benchmarks and

peer groups to identify underperforming investments. Based on this process,

prudent fiduciaries replace those imprudent investments with better performing

and reasonably priced options. Under the standards used by prudent independent

fiduciaries, the CREF Stock Account would have been removed from the Plans.

      208.   Had Defendants removed the CREF Stock Account and the amounts

been invested in any of the passively or actively managed lower-cost alternatives

identified in ¶¶200 and 202, participants in the Plans would not have lost millions

of dollars in retirement savings. Compared to the returns of the Vanguard

PRIMECAP Fund Admiral—one of the Plans’ core options after the October 2016

restructuring—the Plans lost in excess of $202 million at the plan level as a result

of Defendants retaining the CREF Stock Account in the Plans.48 The aggregate

losses of all putative subclass members may be greater than that figure because the

proposed subclass excludes participants (if any) whose CREF Stock Account

investment outperformed the prudent alternative identified in the subclass

definition, see infra ¶228.

      B.     TIAA Real Estate Account.

      209.   Defendants selected and retained the TIAA Real Estate Account as one

of the real estate investment options in the Plan. The fund has far greater fees than

are reasonable, has historically underperformed, and continues to consistently

 48Plan losses have been brought forward to the present value using the investment
returns of the lower-cost alternatives to compensate participants who have not been
reimbursed for their losses.


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underperform comparable real estate investment alternatives, including the

Vanguard REIT Index I (VGSNX).

      210.   Additionally, as detailed in ¶¶137–138, the 87 bps that the TIAA Real

Estate Account charged was comprised of five layers of fees that were each

unreasonable compared to the actual services provided by TIAA-CREF to the Plans’

participants. Defendants failed to analyze whether these fees were appropriate and

reasonable in light of the services provided.

      211.   With an expense ratio of 87 bps as of December 31, 2014, the TIAA

Real Estate Account is also over 10 times more expensive than the Vanguard REIT

Index (Instl) with an expense ratio of 8 bps.


                        TIAA Real Estate Account
           Expense Ratio Compared to REIT Index Fund (VGSNX)

                            87 bps
                                          TIAA Expense 988% Higher than
      90
                                          REIT Index Fund
      80
      70
      60
      50
      40
      30                                               8 bps
      20
      10
       0
                TIAA Real Estate                 VGSNX
 Basis Points
                    Account
    (bps)




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       212.   The TIAA Real Estate Account had a long history of substantial

underperformance relative to the Vanguard REIT Index over the one-, five-, and

ten-year periods ending December 31, 2009.49 Despite this, Defendants selected and

to this date retained it in the Plans.


                            TIAA Real Estate Account
                     One-Year Investment Returns Compared to
                            REIT Index Fund (VGSNX)
                                      (as of Dec. 31, 2009)
                                                      208%
                                                     greater
          40%                                       than TIAA
                                                     returns
          30%
          20%
          10%
           0%
         -10%
         -20%
         -30%
         -40%
                                         1 Year
                          TIAA Real Estate Account            VGSNX




 49 The return of the investor share class was used for ten-year performance because the
institutional share class was not offered until December 2, 2003. The return since inception
for the Vanguard REIT Index (Instl) was 5.49%.


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                      TIAA Real Estate Account
              Five-Year Investment Returns Compared to
                      REIT Index Fund (VGSNX)
                             (as of Dec. 31, 2009)
                                                       143%
                                                      greater
      1.00%                                          than TIAA
                                                      returns
      0.50%

      0.00%

     -0.50%

     -1.00%

     -1.50%

     -2.00%
                                        5 Year
                      TIAA Real Estate Account          VGSNX


                            TIAA Real Estate Fund
                   Ten-Year Investment Returns Compared to
                          REIT Index Fund (VGSNX)
                               (as of Dec. 31, 2009)
                                               239%
                                              greater
                                             than TIAA
                                              returns
           12%


              7%


              2%
                                 10 Year
                      TIAA Real Estate Account          VGSNX




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      213.   This underperformance occurred for years before 2009 and has

continued after 2009 to date. The TIAA Real Estate Account significantly

underperformed the Vanguard REIT Index I over the one-, three-, five-, and ten-

year periods ending September 30, 2016.


                            TIAA Real Estate Account
              One-, Three-, Five-, and Ten-Year Investment Returns
                     Compared to REIT Index Fund (VGSNX)
                                   (as of Sept. 30, 2016)
                  253%
               greater than
               TIAA return
                                                     69%
   20%                                           greater than
                                    63%
                                                 TIAA return
                                greater than
   18%
                                TIAA return
   16%

   14%

   12%                                                              88%
                                                                greater than
   10%                                                          TIAA return
    8%

    6%

    4%

    2%
             1 year           3 Year             5 year         10 year
                          TIAA Real Estate Account    VGSNX


      214.   As the Supreme Court unanimously ruled in Tibble, prudent

fiduciaries of defined contribution plans continuously monitor plan investment

options and replace imprudent investments. Tibble, 135 S. Ct. at 1829. In contrast,

Defendants failed to conduct such a process and continue to retain the TIAA Real

Estate Account as an investment option in the Plans, despite its continued dramatic




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underperformance and far higher cost compared to available investment

alternatives.

         215.   Had the amounts invested in the TIAA Real Estate Account instead

been invested in the lower-cost and better-performing Vanguard REIT Index (Instl),

the Plans would not have lost at least $13.6 million in retirement savings at the

plan level.50 The aggregate losses of all putative subclass members may be greater

than that figure because the proposed subclass excludes participants (if any) whose

TIAA Real Estate Account investment outperformed the prudent alternative

identified in the subclass definition, see infra ¶228.

      VII.   Defendants have admitted that the prior structure of the Plans
             was imprudent and that they allowed excessive fees to be charged
             to the Plans.

         216.   Defendants expressly recognized that the Plans paid excessive

administrative fees to TIAA-CREF and Fidelity. In an April 4, 2016 letter to the

Plans’ participants, Defendants explained that Northwestern had “negotiated a

credit of fees, called a ‘revenue credit,’ from both Fidelity and TIAA.”51

         217.   A “revenue credit” is a rebate to retirement plan participants to

compensate them for overpayments made to plan service providers—in this case,

the recordkeepers.

         218.   Northwestern informed Plan participants that the “modest” credits

that each participant would receive would be “based on the proportion of [the

 50  Losses in the Plans have been brought forward to the present value using the
investment returns of the Vanguard REIT Index (Instl) to compensate participants who
have not been reimbursed for their losses.
  51 April 4, 2016 letter from Pamela S. Beemer, available at

http://www.northwestern.edu/hr/benefits/retirement-plans/2016-Revenue-Credit-Letter.pdf.


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participant’s] aggregate Northwestern University retirement account balance … as

of March 31, 2016.”52 The credits, if any, appeared on participants’ account

statements for the second quarter of 2016. Thus, the effect of the credit was to offset

overcharges after March 31, 2016.

      219.   As Northwestern admitted, the revenue credits were “modest.”53 The

amount of the credits did not begin to approach the roughly $30 million that the

Plans’ participants lost due to being overcharged by TIAA-CREF and Fidelity for

recordkeeping services from 2010 through 2015, as described supra ¶¶148–150, 154.

      220.   Defendants similarly acknowledged that the structure of the Plans

prior to 2016—with hundreds of overlapping, duplicative, and costly investment

options—caused participants to pay unreasonable investment fees.

      221.   In a June 2016 letter to the Plans’ participants, Defendants

acknowledged that the new tiered structure was “designed to be simpler and allow

for informed decisions to be made based upon an individual’s personal

investment comfort level and expertise,” that would “enable simpler decision-

making.”54

      222.   In an August 2016 “town hall” meeting presentation, Defendants

explained that the new tiered structure would: “[r]educe[] administration fees,”

which would in turn “increase[] participant returns;” offer a “[s]treamlined



 52 Id.
 53 Id.
 54 June 2016 letter from Pamela S. Beemer, available at

http://www.northwestern.edu/hr/benefits/retirement-
plans/2016%20Investment%20Change.pdf.


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menu for all investor types;” and provide “[a]ccess to lower cost share classes

when available.”55

      223.   Defendants acknowledged that restructuring the Plans’ investment

options “[b]etter aligns us with peers as many have reduced their line-ups,

or are in [the] process of doing so.”56

      224.   Defendants also admitted that the recent shift in the Plans’ structures

“[p]ositions NURIC to meet expanded fiduciary responsibilities based on IRS

regulations which now mandate greater oversight by employers.”57

      225.   Had Defendants used the massive bargaining power afforded them by

the Plans’ vast assets to obtain revenue credits, reduce administration fees, and

obtain lower cost share classes by 2009 (if not years earlier), the Plans’ participants

would have avoided paying millions of dollars in unreasonable investment and

administrative fees, and millions of dollars in performance losses.

      226.   In restructuring the Plans’ investment options, Defendants removed

hundreds of unnecessary mutual funds from the Plans. However, they left both the

CREF Stock Fund and the TIAA Real Estate Fund as investment options, despite

their poor performance history as detailed in ¶¶186–215.




 55 “What You Need to Know: Changes to the Northwestern University Retirement Plans,”
available at http://www.northwestern.edu/hr/benefits/retirement-
plans/Town%20Hall%20Meetings%20Presentation_Aug2016.pdf.
 56 Id.
 57 Id.




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                          CLASS ACTION ALLEGATIONS

       227.   29 U.S.C. §1132(a)(2) authorizes any participant or beneficiary of the

Plans to bring an action individually on behalf of the Plans to enforce a breaching

fiduciary’s liability to the Plans under 29 U.S.C. §1109(a).

       228.   In acting in this representative capacity and to enhance the due

process protections of unnamed participants and beneficiaries of the Plans, as an

alternative to direct individual actions on behalf of the Plans under 29 U.S.C.

§1132(a)(2), Plaintiffs seek to certify this action as a class action on behalf of all

participants and beneficiaries of the Plans, with two subclasses. Plaintiffs seek to

certify, and to be appointed as representatives of, the following class and subclasses:

       Excessive Fee claims and class:
       All participants and beneficiaries of the Northwestern University
       Retirement Plan and the Northwestern University Voluntary Savings
       Plan, excluding the Defendants and any participant who is a fiduciary
       to the Plans, who had an account balance at any time between August
       17, 2010 through the date of judgment.

       CREF Stock Account subclass:
       All participants and beneficiaries of the Northwestern University
       Retirement Plan and the Northwestern University Voluntary Savings
       Plan, excluding the Defendants and any participant who is a fiduciary
       to the Plans, who invested in the CREF Stock Account in either of the
       Plans at any time between August 17, 2010 through the date of
       judgment and whose investment in the CREF Stock Account
       underperformed the Russell 3000 Index minus 2 basis points for
       investment management.

       TIAA Real Estate Account subclass:
       All participants and beneficiaries of the Northwestern University
       Retirement Plan and the Northwestern University Voluntary Savings
       Plan, excluding the Defendants and any participant who is a fiduciary
       to the Plans, who invested in the TIAA Real Estate Account in either of
       the Plans at any time between August 17, 2010 date through the date



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      of judgment and whose investment in the TIAA Real Estate Account
      underperformed the Vanguard REIT Index (Instl).

      229.   This action meets the requirements of Rule 23 and is certifiable as a

class action for the following reasons:

             a.     The Class includes over 20,000 members and the subclasses

      include thousands of members, and are thus so large that joinder of all

      members is impracticable,

             b.     There are questions of law and fact common to this Class and

      subclasses because Defendants owed fiduciary duties to the Plans and to all

      participants and beneficiaries and took the actions and omissions alleged

      herein as to the Plans and not as to any individual participant. Thus,

      common questions of law and fact include the following, without limitation:

      who are the fiduciaries liable for the remedies provided by 29 U.S.C.

      §1109(a); whether the fiduciaries of the Plans breached their fiduciary duties

      to the Plans; what are the losses to the Plans resulting from each breach of

      fiduciary duty; and what Plan-wide equitable and other relief the court

      should impose in light of Defendants’ breach of duty.

             c.     Plaintiffs’ claims are typical of the claims of the Class and

      subclasses because the Plaintiffs were participants during the time period at

      issue in this action and all participants in the Plans were harmed by the

      Plans’ excessive fees and other misconduct, as described above; Plaintiffs

      Lancaster and Walker each invested in the CREF Stock Account during the

      proposed subclass period and suffered losses, and Plaintiffs Bona, Lancaster,


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      and Walker each invested in the TIAA Real Estate Account during the

      proposed subclass period and suffered losses.

             d.     Plaintiffs are adequate representatives of the Class and

      subclasses because they were participants in the Plans during the Class

      period, have no interest that is in conflict with the Class or subclasses, are

      committed to the vigorous representation of the Class and subclasses, and

      have engaged experienced and competent attorneys to represent the Class

      and subclasses.

             e.     Prosecution of separate actions for these breaches of fiduciary

      duties by individual participants and beneficiaries would create the risk of

      (A) inconsistent or varying adjudications that would establish incompatible

      standards of conduct for Defendants in respect to the discharge of its

      fiduciary duties to the Plans and personal liability to the Plans under 29

      U.S.C. §1109(a), and (B) adjudications by individual participants and

      beneficiaries regarding these breaches of fiduciary duties and remedies for

      the Plans would, as a practical matter, be dispositive of the interests of the

      participants and beneficiaries not parties to the adjudication or would

      substantially impair or impede those participants’ and beneficiaries’ ability to

      protect their interests. Therefore, this action should be certified as a class

      action under Rule 23(b)(1)(A) or (B).

      230.   A class action is the superior method for the fair and efficient

adjudication of this controversy because joinder of all participants and beneficiaries




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is impracticable, the losses suffered by individual participants and beneficiaries

may be small, it would be impracticable for individual members to enforce their

rights through individual actions, and the common questions of law and fact

predominate over individual questions. Given the nature of the allegations, no class

or subclass member has an interest in individually controlling the prosecution of

this matter, and Plaintiffs are aware of no difficulties likely to be encountered in the

management of this matter as a class action. Alternatively, then, this action may be

certified as a class and subclasses under Rule 23(b)(3) if it is not certified under

Rule 23(b)(1)(A) or (B).

      231.   Plaintiffs’ counsel, Schlichter, Bogard & Denton LLP, will fairly and

adequately represent the interests of the Class and subclasses and is best able to

represent the interests of the Class and subclasses under Rule 23(g).

             a.     Schlichter, Bogard & Denton has been appointed as class

      counsel in 17 other ERISA class actions regarding excessive fees in large

      defined contribution plans. As Chief Judge Michael J. Reagan of the

      Southern District of Illinois recognized in approving a settlement which was

      reached on the eve of trial after eight years of litigation, resulting in a $62

      million monetary recovery and very substantial affirmative relief to benefit

      the Plans, the firm had shown “exceptional commitment and perseverance in

      representing employees and retirees seeking to improve their retirement

      plans,” and “demonstrated its well-earned reputation as a pioneer and the

      leader in the field” of 401(k) plan excessive fee litigation. Abbott v. Lockheed




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    Martin Corp., No. 06-701, 2015 U.S.Dist.LEXIS 93206, at *4–5 (S.D.Ill. July

    17, 2015). In that same case, Judge Reagan recognized that the law firm of

    “Schlichter, Bogard & Denton has had a humungous impact over the entire

    401(k) industry, which has benefited employees and retirees throughout the

    entire country by bringing sweeping changes to fiduciary practices.” Abbott,

    2015 U.S. Dist. LEXIS 93206, at *9 (internal quotations omitted).

           b.     Other courts have made similar findings: “It is clear to the Court

    that the firm of Schlichter, Bogard & Denton is preeminent in the field” “and

    is the only firm which has invested such massive resources in this area.”

    George v. Kraft Foods Global, Inc., No. 08-3799, 2012 U.S.Dist.LEXIS 166816

    at 8 (N.D. Ill. June 26, 2012).

           c.     “As the preeminent firm in 401(k) fee litigation, Schlichter,

    Bogard & Denton has achieved unparalleled results on behalf of its

    clients.” Nolte v. Cigna Corp., No. 07-2046, 2013 U.S.Dist.LEXIS 184622 at 8

    (C.D. Ill. Oct. 15, 2013).

           d.     “Litigating this case against formidable defendants and their

    sophisticated attorneys required Class Counsel to demonstrate extraordinary

    skill and determination.” Beesley v. Int’l Paper Co., No. 06-703, 2014

    U.S.Dist.LEXIS 12037 at *8 (S.D. Ill. Jan. 31, 2014). The court also

    emphasized that “the law firm of Schlichter, Bogard & Denton is the leader in

    401(k) fee litigation.” Id. at *8 (internal quotations omitted).




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           e.     U.S. District Court Judge Baker acknowledged the significant

    impact of the firm’s work by stating that as of 2013 the nationwide “fee

    reduction attributed to Schlichter, Bogard & Denton’s fee litigation and the

    Department of Labor’s fee disclosure regulations approach $2.8 billion in

    annual savings for American workers and retirees.” Nolte, 2013 U.S. Dist.

    LEXIS 184622, at *6 (emphasis added).

           f.    U.S. District Judge Herndon of the Southern District of Illinois,

    recognized the firm’s extraordinary contributions to the retirement industry:

    “Schlichter, Bogard & Denton and lead attorney Jerome Schlichter’s diligence

    and perseverance, while risking vast amounts of time and money, reflect the

    finest attributes of a private attorney general...” Beesley, 2014 U.S. Dist.

    LEXIS 12037, at *8.

           g.    The U.S. District Court Judge G. Patrick Murphy recognized the

    work of Schlichter, Bogard & Denton as exceptional:

           “Schlichter, Bogard & Denton’s work throughout this litigation
           illustrates an exceptional example of a private attorney general
           risking large sums of money and investing many thousands of
           hours for the benefit of employees and retirees. No case had
           previously been brought by either the Department of Labor or
           private attorneys against large employers for excessive fees in a
           401(k) plan. Class Counsel performed substantial work …
           investigating the facts, examining documents, and consulting
           and paying experts to determine whether it was viable. This
           case has been pending since September 11, 2006. Litigating the
           case required Class Counsel to be of the highest caliber and
           committed to the interests of the participants and beneficiaries
           of the General Dynamics 401(k) Plans.”

    Will v. General Dynamics Corp., No. 06-698, 2010 U.S.Dist.LEXIS 123349 at




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    8–9 (S.D.Ill. Nov. 22, 2010).

           h.    Schlichter, Bogard & Denton handled the only full trial of an

    ERISA excessive fee case, resulting in a $36.9 million judgment for the

    plaintiffs that was affirmed in part by the Eighth Circuit. Tussey v. ABB,

    Inc., 746 F.3d 327 (8th Cir. 2014). In awarding attorney’s fees after trial, the

    district court concluded that “Plaintiffs’ attorneys are clearly experts in

    ERISA litigation.” Tussey v. ABB, Inc., No. 06-4305, 2012 U.S.Dist.LEXIS

    157428 at 10 (W.D. Mo. Nov. 2, 2012). Following remand, the district court

    again awarded Plaintiffs’ attorney’s fees, emphasizing the significant

    contribution Plaintiffs’ attorneys have made to ERISA litigation, including

    educating the Department of Labor and federal courts about the importance

    of monitoring fees in retirement plans:

           “Of special importance is the significant, national contribution made by
           the Plaintiffs whose litigation clarified ERISA standards in the context
           of investment fees. The litigation educated plan administrators, the
           Department of Labor, the courts and retirement plan participants
           about the importance of monitoring recordkeeping fees and separating
           a fiduciary’s corporate interest from its fiduciary obligations.”

      Tussey v. ABB, Inc., No. 06-4305, 2015 U.S.Dist.LEXIS 164818 at 7–8 (W.D.

      Mo. Dec. 9, 2015).

           i.    In Spano v. Boeing Co., in approving a settlement reached after

    nine years of litigation which included $57 million in monetary relief and

    substantial affirmative relief to benefit participants, the court found that

    “[t]he law firm Schlichter, Bogard & Denton has significantly improved

    401(k) plans across the country by bringing cases such as this one, which


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    have educated plan administrators, the Department of Labor, the courts and

    retirement plan participants about the importance of monitoring

    recordkeeping fees.” No. 06-cv-743, Doc. 587, at 5–6 (S.D.Ill. Mar. 31, 2016)

    (Rosenstengel, J.) (internal quotations omitted).

           j.    Recently, in approving a settlement including $32 million plus

    significant affirmative relief, Chief Judge William Osteen in Kruger v.

    Novant Health, Inc., No. 14-208, Doc. 61, at 7–8 (M.D.N.C. Sept. 29, 2016)

    found that “Class Counsel’s efforts have not only resulted in a significant

    monetary award to the class but have also brought improvement to the

    manner in which the Plans are operated and managed which will result in

    participants and retirees receiving significant savings[.]”

           k.    On November 3, 2016, Judge Michael Ponsor of the United

    States District Court for the District of Massachusetts found that by securing

    a $30.9 million settlement, Schlichter, Bogard & Denton had achieved an

    “outstanding result for the class,” and “demonstrated extraordinary

    resourcefulness, skill, efficiency and determination.” Gordan v. Mass Mutual

    Life Ins., Co., No. 14-30184, Doc. 144 at 5 (D. Mass. November 3, 2016).

           l.    Schlichter, Bogard & Denton is also class counsel in and handled

    Tibble v. Edison International—the first and only Supreme Court case to

    address the issue of excessive fees in a defined contribution plan—in which

    the Court held in a unanimous 9–0 decision that ERISA fiduciaries have “a

    continuing duty to monitor investments and remove imprudent ones[.]” 135




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       S. Ct. at 1829. Schlichter, Bogard & Denton successfully petitioned for a writ

       of certiorari, and obtained amicus support from the United States Solicitor

       General and AARP, among others. Given the Court’s broad recognition of an

       ongoing fiduciary duty, the Tibble decision will affect all ERISA defined

       contribution plans.

              m.     The firm’s work in ERISA excessive fee class actions has been

       featured in the New York Times, Wall Street Journal, NPR, Reuters, and

       Bloomberg, among other media outlets. See, e.g., Anne Tergesen, 401(k) Fees,

       Already Low, Are Heading Lower, WALL ST. J. (May 15, 2016);58 Gretchen

       Morgenson, A Lone Ranger of the 401(k)’s, N.Y. TIMES (Mar. 29, 2014);59 Liz

       Moyer, High Court Spotlight Put on 401(k) Plans, WALL ST. J. (Feb. 23,

       2015);60 Floyd Norris, What a 401(k) Plan Really Owes Employees, N.Y.

       TIMES (Oct. 16, 2014);61 Sara Randazzo, Plaintiffs’ Lawyer Takes on

       Retirement Plans, WALL ST. J. (Aug. 25, 2015);62 Jess Bravin and Liz Moyer,

       High Court Ruling Adds Protections for Investors in 401(k) Plans, WALL ST. J.

       (May 18, 2015); 63 Jim Zarroli, Lockheed Martin Case Puts 401(k) Plans on



 58  Available at http://www.wsj.com/articles/401-k-fees-already-low-are-heading-lower-
1463304601.
  59 Available at http://www.nytimes.com/2014/03/30/business/a-lone-ranger-of-the-401-k-

s.html?_r=0.
  60 Available at http://www.wsj.com/articles/high-court-spotlight-put-on-401-k-plans-

1424716527.
  61 Available at http://www.nytimes.com/2014/10/17/business/what-a-401-k-plan-really-

owes-employees.html?_r=0.
  62 Available at http://blogs.wsj.com/law/2015/08/25/plaintiffs-lawyer-takes-on-retirement-

plans/.
  63 Available at http://www.wsj.com/articles/high-court-ruling-adds-protections-for-

investors-in-401-k-plans-1431974139.


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        Trial, NPR (Dec. 15, 2014);64 Mark Miller, Are 401(k) Fees Too High? The

        High-Court May Have an Opinion, REUTERS (May 1, 2014);65 Greg Stohr,

        401(k) Fees at Issue as Court Takes Edison Worker Appeal, BLOOMBERG (Oct.

        2, 2014).66

                                        COUNT I

           Breach of Fiduciary Duties—29 U.S.C. §1104(a)(1)(A) & (B)

      Locking the Plan into CREF Stock Account and TIAA Recordkeeping

        232.   Plaintiffs restate and incorporate the allegations in the preceding

paragraphs.

        233.   Defendants were required to discharge their duties with respect to the

Plans solely in the interest of, and for the exclusive purpose of providing benefits to,

Plans’ participants and beneficiaries, defraying reasonable expenses of

administering the Plans, and acting with the care, skill, prudence, and diligence

required by ERISA.

        234.   Defendants were required to independently assess “the prudence of

each investment option” for the Plans on an ongoing basis, DiFelice, 497 F.3d at

423, and to act prudently and solely in the interest of the Plans’ participants in

deciding whether to maintain a recordkeeping arrangement, DOL Adv. Op. 97-16A.

Defendants were also required to remove investments that were no longer prudent



 64  Available at http://www.npr.org/2014/12/15/370794942/lockheed-martin-case-puts-401-
k-plans-on-trial.
  65 Available at http://www.reuters.com/article/us-column-miller-401fees-

idUSBREA400J220140501.
  66 Available at http://www.bloomberg.com/news/articles/2014-10-02/401-k-fees-at-issue-as-

court-takes-edison-worker-appeal.


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for the Plans, as the Supreme Court recently confirmed. Tibble, 135 S. Ct. at 1828–

29.

      235.   By allowing TIAA-CREF to mandate the inclusion of the CREF Stock

Account and Money Market Account in the Plans, as well as the TIAA Traditional

Annuity, and to require that it provide recordkeeping for its proprietary options,

Defendants committed the Plans to an imprudent arrangement in which certain

investments had to be included and could not be removed from the plan even if they

were no longer prudent investments, and prevented the Plans from using alternative

recordkeepers who could provide superior services at a lower cost. In so doing,

Defendants abdicated their duty to independently assess the prudence of each

option in the Plans on an ongoing basis, and to act prudently and solely in the

interest of participants in selecting the Plans’ recordkeeper. By allowing TIAA-

CREF to dictate these terms, Defendants favored the financial interests of TIAA-

CREF in receiving a steady stream of revenues from TIAA-CREF’s proprietary

funds over the interest of participants.

      236.   Because Defendants shackled the Plans with the CREF Stock Account

and TIAA recordkeeping services without engaging in a reasoned decision-making

process as to the prudence of those options, Defendants are liable to make good to

the Plans all losses resulting from its breach. 29 U.S.C. §1109(a). As described in

detail above, the Plans suffered massive losses from the inclusion of the CREF

Stock Account in the Plans compared to what those assets would have earned if

invested in prudent alternative investments that were available to the Plans, and




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also suffered losses from paying TIAA recordkeeping fees that far exceeded market

rates.

         237.   Total Plan losses will be determined after complete discovery in this

case and are continuing.

         238.   Defendants are personally liable under 29 U.S.C. §1109(a) to make

good to the Plans any losses to the Plans resulting from the breaches of fiduciary

duties alleged in this Count and is subject to other equitable or remedial relief as

appropriate.

         239.   Each Defendant knowingly participated in the breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to

commit a breach by failing to lawfully discharge its own fiduciary duties, knew of

the breach by the other Defendants and failed to make any reasonable effort under

the circumstances to remedy the breach. Thus, each defendant is liable for the

losses caused by the breach of its co-fiduciary under 29 U.S.C. §1105(a).


                                         COUNT II

                   Prohibited transactions—29 U.S.C. §1106(a)(1)

     Locking the Plan into CREF Stock Account and TIAA Recordkeeping

         240.   Plaintiffs restate and incorporate the allegations contained in the

preceding paragraphs.

         241.   Section 1106(a)(1) prohibits transactions between a plan and a “party

in interest,” and provides as follows:

           [A] fiduciary with respect to a plan shall not cause the plan to engage in a
           transaction, if he knows or should know that such transaction constitutes a

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         direct or indirect –

                    (A)    sale or exchange, or leasing, of any property between the
                    plan and a party in interest;
                    ***
                    (C)    furnishing of goods, services, or facilities between the plan
                    and party in interest;
                    (D)    transfer to, or use by or for the benefit of a party in
                    interest, of any assets of the plan …

29 U.S.C. §1106(a)(1).

      242.   Congress defined “party in interest” to encompass “those entities that a

fiduciary might be inclined to favor at the expense of the plan beneficiaries,” such as

employers, other fiduciaries, and service providers. Harris Tr. & Sav. Bank v.

Salomon Smith Barney, Inc., 530 U.S. 238, 242 (2000); 29 U.S.C. §1002(14)(A)–(C).

As a service provider to the Plans, TIAA-CREF is a party in interest. 29 U.S.C.

§1002(14)(B).

      243.   By allowing the Plans to be locked into an unreasonable arrangement

that required the Plans to include the CREF Stock Account and to use TIAA as the

recordkeeper for its proprietary products even though the fund was no longer a

prudent option for the Plans due to its excessive fees and poor performance, and

even though TIAA’s recordkeeping fees were unreasonable for the services provided,

Defendants caused the Plans to engage in transactions that it knew or should have

known constituted an exchange of property between the Plan and TIAA-CREF

prohibited by 29 U.S.C. §1106(a)(1)(A), a direct or indirect furnishing of services

between the Plans and TIAA-CREF prohibited by 29 U.S.C. §1106(a)(1)(C), and a

transfer of the Plans’ assets to TIAA-CREF prohibited by 29 U.S.C. §1106(a)(1)(D).



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These transactions occurred each time the Plans paid fees to TIAA-CREF in

connection with the Plans’ investments in the CREF Stock Account and other

proprietary options that paid revenue sharing to TIAA.

      244.   Total Plan losses will be determined after complete discovery in this

case and are continuing.

      245.   Under 29 U.S.C. §1109(a), Defendants are personally liable to restore

all losses to the Plans resulting from these prohibited transactions, and to provide

restitution of all proceeds of these prohibited transactions, and are subject to other

appropriate equitable or remedial relief.

                                      COUNT III

          Breach of Fiduciary Duties—29 U.S.C. §1104(a)(1)(A) & (B)

                        Unreasonable Administrative Fees

      246.   Plaintiffs restate and incorporate the allegations contained in the

preceding paragraphs.

      247.   Defendants were required to discharge its duties with respect to the

Plans solely in the interest of, and for the exclusive purpose of providing benefits to

the Plans’ participants and beneficiaries, defraying reasonable expenses of

administering the Plans, and acting with the care, skill, prudence, and diligence

required by ERISA.

      248.   If a defined contribution plan overpays for recordkeeping services due

to the fiduciaries’ “failure to solicit bids” from other recordkeepers, the fiduciaries

have breached their duty of prudence. See George, 641 F.3d at 798–99. Similarly,

failing to “monitor and control recordkeeping fees” and “paying excessive revenue


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sharing” as a result of failures to “calculate the amount the Plan was paying …

through revenue sharing,” to “determine whether [the recordkeeper’s] pricing was

competitive,” and to “leverage the Plan’s size to reduce fees,” while allowing the

“revenue sharing to benefit” a third-party recordkeeper “at the Plan’s expense,” is a

breach of fiduciary duties. Tussey, 746 F.3d at 336.

      249.   Defendants’ process for monitoring and controlling the Plans’

recordkeeping fees was a fiduciary breach in that Defendants failed to adequately

monitor the amount of the revenue sharing received by the Plans’ recordkeepers,

determine if those amounts were competitive or reasonable for the services provided

to the Plans, or use the Plans’ size to reduce fees or obtain sufficient rebates to the

Plans for the excessive fees paid by participants. Moreover, Defendants failed to

solicit bids from competing providers on a flat per-participant fee basis. As the

Plans’ assets grew, the asset-based revenue sharing payments to the Plans’

recordkeepers grew, even though the services provided by the recordkeepers

remained the same. This caused the recordkeeping compensation paid to the

recordkeepers to exceed a reasonable fee for the services provided. This conduct was

a breach of fiduciary duties.

      250.   By allowing TIAA-CREF and Fidelity to put their proprietary

investments in the Plans without scrutinizing those providers’ financial interest in

using funds that provided them a steady stream of revenue sharing payments,

Defendants failed to act in the exclusive interest of participants.




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      251.     In contrast to the comprehensive plan reviews conducted by similarly

situated 403(b) plan fiduciaries which resulted in consolidation to a single

recordkeeper and significant fee reductions, Defendants failed to engage in a timely

and reasoned decision-making process to determine whether the Plans would

similarly benefit from consolidating the Plans’ administrative and recordkeeping

services under a single provider. Instead, Defendants continued to contract with two

separate recordkeepers. This failure to consolidate the recordkeeping services until

late 2012 for the Voluntary Savings Plan and to this date for the Retirement Plan

eliminated the Plans’ ability to obtain the same services at a lower cost with a

single recordkeeper. Defendants’ failure to “balance the relevant factors and make a

reasoned decision as to the preferred course of action—under circumstances in

which a prudent fiduciary would have done so”—and, indeed, did so—was a breach

of fiduciary duty. George, 641 F.3d at 796.

      252.     Total losses to the Plans will be determined after complete discovery in

this case and are continuing.

      253.     Defendants are personally liable under 29 U.S.C. §1109(a) to make

good to the Plans any losses to the Plans resulting from the breaches of fiduciary

duties alleged in this Count and is subject to other equitable or remedial relief as

appropriate.

      254.     Each Defendant knowingly participated in the breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to

commit a breach by failing to lawfully discharge its own fiduciary duties, knew of




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the breach by the other Defendants and failed to make any reasonable effort under

the circumstances to remedy the breach. Thus, each defendant is liable for the

losses caused by the breach of its co-fiduciary under 29 U.S.C. §1105(a).

                                       COUNT IV

                Prohibited transactions—29 U.S.C. §1106(a)(1)

                        Administrative Services and Fees

      255.   Plaintiffs restate and incorporate the allegations contained in the

preceding paragraphs.

      256.   As service providers to the Plans, TIAA-CREF and Fidelity are parties

in interest. 29 U.S.C. §1002(14)(B).

      257.   By causing the Plans to use TIAA-CREF and Fidelity as the Plans’

recordkeepers from year to year, Defendants caused the Plans to engage in

transactions that Defendants knew or should have known constituted an exchange

of property between the Plans and TIAA-CREF and Fidelity prohibited by 29 U.S.C.

§1106(a)(1)(A), a direct or indirect furnishing of services between the Plans and

TIAA-CREF and Fidelity prohibited by 29 U.S.C. §1106(a)(1)(C), and a transfer of

the Plans’ assets to, or use by or for the benefit of TIAA-CREF and Fidelity

prohibited by 29 U.S.C. §1106(a)(1)(D). These transactions occurred each time the

Plans paid fees to TIAA-CREF and Fidelity and in connection with the Plans’

investments in funds that paid revenue sharing to TIAA-CREF and Fidelity.

      258.   Total losses to the Plans will be determined after complete discovery in

this case and are continuing.




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      259.   Under 29 U.S.C. §1109(a), Defendants are personally liable to restore

all losses to the Plans resulting from these prohibited transactions, and to provide

restitution of all proceeds from these prohibited transactions, and are subject to

other appropriate equitable or remedial relief.

                                      COUNT V

          Breach of Fiduciary Duties—29 U.S.C. §1104(a)(1)(A) & (B)

               Unreasonable Investment Management Fees,
           Unnecessary Marketing and Distribution (12b-1) Fees
       and Mortality and Expense Risk Fees, and Performance Losses

      260.   Plaintiffs restate and incorporate the allegations contained in the

preceding paragraphs.

      261.   Defendants are responsible for selecting prudent investment options,

ensuring that those options charge only reasonable fees, and taking any other

necessary steps to ensure that the Plans’ assets are invested prudently. Defendants

had a continuing duty to evaluate and monitor the Plans’ investments on an

ongoing basis and to “remove imprudent ones” regardless of how long a fund has

been in the plan. Tibble, 135 S. Ct. at 1829.

      262.   These duties required Defendants to independently assess whether

each option was a prudent choice for the Plans, and not simply to follow the

recordkeepers’ fund choices or to allow the recordkeepers to put nearly their entire

investment lineups in the Plans’ menus. DiFelice, 497 F.3d at 423; see Braden v.

Wal-Mart Stores, Inc., 588 F.3d 585, 590, 595–96 (8th Cir. 2009).

      263.   In making investment decisions, Defendants were required to consider

all relevant factors under the circumstances, including without limitation


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alternative investments that were available to the Plans, the recordkeepers’

financial interest in having their proprietary investment products included in the

Plans, and whether the higher cost of actively managed funds was justified by a

realistic expectation of higher returns. Braden, 588 F.3d at 595–96; Tatum v. RJR

Pension Inv. Comm., 761 F.3d 346, 360 (4th Cir. 2014); 29 C.F.R. § 2550.404a-1(b);

Restatement (Third) of Trusts ch. 17, intro. note; id. § 90 cmt. h(2).

      264.   Defendants selected and retained for years as the Plans’ investment

options mutual funds and insurance company variable annuities with high expenses

and poor performance relative to other investment options that were readily

available to the Plans at all relevant times.

      265.    Many of these options included unnecessary layers of fees that

provided no benefit to participants but significant benefits to TIAA-CREF, including

marketing and distribution (12b-1) fees and “mortality and expense risk” fees.

      266.   Rather than prudently consolidating the Plans’ hundreds of

investment options into a core lineup in which prudent investments were selected

for a given asset class and investment style, as is the case with most defined

contribution plans, Defendants retained multiple investment options in each asset

class and investment style until October 2016, thereby depriving the Plans of their

ability to qualify for lower cost share classes of certain investments, while violating

the well-known principle for fiduciaries that such a high number of investment

options causes participant confusion and inaction. In addition, as a fiduciary

required to operate as a prudent financial expert, Katsaros, 744 F.2d at 279.




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Defendants knew or should have known that providing numerous actively managed

duplicative funds in the same investment style would produce a “shadow index”

return before accounting for much higher fees than index fund fees, thereby

resulting in significant underperformance. The Plans’ investment offerings included

the use of mutual funds and variable annuities with retail expense ratios far in

excess of other lower-cost options available to the Plans. These lower-cost options

included lower-cost share class mutual funds with the identical investment

manager and investments, lower-cost insurance company variable annuities and

insurance company pooled separate accounts. Nearly all of the Plans’ options were

the recordkeepers’ own proprietary investments. Thus, the use of these funds was

tainted by the recordkeepers’ financial interest in including these funds in the Plan,

which Defendants failed to adequately consider. In so doing, Defendants failed to

make investment decisions based solely on the merits of the investment funds and

what was in the interest of participants. Defendants therefore failed to discharge its

duties with respect to the Plans solely in the interest of the participants and

beneficiaries and for the exclusive purpose of providing benefits to participants and

their beneficiaries and defraying reasonable expenses of administering the Plans.

This was a breach of fiduciary duties.

      267.   Defendants failed to engage in a prudent process for monitoring the

Plans’ investments and removing imprudent ones within a reasonable period. This

resulted in the Plans continuing to offer excessively expensive funds with inferior

historical performance compared to superior low-cost alternatives that were




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available to the Plans. As of December 31, 2014, of the Plans’ investment options

which had at least a five-year performance history, fifty-seven percent of those

funds—119 out of 208—underperformed their respective benchmarks over the

previous 5-year period

      268.   CREF Stock Account: Defendants included and retained the CREF

Stock Account despite its excessive cost and historical underperformance compared

to both passively managed investments and actively managed investments of the

benchmark, the Russell 3000 Index, which Defendants and TIAA told participants

was the appropriate benchmark. See supra ¶199. The 46 bps charged by the CREF

Stock Account included four layers of fees that were each unreasonable compared to

the actual services provided by TIAA-CREF. See supra ¶¶134–136. Defendants

failed to analyze whether these fees were appropriate and reasonable in light of the

services provided.

      269.   TIAA Real Estate Account: Defendants included and retained the

TIAA Real Estate Account despite its excessive fees and historical

underperformance compared to lower-cost real estate investments. The 87 bps that

the TIAA Real Estate Account charged was comprised of five layers of fees that were

each unreasonable compared to the actual services provided by TIAA-CREF to the

Plans’ participants. See supra ¶¶137–138. Defendants failed to analyze whether

these fees were appropriate and reasonable in light of the services provided.

      270.   Had Defendants engaged in a prudent investment review process, it

would have concluded that these options were causing the Plans to lose tens of




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millions of dollars of participants’ retirement savings in excessive and unreasonable

fees and underperformance relative to prudent investment options available to the

Plans, and thus should be removed from the Plans or, at a minimum, frozen to new

investments.

      271.     Total losses to the Plans will be determined after complete discovery in

this case and are continuing.

      272.     Defendants are personally liable under 29 U.S.C. §1109(a) to make

good to the Plans any losses to the Plans resulting from the breaches of fiduciary

duties alleged in this Count and are subject to other equitable or remedial relief as

appropriate.

      273.     Each Defendant knowingly participated in the breach of the other

Defendants, knowing that such acts were a breach, enabled the other Defendants to

commit a breach by failing to lawfully discharge its own fiduciary duties, knew of

the breach by the other Defendants and failed to make any reasonable effort under

the circumstances to remedy the breach. Thus, each defendant is liable for the

losses caused by the breach of its co-fiduciary under 29 U.S.C. §1105(a).

                                       COUNT VI

                  Prohibited transactions—29 U.S.C. §1106(a)(1)

                           Investment Services and Fees

      274.     Plaintiffs restate and incorporate herein the allegations of the

preceding paragraphs.

      275.     As the Plans’ providers of investment services, TIAA-CREF and

Fidelity are parties in interest. 29 U.S.C. §1002(14)(B).


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      276.   By including investment options managed by TIAA-CREF and Fidelity

in which nearly all of the Plans’ $2.87 billion in assets were invested, Defendants

caused the Plans to engage in transactions that Defendants knew or should have

known constituted an exchange of property between the Plans and TIAA-CREF and

Fidelity prohibited by 29 U.S.C. §1106(a)(1)(A); a direct or indirect furnishing of

services between the Plans and TIAA-CREF and Fidelity prohibited by 29 U.S.C.

§1106(a)(1)(C); and transfers of the Plans’ assets to, or use by or for the benefit of

TIAA-CREF and Fidelity prohibited by 29 U.S.C. §1106(a)(1)(D). These transactions

occurred each time the Plans paid fees to TIAA-CREF and Fidelity in connection

with the Plans’ investments in TIAA-CREF and Fidelity options.

      277.   Total losses to the Plans will be determined after complete discovery in

this case and are continuing.

      278.   Under 29 U.S.C. §1109(a), Defendants are personally liable to restore

all losses to the Plans resulting from these prohibited transactions, and to provide

restitution of all proceeds of these prohibited transactions, and are subject to other

appropriate equitable or remedial relief.

                                     COUNT VII

                          Failure to Monitor Fiduciaries

      279.   Plaintiffs restate and incorporate the allegations contained in the

preceding paragraphs.

      280.   This Count alleges breach of fiduciary duties against Northwestern

University, Nimalam Chinniah, and Eugene S. Sunshine.




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         281.   Northwestern University is the Plan Administrator of the Plans under

29 U.S.C. §1002(16)(A)(i) and a named fiduciary under 29 U.S.C. §1102(a) with

overall authority to control and manage the operation and administration of the

Plans.

         282.   Northwestern delegated certain of its fiduciary responsibilities for

administrative matters to its Executive Vice President, Nimalam Chinniah, and

previously Eugene S. Sunshine. Having delegated those duties, Northwestern

remained responsible for monitoring its delegee, the Executive Vice President, to

ensure that the delegated tasks were being performed prudently and loyally.

         283.   Northwestern, through its Board of Trustees, authorized the Senior

Vice President for Business and Finance (a role now fulfilled by the Executive Vice

President), to create NURIC, and to confer or delegate to NURIC all discretionary

authority and powers necessary to control and manage the assets of the Plans.

Northwestern and the Executive Vice President remained responsible for

monitoring NURIC and its members to ensure that the delegated tasks were being

performed prudently and loyally.

         284.   If a monitoring fiduciary knows or should know that the monitored

fiduciaries are not properly performing their fiduciary obligations, the monitoring

fiduciary must take prompt and effective action to protect the plan and participants.

         285.   Defendants Northwestern University, Nimalam Chinniah, and Eugene

S. Sunshine breached their fiduciary monitoring duties by, among other things:

                a.    Failing to monitor their appointees, to evaluate their




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    performance, or to have a system in place for doing so, and standing idly by

    as the Plans suffered enormous losses as a result of its appointees’ imprudent

    actions and omissions with respect to the Plans;

           b.    Failing to monitor their appointees’ fiduciary process, which

    would have alerted any prudent fiduciary to the potential breach because of

    the excessive administrative and investment management fees and

    consistently underperforming investments in the Plans in violation of ERISA;

           c.    Failing to ensure that the monitored fiduciaries had a prudent

    process in place for evaluating the Plans’ administrative fees and ensuring

    that the fees were competitive, including a process to identify and determine

    the amount of all sources of compensation to the Plans’ recordkeepers and the

    amount of any revenue sharing payments; a process to prevent the

    recordkeepers from receiving revenue sharing that would increase the

    recordkeepers’ compensation to unreasonable levels even though the services

    provided remained the same; and a process to periodically obtain competitive

    bids to determine the market rate for the services provided to the Plans;

           d.    Failing to ensure that the monitored fiduciaries considered the

    ready availability of comparable and better performing investment options

    that charged significantly lower fees and expenses than the Plans’

    investments; and

           e.    Failing to remove appointees whose performance was

    inadequate in that they continued to maintain imprudent, excessively costly,




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      and poorly performing investments, all to the detriment of Plan participants’

      retirement savings.

      286.        Had Defendants Northwestern University, Nimalam Chinniah, and

Eugene S. Sunshine discharged their fiduciary monitoring duties prudently as

described above, the Plans would not have suffered these losses. Therefore, as a

direct result of the breaches of fiduciary duty alleged herein, the Plans, the

Plaintiffs, and the other Class members, lost tens of millions of dollars of retirement

savings.

                                JURY TRIAL DEMANDED

      287.        Pursuant to Fed.R.Civ.P. 38 and the Constitution of the United States,

Plaintiffs demand a trial by jury.

                                  PRAYER FOR RELIEF

           For these reasons, Plaintiffs, on behalf of the Plans and all similarly

situated Plan participants and beneficiaries, respectfully request that the Court:

                  Find and declare that Defendants have breached their fiduciary

                   duties as described above;

                  Find and adjudge that Defendants are personally liable to make good

                   to the Plans all losses to the Plans resulting from each breach of

                   fiduciary duty, and to otherwise restore the Plans to the position they

                   would have occupied but for the breaches of fiduciary duty;

                  Determine the method by which losses to the Plans under 29 U.S.C.

                   §1109(a) should be calculated;




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            Order the Defendants to pay the amount equaling all sums received

             by the conflicted recordkeepers as a result of recordkeeping and

             investment management fees;

            Order Defendants to provide all accountings necessary to determine

             the amounts Defendants must make good to the Plans under

             §1109(a);

            Remove the fiduciaries who have breached their fiduciary duties and

             enjoin them from future ERISA violations;

            Surcharge against Defendants and in favor of the Plans all amounts

             involved in any transactions which such accounting reveals were

             improper, excessive and/or in violation of ERISA;

            Reform the Plans to include only prudent investments;

            Reform the Plans to obtain bids for recordkeeping and to pay only

             reasonable recordkeeping expenses;

            Certify the Class and subclasses, appoint the Plaintiffs as class

             representatives of the Class and subclasses, and appoint Schlichter,

             Bogard & Denton LLP as Class Counsel for the Class and subclasses;

            Award to the Plaintiffs and the Class and subclasses their attorney’s

             fees and costs under 29 U.S.C. §1132(g)(1) and the common fund

             doctrine;

            Order the payment of interest to the extent it is allowed by law; and




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               Grant other equitable or remedial relief as the Court deems

                appropriate.




December 15, 2016                       Respectfully submitted,

                                        /s/ Jerome J. Schlichter
                                        SCHLICHTER, BOGARD & DENTON LLP
                                        Jerome J. Schlichter, No. 2488116
                                        Troy A. Doles, No. 6242803
                                        Heather Lea, No. 6276614
                                        Sean E. Soyars, MO No. 57317
                                        100 South Fourth Street, Suite 1200
                                        St. Louis, Missouri 63102
                                        Telephone: (314) 621-6115
                                        Facsimile: (314) 621-5934
                                        jschlichter@uselaws.com
                                        tdoles@uselaws.com
                                        hlea@uselaws.com
                                        ssoyars@uselaws.com




                           CERTIFICATE OF SERVICE

      Pursuant to Federal Rule of Civil Procedure 5 and Northern District of

Illinois Local Rule 5.5., the undersigned, an attorney of record in this case, hereby

certifies that on December 15, 2016, a true and correct copy of Plaintiffs’ Amended

Complaint was filed electronically by CM/ECF, which caused notice to be sent to

all counsel of record.


                                                     /s/ Jerome J. Schlichter___
                                                     Jerome J. Schlichter




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